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(as hereafter defined), dated April 26, 2012, whereby AFI agreed to be secondarily liable for
ResCap’s obligations under the FRB/FDIC Consent Order in the event that ResCap
commenced bankruptcy proceedings.

     The agreements that relate to the DOJ/AG Settlement include: (1) the DOJ/AG Consent
Judgment, agreed to in principle on February 9, 2012, and filed on April 4, 2012, whereby
AFI, ResCap, and GMAC Mortgage agreed to comply with certain servicing standards and
provide monetary and non-monetary restitution; and (2) the DOJ/AG Earmark and
Indemnification Agreement (as hereafter defined), dated March 9, 2012, whereby AFI agreed
to indemnify the U.S. and certain state AGs in the event that they are required to make
payments as a result of an avoidance action under chapter 5 of the Bankruptcy Code.

      Additionally, the AFI corporate group entered into several affiliate agreements
concerning the government settlements. The first is the January 30 Letter Agreement, which
set forth the terms of support to be provided to ResCap and GMAC Mortgage related to the
not-yet-finalized DOJ/AG Settlement. Subsequently, GMAC Mortgage and Ally Bank
negotiated and entered into the A&R Servicing Agreement. Finally, AFI and ResCap entered
into the Earmark Agreement, dated March 14, 2012, which dictated the terms of ResCap’s use
of liquidity provided by AFI pursuant to the January 30 Letter Agreement solely to fund the
payments required under the DOJ/AG Consent Judgment.




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   Below is an overview of the timing of these settlements and related agreements:




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     As explained in greater detail below, the government settlements and related agreements
resulted in ResCap incurring significant liabilities. However, the Examiner was not charged
with second-guessing these settlements, but rather with examining “the propriety of the
allocation of obligations as among the Debtors and AFI” under these settlements.1067 To
accomplish this task, the Examiner’s Professionals analyzed the final settlements and related
agreements, the negotiations leading up to the settlements, and, finally, the allocation of
monetary and non-monetary costs of the settlements.

             b. Public Events Leading To Government Settlements

     As early as August 25, 2009, ResCap notified the public of developments related to
predatory lending practices that could affect its mortgage lending or servicing business.1068
Specifically, ResCap stated that it could be subject to fines or other penalties based on the
conduct of independent mortgage brokers through which ResCap originated mortgage loans
and lenders from which ResCap acquired mortgage loans.1069

      In October 2010, various state and federal agencies commenced an investigation
following revelations of the widespread practice of “robo-signing” affidavits in foreclosure
proceedings across the country. In the course of the investigation, other mortgage servicer-
related problems were identified, including deceptive loan modification practices that resulted
in unnecessary foreclosure proceedings. Ultimately, this investigation led to: (1) the FRB
commencing fourteen corrective actions against large mortgage servicers or their parent-
holding companies for unsafe and unsound processes and practices in residential mortgage
loan servicing and foreclosure processing; and (2) negotiations between five leading bank
mortgage servicers (including AFI) and a coalition of state AGs, state banking regulators, the
Federal Trade Commission, the Consumer Financial Protection Bureau, and the Departments
of Justice, Treasury, and Housing and Urban Development.

     On September 17, 2010, GMAC Mortgage suspended mortgage foreclosure home sales
and evictions, and postponed hearings on motions for judgment in certain states based on
concerns of “robo-signing.”1070 As of December 31, 2010, AFI recorded a liability of
approximately $13 million for possible fines and penalties with respect to the newly
discovered issues related to foreclosure proceedings.1071 On February 25, 2011, AFI notified



1067 Examiner Scope Approval Order, at 4 n.2.

1068 Residential Capital, LLC, Annual Report (Form 10-K/A) (Aug. 25, 2009), at 44–45. See also E-mail from

    Michele Lieber (Sept. 30, 2010) [EXAM11135342] (detailing a discussion Lieber had with Jeff Eller, a
    “crisis political advisor,” regarding the best steps to take to deal with the robo-signing issue). Lieber was the
    Vice President of Government Relations for AFI during this period.
1069 Residential Capital, LLC, Annual Report (Form 10-K/A) (Aug. 25, 2009), at 48.

1070 Ally Financial Inc., Annual Report (Form 10-K) (Feb. 25, 2011), at 246.

1071 Id.



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the public1072 that representatives of federal and state governments had announced
investigations into procedures followed by AFI’s subsidiaries in connection with mortgage
foreclosure home sales and evictions and that, while the results of these investigations were
uncertain, it was expected that “Ally or its subsidiaries will become subject to fines, penalties,
sanctions or other adverse actions.”1073

      Ultimately, the investigation by the FRB led to a settlement agreed to on February 9,
2012, between the FRB and the FDIC and five major bank mortgage servicers, including
AFI.1074 Similarly, the negotiations with a coalition of state AGs, state banking regulators, the
Federal Trade Commission, the Consumer Financial Protection Bureau, and the Departments
of Justice, Treasury, and Housing and Urban Development led to a settlement with the five
leading bank mortgage servicers.1075 Except for the 1998 Master Tobacco Settlement, this
settlement represents the largest financial recovery obtained by the AGs in history, resulting in
an estimated $25 billion in monetary sanctions and relief.1076

              c. Terms Of The FRB/FDIC Settlement

     AFI is subject to the supervision and examination of the FRB because it is a bank holding
company. As a federally-insured depository institution, Ally Bank is subject to the regulation
and examination of the FDIC.1077

                  (1) FRB/FDIC Consent Order

   On April 13, 2011,1078 AFI, Ally Bank, ResCap, and GMAC Mortgage entered into the
FRB/FDIC Consent Order to address allegations that the AFI corporate group, including
GMAC Mortgage and its subsidiaries, engaged in a variety of harmful acts in connection with



1072 It was believed by some members of ResCap’s management that the investigations regarding these robo-

    signing issues had a negative impact on the possibility of an AFI IPO in 2011. See Int. of T. Marano, Nov.
    26, 2012, at 188:3–7. Marano was the CEO of ResCap during this period.
1073 Ally Financial Inc., Annual Report (Form 10-K) (Feb. 25, 2011), at 13.

1074 In addition to AFI, the four other major banking organizations that reached agreement with the FRB on Feb.

    9, 2012 were: Bank of America Corporation, Citigroup Inc., JPMorgan Chase & Co., and Wells Fargo &
    Company. See FRB, Press Release (Feb. 13, 2012), http://www.federalreserve.gov/newsevents/press/
    enforcement/20120213a.htm.
1075 The four other bank mortgage servicers that settled with the DOJ and the state AGs are: Bank of America

    Corp., Citigroup, Inc., J.P. Morgan Chase & Co., and Wells Fargo & Co. See Philip A. Lehman, EXECUTIVE
    SUMMARY OF MULTISTATE/FEDERAL SETTLEMENT OF FORECLOSURE MISCONDUCT CLAIMS, ABOUT THE
    SETTLEMENT, http://nationalmortgagesettlement.com/about.

1076 See   Philip A. Lehman, EXECUTIVE SUMMARY OF MULTISTATE/FEDERAL SETTLEMENT OF FORECLOSURE
    MISCONDUCT CLAIMS, ABOUT THE SETTLEMENT, http://nationalmortgagesettlement.com/about.

1077 See, e.g., GMAC Inc., Annual Report (Form 10-K) (Mar. 1, 2010), at 5, 9–11.

1078 Ally Financial Inc., Current Report (Form 8-K) (Apr. 13, 2011).



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foreclosure activities involving the servicing of residential mortgage loans.1079 These alleged
harmful acts included: (1) filing (or causing to be filed) false affidavits of employees of
GMAC Mortgage, its subsidiaries or third-party providers; (2) litigating foreclosure and
bankruptcy proceedings without confirming accurate documentation of ownership; (3) failing
to increase financial, staffing and managerial resources in a manner sufficient to respond to
increased foreclosure levels; (4) failing to ensure timely, effective and efficient
communications with borrowers with respect to loss mitigation activities and foreclosures; and
(5) failing to have adequate internal controls, policies and procedures and oversight of the
foreclosure process, including over outside counsel and other third-party providers.1080

     Pursuant to the FRB/FDIC Consent Order, AFI, Ally Bank, ResCap, and GMAC
Mortgage agreed to cease and desist any actions related to these allegations and to take
affirmative actions, both individually and as a group, to address these allegations.1081

      With respect to AFI, the FRB/FDIC Consent Order requires:

                     (1) that AFI utilize its resources to serve as a “source of strength” to Ally Bank
                         as defined in Regulation Y of the FRB (12 C.F.R. § 25.4(a)) including, but
                         not limited to, taking steps to ensure that Ally Bank complies with the
                         applicable provisions of the FRB/FDIC Consent Order as issued by the
                         FDIC;1082

                     (2) that the AFI Board, together with the ResCap Board, submit an acceptable
                         written plan to strengthen the boards’ oversight of GMAC Mortgage and its
                         subsidiaries, including provisions that provide for proper risk management
                         of independent contractors and adequate funding of personnel, systems and
                         resources;1083

                     (3) that AFI, together with ResCap, for itself and on behalf of GMAC
                         Mortgage and its subsidiaries, retain an independent consultant acceptable
                         to the FRB to conduct an assessment of GMAC Mortgage and its
                         subsidiaries’ risks, particularly in the area of residential mortgage loan
                         servicing, loss mitigation and foreclosures;1084




1079 See FRB/FDIC Consent Order [ALLY_0203290].

1080 See id. at 3–4.

1081 See id. at 6.

1082 See id. at 7.

1083 See id. at 7–10.

1084 See id. at 27–28.



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                     (4) that AFI submit acceptable plans to: (a) enhance its compliance program to
                         ensure that the operations of GMAC Mortgage and its subsidiaries comply
                         with legal requirements and that internal policies are conducted in a safe
                         and sound manner; and (b) enhance the internal audit program with respect
                         to residential mortgage loan servicing, loss mitigation, and foreclosure
                         activities and operations;1085 and

                     (5) that AFI and ResCap jointly submit: (a) an acceptable comprehensive risk
                         management program for GMAC Mortgage and its subsidiaries; and (b) an
                         acceptable enhanced written internal audit program to periodically review
                         compliance with applicable legal requirements and supervisory guidance of
                         the FRB.1086

      With respect to GMAC Mortgage, the FRB/FDIC Consent Order requires:

                     (1) that GMAC Mortgage retain an independent consultant to conduct an
                         independent review of foreclosure actions and sales from January 1, 2009
                         through December 31, 2010 (the “Foreclosure Review”). Following the
                         Foreclosure Review, the independent consultant shall prepare a written
                         report of its review and, within 45 days of receipt of such review, GMAC
                         Mortgage shall submit an acceptable plan to, among other things,
                         (a) remediate any errors or deficiencies in any foreclosure filing, and
                         (b) reimburse or remediate any borrower for any fees or other financial
                         injury;1087

                     (2) that GMAC Mortgage submit a plan and timeline for strengthening
                         communications between GMAC Mortgage and its subsidiaries and
                         borrowers, including the establishment of a “single point of contact” that
                         will be available for borrowers to obtain information through the loss
                         mitigation and foreclosure processes;1088

                     (3) that GMAC Mortgage submit acceptable policies and procedures for
                         outsourcing any residential mortgage loan servicing, loss mitigation
                         activities, or foreclosure functions to any independent contractor,
                         consulting firm, law firm, property manager, or any other third party,
                         including appropriate oversight and due diligence of such outside
                         parties;1089 and


1085 See id. at 20–24.

1086 See id. at 28–32.

1087 Id. at 11–15.

1088 Id. at 15–17.

1089 Id. at 18–20.



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                      (4) that GMAC Mortgage submit acceptable plans: (a) to ensure appropriate
                          controls and oversight over GMAC Mortgage and its subsidiaries’ activities
                          with respect to the Mortgage Electronic Registration System; (b) to review
                          and remediate, if necessary, GMAC Mortgage and its subsidiaries’
                          management information systems to ensure timely delivery of complete and
                          accurate information; and (c) to ensure improved training of all officers and
                          staff.1090

    With respect to Ally Bank, the FRB/FDIC Consent Order required that Ally Bank
implement a mortgage servicing management and oversight program that, at a minimum and
among other things, maintains a reserve sufficient to cover identified servicing risks.1091

     The FRB/FDIC Consent Order required that each of AFI, Ally Bank, ResCap, and
GMAC Mortgage submit written programs for approval to the FRB (or, in the case of Ally
Bank, the FDIC), which are intended to address how each entity will implement the actions set
forth above.1092 The AFI entities were then required to implement these programs and submit
written progress reports to the FRB or, the FDIC, as applicable.1093 AFI, ResCap, and GMAC
Mortgage were also required to submit a validation report prepared by an independent third-
party consultant with respect to compliance with the FRB/FDIC Consent Order during the first
year after the FRB/FDIC Consent Order became effective.1094

                      (2) CMP Order, Dated February 10, 2012

     The FRB/FDIC Consent Order did not impose any monetary penalties on the AFI
corporate group. Instead, the parties negotiated the amount of a civil money penalty over the
course of several months, which culminated in the CMP Order. Notably, Ally Bank was not a
party to the CMP Order. Instead, AFI, ResCap, and GMAC Mortgage executed the order.

     The CMP Order entered by the FRB provides that AFI, ResCap, and GMAC Mortgage
and its subsidiaries are jointly and severally assessed the CMP in the amount of $207
million.1095




1090 Id. at 24–27.

1091 See id. at 32–34.

1092 See id. at 34.

1093 See id. at 34–36.

1094 See id. at 36.

1095 See CMP Order, at 7 [ALLY_0001961].



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                   (3) FRB Supplemental Agreement, Dated April 26, 2012

      Concurrently with discussions regarding the CMP and DOJ/AG Settlement, the FRB
became concerned about the possibility of ResCap filing for bankruptcy and not being able to
comply with the terms of the various government settlements.1096 As a result, on April 26,
2012, AFI and the FRB entered into a supplemental agreement concerning the obligations of
ResCap and GMAC Mortgage and its subsidiaries under the FRB/FDIC Settlement (the “FRB
Supplemental Agreement”).1097 Pursuant to the terms of the FRB Supplemental Agreement,
AFI agreed that if ResCap or its subsidiaries commence bankruptcy cases or are otherwise
subject to protection under the Bankruptcy Code, AFI would be secondarily liable for the
obligations to timely pay any portion of: (1) the fee owed to PricewaterhouseCoopers or any
successor consultant to complete the Foreclosure Review; and (2) the monetary
reimbursement or remediation payments under the FRB/FDIC Consent Order (together, the
“ResCap FRB/FDIC Obligations”).1098 The FRB Supplemental Agreement explicitly provided
that the FRB in no way released, reduced, or alleviated GMAC Mortgage of its obligations
under the FRB/FDIC Consent Order and confirmed that GMAC Mortgage would be primarily
liable for such obligations.1099 Furthermore, the FRB Supplemental Agreement provided that
nothing in the agreement or any payments that AFI made with respect to the ResCap FRB/
FDIC Obligations would prejudice AFI’s right to seek reimbursement of the ResCap FRB/
FDIC Obligations as administrative or priority payments under the Bankruptcy Code.1100
According to the terms of the FRB Supplemental Agreement, AFI’s secondary liability
became effective only when, ResCap became subject to protection under the Bankruptcy
Code.1101

                   (4) Economics Related To The FRB/FDIC Settlement

    Appendix V.C.1.c(4) identifies the various costs incurred as of December 31, 2012 by
ResCap and AFI related to the FRB/FDIC Settlement as well as the most recent estimates
made available of future costs to be incurred. These costs are summarized in Exhibit
V.C.1.c(4) below. As of the date of this Report, none of the costs associated with the FRB/
FDIC Settlement have been paid by AFI.




1096 See, e.g., Int. of J. Pensabene, Jan. 9, 2013, at 189:20–190:2 (noting that the government “insisted on [AFI

    being party to the settlement] . . . because of concerns about ResCap’s ability to pay the fine.”). Pensabene
    was the Chief Servicing Officer and Senior Vice President of GMAC Mortgage during this period.
1097 See FRB Supplemental Agreement, dated Apr. 26, 2012 [ALLY_0193256].

1098 Id. at 2–3.

1099 Id. at 2.

1100 Id. at 3.

1101 Id.



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              (5) FRB/FDIC Consent Order Costs - $517 Million

     As shown in Exhibit V.C.1.c(5) below, ResCap currently expects to incur a total of $517
million in costs as a result of the FRB/FDIC Consent Order. The components of the $517 million
estimate include incremental compliance costs and costs resulting from the Foreclosure Review
and remediation.




                  (a) Incremental Compliance Costs - $80 Million

     AFI, Ally Bank, ResCap, and GMAC Mortgage made certain operational improvements to
various aspects of their residential mortgage loan servicing business as a result of the FRB/FDIC
Consent Order including, but not limited to, the following: compliance programs, internal audit,
communications with borrowers, vendor management, management information systems,




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employee training, and oversight by the AFI and ResCap Boards.1102 As of February 28, 2012,
AFI estimated that the incremental costs to ResCap and GMAC Mortgage would be
approximately $40 million annually during 2012 and 2013, and would then decline over
time.1103

                      (b) Foreclosure Review And Remediation—$437 Million

     As stated above, the FRB/FDIC Consent Order required GMAC Mortgage to hire an
independent consultant to perform a Foreclosure Review. AFI and GMAC Mortgage retained
PwC on February 1, 2012 to perform this review.1104

     Following the completion of the Foreclosure Review, the FRB/FDIC Consent Order
requires GMAC Mortgage to reimburse or remediate any borrower for any fees or other
financial injury discovered during the Foreclosure Review.1105 Because the review is still
ongoing, remediation costs have not yet been incurred.1106

     As of February 27, 2013, the Debtors estimated that the costs of the Foreclosure Review
and remediation could be as high as $415 million to $459 million.1107 For the purpose of this



1102 Ally Financial Inc., Annual Report (Form 10-K) (Feb. 28, 2012), at 12. These improvements required
    ResCap and GMAC Mortgage to hire additional servicing personnel, enhance information systems, increase
    audit and compliance costs, etc.
1103 Ally Financial Inc., Annual Report (Form 10-K) (Feb. 28, 2012), at 12. ResCap did not provide the total

    incremental compliance costs incurred through December 31, 2012, nor did ResCap provide a more current
    estimate of the incremental compliance costs to be incurred going forward.
1104 PwC Foreclosure Review Engagement Letter, dated Feb. 1, 2012 [EXAM11092238] (the “PwC Engagement

    Letter”).
1105 FRB/FDIC Consent Order, at 13–14 [ALLY_0203290].

1106 See Sections V.C.3, V.C.4 (discussing the status of, and issues surrounding, the PwC Compensation Motion

    (defined below) and the FRB Unsecured Claim Motion (defined below), respectively).
1107 See Debtors’ Motion Pursuant to Bankruptcy Rule 3013 and Bankruptcy Code Section 362(a) for a
    Determination that (I) GMAC Mortgage’s FRB Foreclosure Review Obligation is a General Unsecured Claim
    and (II) the Automatic Stay Prevents Enforcement of the FRB Foreclosure Review Obligation [Docket No.
    3055] at 7 (the “FRB Unsecured Claim Motion”). This estimate was a dramatic increase from the amounts
    previously estimated. See Declaration of Joseph A. Pensabene in Support of Debtors’ Motion for Entry of an
    Order Under Bankruptcy Code Section 363 and Bankruptcy Rule 6004 (I) Authorizing the Debtors to
    Compensate PricewaterhouseCoopers, LLP for Foreclosure Review Services in Furtherance of the Debtors’
    Compliance Obligations Under Federal Reserve Board Consent Order and (II) Reaffirming Relief Granted in
    the GA Servicing Order [Docket No. 1357-5] at 5 (the Debtors estimated that the total costs of the Foreclosure
    Review could be as high as $180 million as of the Petition Date); id. (stating that the estimate of total
    Foreclosure Review costs had been revised upward to a total of $250 million as of September 5, 2012 and also
    explaining that this estimate included law firms and other third-party advisors who were retained to assist with
    the Foreclosure Review, in addition to PwC); id. (as of September 5, 2012, Pensabene estimated the Foreclosure
    Review remediation costs to be between $35 million and $60 million).

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analysis, the Examiner’s Financial Advisors assumed the costs to be $437 million,
representing the midpoint of the most current range estimated by the Debtors. Included in this
estimate are total fees paid to PwC through December 31, 2012, of $73 million.1108

     According to Thomas Marano, the estimated total costs associated with the Foreclosure
Review and remediation have grown significantly due to the continued extension of the time
period during which borrowers were allowed to request that their loan be reviewed and due to
a lack of clarity surrounding the exact review parameters.1109

                 (6) CMP Order Costs

      Per the CMP Order, AFI, ResCap, and GMAC Mortgage consented to the assessment of a
CMP in the amount of $207 million. However, the terms of the CMP Order provide that the FRB
will remit up to $207 million of the CMP by amounts equivalent to: (1) the aggregate dollar value
of borrower assistance and payments pursuant to the DOJ/AG Consent Judgment; and (2) the
aggregate amount expended on funding for nonprofit housing counseling organizations, approved
by the HUD.1110 As discussed below, to date, ResCap has provided over $250 million in borrower
relief (also known as “soft costs”) and paid a $110 million fine (referred to as “hard costs”) as a
result of the DOJ/AG Settlement and DOJ/AG Consent Judgment. Therefore, AFI and ResCap
will not incur additional costs associated with the CMP Order.

                 (7) Accounting For FRB/FDIC Settlement Costs

     ResCap did not accrue a liability for the costs associated with the FRB/FDIC Consent
Order. Rather, ResCap expensed the costs associated with the FRB/FDIC Consent Order as
incurred.1111

     In contrast, AFI and ResCap did accrue a liability for the combined effect of the CMP
Order and the DOJ/AG Settlement. On January 30, 2012, AFI and ResCap estimated that they
could incur an expense as great as $268 million relating to the CMP Order in conjunction with
the DOJ/AG Settlement.1112 Therefore, AFI and ResCap originally recognized a combined



1108 Declaration of Thomas Marano, Chief Executive Officer of Residential Capital, LLC, in Support of Debtors’

    Motion Pursuant to Bankruptcy Rule 3013 and Bankruptcy Code Section 362(a) for a Determination that (I)
    GMAC Mortgage’s FRB Foreclosure Review Obligation is a General Unsecured Claim and (II) the
    Automatic Stay Prevents Enforcement of the FRB Foreclosure Review Obligation [Docket No. 3055-3] at 5.
1109 Id.

1110 See CMP Order, at 7–9 [ALLY_0001961].

1111 Meeting with ResCap and FTI, Financial Advisor to the Debtors, in Ft. Washington, PA (Dec. 11, 2012).

1112 SeeMemorandum, Accrual for DOJ Settlement at December 31, 2011, dated Feb. 28, 2012, at 3
    [EXAM00220938]; see also Memorandum, Significant Transaction Memo: General Information and
    Transaction Description Re Mortgage Fine, Waivers and Debt Forgiveness, dated Feb. 2012, at
    EXAM00220149 [EXAM00220147].

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liability of $268 million in their December 31, 2011 financial records.1113 Of this $268 million
liability, $196.5 million was recorded by ResCap and the remaining $71.5 was recorded by
AFI.1114 ResCap and AFI calculated these reserves using a 73% (ResCap) and 27% (AFI)
division of the total estimated liability.1115 The basis for these allocation percentages will be
discussed in Section V.C.1.f below.

      AFI and ResCap reduced their estimate of this liability to $230 million in AFI’s
December 31, 2011 consolidated financial statements after the announcement of the CMP
Order and the DOJ/AG Settlement on February 9, 2012.1116 The basis for the $230 million
liability will be discussed in detail in Section V.C.1.d(4)(b)(v). AFI and ResCap also modified
the percentage of the total estimated liability allocated to ResCap and AFI to 92% and 8%,
respectively. Therefore, although AFI and ResCap reduced the amount of the total liability
accrued by $38 million, the total amount of the liability allocated to ResCap increased from
$196.5 million to $211.5 million and the total amount allocated to AFI decreased from $71.5
million to $18.5 million.1117

                  (8) Allocation Of The FRB/FDIC Settlement Costs

     The amounts above assumed that all of the $207 million CMP would be offset by the
borrower relief associated with the DOJ/AG Settlement, resulting in an effective cost for the
CMP Order of $0 to both AFI and ResCap.1118 All of the above-described costs resulting from
the FRB/FDIC Consent Order have been and will be borne by ResCap. To date, none of these
costs have been allocated to AFI.

               d. Terms Of The DOJ/AG Settlement

                  (1) DOJ/AG Consent Judgment, Dated April 4, 2012

      The DOJ/AG Settlement was agreed to by the parties on February 9, 2012, prior to the filing
of a formal complaint by the United States, acting through the DOJ and the AGs of various states


1113 See id.

1114 Memorandum,   Significant Transaction Memo: General Information and Transaction Description Re
    Mortgage Fine, Waivers and Debt Forgiveness, dated Feb. 2012, at EXAM00220149 [EXAM00220147].
1115 Accounting
              Presentation by C. Dondzila to the ResCap Board, dated Jan. 10, 2012, at RC40020152
    [RC40020121].
1116 Memorandum,Accrual for DOJ Settlement at December 31, 2011, dated Feb. 28, 2012, at 3
    [EXAM00220938].
1117 SeeMemorandum, Significant Transaction Memo: General Information and Transaction Description Re
    Mortgage Fine, Waivers and Debt Forgiveness, dated Feb. 2012, at EXAM00220149 [EXAM00220147];
    Residential Capital, LLC Consolidated Financial Statements for the Years Ended December 31, 2011 and
    2010 (Mar. 28, 2012), at 70 [EXAM00122651].
1118 See Residential Capital, LLC Consolidated Financial Statements for the Years Ended December 31, 2011 and

    2010 (Mar. 28, 2012), at 70 [EXAM00122651].

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(the “DOJ/AG Plaintiffs”).1119 After negotiating the terms of the consent judgment based on
allegations of improper conduct relating to mortgage servicing activities, as a formality, the DOJ/
AG Plaintiffs filed a formal complaint against defendants AFI, ResCap, and GMAC Mortgage on
March 12, 2012. The complaint alleged certain civil claims for conduct related to the servicing of
mortgage loans, the servicing of loans of borrowers in bankruptcy,1120 and the origination of
mortgage loans.1121 The DOJ/AG Consent Judgment memorializing the terms of the settlement
agreed to on February 9 was filed on April 4, 2012.

     The DOJ/AG Consent Judgment and its related exhibits identified various actions that
AFI, ResCap, and GMAC Mortgage agreed to take in settlement of claims alleged. These
actions included:

                      (1) The adoption of new servicing standards by AFI, ResCap, and GMAC
                          Mortgage related to loans secured by owner-occupied properties that serve
                          as the primary residence of the borrower, including: (a) standards relating
                          to foreclosure and bankruptcy information, documentation of the
                          borrower’s account information, and chain of ownership; (b) oversight and
                          management of third party providers of foreclosure, bankruptcy, or
                          mortgage servicing activities; and (c) restrictions on servicing fees;1122

                      (2) Payment by AFI, ResCap, and GMAC Mortgage (collectively defined as
                          “Defendant” under the DOJ/AG Consent Judgment)1123 of hard costs in the
                          amount of $109,628,425;1124 and




1119 The states that are party to the DOJ/AG Settlement include: Alabama, Alaska, Arizona, Arkansas, California,

    Colorado, Connecticut, Delaware, Florida, Georgia, Hawaii, Idaho, Illinois, Indiana, Iowa, Kansas,
    Louisiana, Maine, Maryland, Michigan, Minnesota, Mississippi, Missouri, Montana, Nebraska, Nevada, New
    Hampshire, New Jersey, New Mexico, New York, North Carolina, North Dakota, Ohio, Oregon, Rhode
    Island, South Carolina, South Dakota, Tennessee, Texas, Utah, Vermont, Washington, West Virginia,
    Wisconsin, Wyoming, the Commonwealths of Kentucky, Massachusetts, Pennsylvania and Virginia, and the
    District of Columbia. See DOJ/AG Consent Judgment, at 1 [RC00027463]. A separate consent judgment was
    entered into with the State of Oklahoma and the Oklahoma State Banking Department. Pursuant to this
    settlement, AFI, ResCap, and GMAC Mortgage agreed to pay $935,208 to the state of Oklahoma.
1120 See DOJ/AG Consent Judgment, Ex. F-9, § E [RC00027463].

1121 See id. Ex. F-6, § D.

1122 See id. Ex. A.

1123 See id. at 1.

1124 See id. at 3. This amount was paid into an escrow fund along with other institutions resolving claims asserted by

    the DOJ and AGs, which aggregate amount was then to be distributed in the manner and for the purposes set
    forth in Ex. B1 and Ex. B2. Ex. B1 and Ex. B2 include an allocation of the settlement amount among the various
    states. See id. Ex. B1, B2.

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                   (3) Providing a total of $200 million in consumer relief and refinancing to
                       consumers meeting certain eligibility criteria.1125 AFI, ResCap, and GMAC
                       Mortgage could receive credit towards these obligations by performing
                       certain types of loan modifications, deficiency waivers and forbearances
                       (“soft credits”).1126 The details of this “borrower relief program” are set
                       forth in detail below. Further, as noted below, the amount of soft credits
                       permitted was subject to significant negotiations.1127 Failure to earn
                       sufficient soft credits to cover the $200 million consumer relief obligation
                       would result in an additional payment of hard costs equal to, depending on
                       the circumstances of the failure, either 125% or 140% of the unmet
                       commitment amount.1128

     In addition to imposing payment obligations on AFI, ResCap, and GMAC Mortgage, the
DOJ/AG Consent Judgment also established a “monitor” to oversee compliance1129 and
provided for enforcement mechanisms.

     In exchange for the payment of the settlement amounts, the DOJ/AG Consent Judgment
provided for a federal1130 and state1131 release of claims1132 against AFI and its affiliates1133
based on conduct connected with the servicing of mortgage loans, the origination of mortgage
loans, and the servicing of loans of borrowers in bankruptcy. The release did not cover certain
other specified claims and remedies.1134 Notably, the broad language contained in the release
provisions arguably released Ally Bank, despite the fact that Ally Bank was not a party to the
DOJ/AG Consent Judgment.1135
1125 See DOJ/AG Consent Judgment, at 4 [RC00027463].

1126 See id. Ex. D-1–12.

1127 See Section V.C.1.e (discussion on negotiations leading up to the DOJ/AG Settlement).

1128 See DOJ/AG Consent Judgment, Ex. D-11 [RC00027463].

1129 See id. at 4, Ex. E-1.

1130 See id. Ex. F-1–43.

1131 See id. Ex. G-1–12.

1132 There is also a section of the settlement that provides for the release of claims under the Servicemembers

    Civil Relief Act (“SCRA”), in exchange for certain obligations. See id. Ex. H-1–13.
1133 Ex. F of the DOJ/AG Settlement, governing the federal releases, uses the term “Company,” defined as AFI.

    Throughout, the releases include a release of “Company and any current or former affiliated entity (to the
    extent the Company retains liabilities associated with such former affiliated entity), and any of their
    respective successors or assigns, as well as any current or former director, current or former officer, and
    current or former employee of any of the foregoing, individually and collectively . . . .” Id. Ex. F-12, §
    F(2)(a). Similarly, Ex. G of the DOJ/AG Settlement, governing the state releases, provides a release for the
    “Bank”, which is defined for the purposes of that section as AFI and “its current and former parent
    corporations or other forms of legal entities, direct and indirect subsidiaries, brother or sister corporations or
    other forms of legal entities divisions or affiliates.” Id. Ex. G-1, § I.
1134 See id. Ex. F-29–38.

1135 See id. Ex. F, G.



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                         (a) Exhibit I Of The DOJ/AG Consent Judgment And The Allocation Of
                             Responsibilities

      Exhibit I of the DOJ/AG Consent Judgment was the subject of much negotiation among
the governmental entities and the AFI corporate family. It provides additional terms and
clarifications of the judgment and exhibits. Exhibit I specifically notes that ResCap, GMAC
Mortgage, RFC (collectively, the “DOJ/AG ResCap Parties”), and AFI have agreed to certain
conditions in recognition of ResCap’s “financial situation.”1136

                            (i) Provisions Governing Payment Of And Credit Towards Hard And
                                Soft Costs

     Exhibit I specifically provides that the DOJ/AG ResCap Parties shall make the hard costs
payment of $109.6 million and that AFI has agreed to enter into the DOJ/AG Earmark and
Indemnification Agreement in furtherance of such payment.1137 Exhibit I also states that the
DOJ/AG ResCap Parties (and to the extent the DOJ/AG ResCap Parties do not perform such
obligations, AFI) shall be responsible for the $200 million in soft costs. Notably, Exhibit I also
provides that any successor or purchaser of all or a substantial portion of the assets of the
DOJ/AG ResCap Parties shall not be obligated to pay any of the amounts owed by the DOJ/
AG ResCap Parties or AFI under the DOJ/AG Consent Judgment.1138

                            (ii) Provisions Governing Loan Modification Programs

     Exhibit I of the DOJ/AG Consent Judgment also requires that the DOJ/AG ResCap
Parties and AFI conduct nationwide loan modification programs to be offered to borrowers
suffering economic hardship with respect to both first-lien and second-lien loans.1139 Pursuant
to the terms of the DOJ/AG Consent Judgment, the DOJ/AG ResCap Parties are required to
offer relief to all borrowers who meet the eligibility criteria in the owned-loan portfolios of the
DOJ/AG ResCap Parties, AFI, and its affiliates, with the exception of certain Ally Bank-
owned loans.1140 Failure on behalf of the DOJ/AG ResCap Parties to satisfy the $200 million
commitment would result in an additional assessment.1141 Furthermore, even if more than
$200 million in consumer relief were completed, the DOJ/AG ResCap Parties were required to
continue to make offers to eligible borrowers during the solicitation period (which ultimately
resulted in the parties providing relief in excess of the $200 million commitment).1142


1136 See id. Ex. I-1.

1137 See id.

1138 See id.

1139 See id. Ex. I-2.

1140 See id.

1141 See id. Ex. I-10–11.

1142 See id. Ex. I-6.



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                            (iii) Representations And Warranties

     Finally, Exhibit I contained provisions that governed the responsibilities of the DOJ/AG
ResCap Parties in the event of a bankruptcy or other “transformative transaction,” including,
without limitation, a change of control transaction, a sale of all or substantially all of their
assets (or assets that together are material to the performance of the obligations of the DOJ/
AG ResCap Parties), or a reorganization or similar transaction. The DOJ/AG ResCap Parties
agreed that in the event of such a transformative transaction, they would ensure the continued
performance of their obligations under the DOJ/AG Consent Judgment, including requiring
any successor or purchaser of substantially all the assets of a DOJ/AG ResCap Party to honor
and perform the obligations under the DOJ/AG Consent Judgment.1143

     Furthermore, the DOJ/AG ResCap Parties and AFI agreed that they would not enter into
a transformative transaction without the consent of AFI; and AFI agreed that it would not
consent to any such transformative transaction (or provide financial support in connection
with any such transaction) unless the DOJ/AG ResCap Parties (including any successor to or
purchaser of the assets from a ResCap Party) agreed to ensure the continued performance of
the obligations under the DOJ/AG Consent Judgment.1144 However, any successor or
purchaser of all or a substantial portion of the assets of the DOJ/AG ResCap Parties would not
be obligated to pay any of the amounts owed by the DOJ/AG ResCap Parties or AFI under the
DOJ/AG Consent Judgment or the exhibits thereto.1145

                    (2) DOJ/AG Earmark And Indemnification Agreement, Dated March 9, 2012

     AFI, the U.S. government, and certain states entered into the DOJ/AG Earmark and
Indemnification Agreement in contemplation of the fact that ResCap’s payment of the hard
costs might may be at risk of avoidance in any subsequent ResCap bankruptcy case.1146 The
terms of this agreement required that prior to payment of the $109.6 million, AFI and ResCap
would execute Earmark Agreement (summarized below).1147 Additionally, AFI agreed to
indemnify the U.S. and certain states for any payments they are required to make as a result of
an avoidance action pursuant to chapter 5 of the Bankruptcy Code, including all reasonable
costs and expense in defending against such action.1148




1143 See id. Ex. I-12–13.

1144 See id.

1145 See id. Ex. I-12.

1146 See DOJ/AG Earmark and Indemnification Agreement, dated Mar. 9, 2012 [ALLY_0001865].

1147 See id. at 1–2.

1148 See id. ¶ 2.



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                  (3) Earmark Agreement, Dated March 14, 2012

    AFI and ResCap entered into the Earmark Agreement, dated March 14, 2012.1149
Pursuant to the terms of the Earmark Agreement, ResCap agreed that, inter alia:

                  (1) The debt forgiveness set forth in the January 30 Letter Agreement was to
                      allow ResCap to fund the hard costs under the DOJ/AG Consent Judgment;

                  (2) Without the capital support provided by AFI, ResCap could not have
                      funded the hard costs;

                  (3) The $109.6 million of liquidity provided by AFI will be used solely to fund
                      the hard costs; and

                  (4) AFI’s capital support, and ResCap’s use of that support does not result in
                      any additional debt obligations of ResCap.1150

                  (4) Economics Related To The DOJ/AG Settlement

      To ascertain the cost to ResCap of obtaining $200 million in soft credits, ResCap first
determined which loans were eligible for borrower relief. Next, ResCap reviewed each
individual loan to determine whether it was qualified for one of the forms of relief available
from the “menu” or “waterfall” set forth in the DOJ/AG Consent Judgment.1151 ResCap then
utilized a model to estimate the expected accounting loss on these qualifying loans.1152 The
$200 million in borrower relief credits required under the DOJ/AG Settlement did not
correspond dollar-for-dollar to the actual accounting loss incurred by ResCap due to previous
accounting adjustments relating to the market value of the subject loans. For example, if
ResCap held a loan in its HFS portfolio with an unpaid principal balance of $200,000 that it
wrote down to a market value of $100,000 prior to the DOJ/AG Settlement, an offer by
ResCap to the borrower of a $20,000 principal reduction, under the borrower relief program,
would not decrease the market value of the loan by a corresponding $20,000 because the
entire amount of the principal reduction was encompassed in the previous write-down of the
loan.

     The projected accounting loss associated with each loan often depended on the portfolio
from which the loan came. For example, if a loan was in ResCap’s HFS portfolio and the
borrower was offered principal forgiveness, that form of relief on that type of loan could cost
the company nothing because the loan had already been marked down to zero.1153 On the other

1149 See Earmark Agreement [ALLY_0000001].

1150 Id. at 2.

1151 DOJ/AG Consent Judgment, Ex. D [RC00027463].

1152 Int. of C. Dondzila, Nov. 9, 2012, at 228:1–21.

1153 See id. at 228:22–229:2.



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hand, if a loan was in Ally Bank’s portfolio, because it was considered HFI and had an
allowance, then the accounting loss could be higher because in addition to reducing the unpaid
principal balance of the loan, there would also only be a partial recovery of the allowance.1154
The final step in the process was to determine whether Ally Bank should be reimbursed for any
of the relief taken, based on a separate reimbursement schedule/matrix which was to be
negotiated in accordance with the Servicing Agreement Modification Terms.1155

     Appendix V.C.1.c(4) identifies the various costs incurred by ResCap and AFI related to the
DOJ/AG Consent Judgment as well as the most recent estimates made available of future costs
to be incurred. The costs incurred by ResCap and AFI and estimated future costs stemming from
the DOJ/AG Settlement are summarized in Exhibit V.C.1.d(4) below.1156




                       (a) Penalty / Fine – $109.6 Million

    ResCap, through GMAC Mortgage, remitted the full fine of $109.6 million to an escrow
account created pursuant to the DOJ/AG Consent Judgment on March 14, 2012.1157

1154 See id. at 229:3–14.

1155 See id. at 231:4–11; see also A&R Servicing Agreement, §§ 10.01(e)–(f), Ex. 4-B [ALLY_0114469].

1156 Exhibit V.C.1.d(4) provides actual costs incurred through January 31, 2013 and estimates of future costs to be

    incurred as of November 1, 2012. As described below, adjustments have been made to eliminate double
    counting due to overlap of the estimation period and the period for which actual costs incurred were available
    (November 2012–January 2013).
1157 See E-mail from C. Dondzila (Mar. 15, 2013) [EXAM11004487]; ResCap Liquidity Update: A Presentation for

    the ResCap Board of Directors, dated Mar. 23, 2012, at RC40020491 [RC40020488]; Special Examiner
    Presentation: DOJ/AG Settlement, dated Dec. 11, 2012, at EXAM00220908 [EXAM00220897]; ResCap
    Consolidating Financial Statements – 2012, dated Oct. 29, 2012 [ALLY_0244598] (showing payment of the
    funds was recorded under GMAC Mortgage).

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                      (b) Borrower Relief Program – $150.2 Million

                          (i) Description Of Borrower Relief Program

     As stated in Section V.C.1.d(1) above, AFI, ResCap, and GMAC Mortgage are required to
offer relief to borrowers meeting certain criteria as outlined in Exhibit D of the DOJ/AG Consent
Judgment.1158 All borrowers meeting these criteria must be offered the relief, and ResCap must
honor the relief regardless of the amount of time it takes the borrower to accept the offer.
However, ResCap no longer has to honor the solicitations if the borrower does not respond
within 180 days of the initial solicitation once ResCap exceeds its borrower relief obligation by
$50 million (i.e. $250 million in borrower relief credits have been provided).1159

     According to scenario analyses performed by ResCap in January 2012, ResCap did not have
a large enough portfolio to earn the $200 million in borrower relief credits without modifying
loans held in Ally Bank’s portfolio.1160 As shown in Exhibit V.C.1.d(4)(b)(i)—1 below, full
access to the Ally Bank loan portfolio was necessary for ResCap to exceed the $200 million
threshold in borrower relief credits and to avoid the resulting potential hard dollar penalty.1161
ResCap estimated that it would incur an additional $56.0 million to $114.3 million under the
DOJ/AG Consent Judgment if it were not able to modify Ally Bank loans or were allowed to do
so only on a limited basis.1162




1158 See DOJ/AG Consent Judgment, Ex. D [RC00027463].

1159 See id. Ex. I-6 [RC00027463]; Residential Capital, LLC Condensed Consolidated Financial Statements for the

    Periods Ended March 31, 2012 and 2011 (Unaudited), at 44 [EXAM00070376].
1160 See Settlement Credit Model, prepared by ResCap [EXAM20276481] (attached to E-mail from C. Dondzila

    (Jan. 23, 2012) [EXAM20276480]).
1161 See id.

1162 Settlement Credit Model, prepared by ResCap [EXAM20276481] (attached to E-mail from C. Dondzila (Jan.

    23, 2012) [EXAM20276480]). This estimate assumes a 25% penalty. See id. As described in Section V.C.1.d(1),
    failure to earn sufficient soft credits to cover the $200 million consumer relief obligation would result in an
    additional payment of hard costs equal to, depending on the circumstances of the failure, either 125% or 140%
    of the unmet commitment amount. See DOJ/AG Consent Judgment, Ex. D-11 [RC00027463].

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     ResCap reviewed the loans contained in the ResCap and Ally Bank portfolios and
determined that as of March 1, 2012,1163 a total of 14,071 loans, with an unpaid principal balance
of approximately $2.2 billion, were eligible for the borrower relief program.1164 As shown in
Exhibit V.C.1.d(4)(b)(i)—2 below, according to a ResCap report created on March 22, 2013,
prior to the implementation of the borrower relief program, 6,033 of these loans, with an unpaid
principal balance of $1.3 billion, were in the Ally Bank portfolio, and 8,038 of these loans, with
an unpaid principal balance of $910 million, were in the ResCap portfolio.1165




                       (ii) Current Status Of Borrower Relief Program

     Exhibit V.C.1.d(4)(b)(ii) provides a summary of the current solicitation status of the
borrower relief program. As of March 22, 2013, ResCap and GMAC Mortgage had either
solicited or borrowers had fully paid off the principal balances of all eligible loans under the
borrower relief program.




1163 SeeSpecial Examiner Presentation: DOJ/AG Settlement, dated Dec. 11, 2012, at EXAM00220903
    [EXAM00220897].
1164 SeeAnalysis of AG Consumer Relief: Eligibility and Solicitation Progress, dated Mar. 22, 2013
    [EXAM00339991] (providing an updated status of solicitation progress as of March 22, 2013).
1165 See id.



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    In February 2013, the court-appointed monitor of the borrower relief program certified that
AFI, ResCap, and GMAC Mortgage had satisfied the terms of the DOJ/AG Consent
Judgment.1166

                         (iii) Economic Impact Of Modifications

                             (A) Modifications Of Ally Bank Loans – $134.5 Million

     As described in Section V.C.2 below, GMAC Mortgage reimbursed Ally Bank for
modifications made to Ally Bank loans in accordance with the January 30 Letter Agreement, in
addition to the A&R Servicing Agreement between GMAC Mortgage and Ally Bank and the
related AG Menu Matrix.

     As shown in Exhibit V.C.1.d(4)(b)(iii)(A) below, ResCap, through GMAC Mortgage,
remitted reimbursement payments totaling $96.8 million to Ally Bank from April 2012 through
January 31, 2013.1167 Two of these payments occurred in the days leading up to ResCap’s
bankruptcy filing—$45.0 million on May 10, 2012 and $3.4 million on May 11, 2012.1168


1166 Office of Mortgage Settlement Oversight, Press Release, National Mortgage Settlement Monitor: Ally Has Met

   its Consumer Relief Obligations (Feb. 14, 2013), https://www.mortgageoversight.com/wp-content/uploads/
   2012/03/Ally-Report.pdf.
1167 Ally Bank sent reimbursement invoices to ResCap dated May 9, 2012, May 10, 2012, June 4, 2012, June 28,

   2012, July 3, 2012, August 3, 2012, September 7, 2012, October 2, 2012, November 2, 2012, December 6, 2012,
   January 3, 2013, and February 4, 2013. See Invoice from Ally Bank to ResCap (May 9, 2012)
   [ALLY_0196290]; Invoice from Ally Bank to ResCap (May 10, 2012) [EXAM20203413]; Invoice from Ally
   Bank to ResCap (June 4, 2012) [ALLY_0402171]; Invoice from Ally Bank to ResCap (June 28, 2012)
   [ALLY_0402172]; Invoice from Ally Bank to ResCap (July 3, 2012) [ALLY_0402173]; Invoice from Ally
   Bank to ResCap (Aug. 3, 2012) [EXAM00221497]; Invoice from Ally Bank to ResCap (Sept. 7, 2012)
   [EXAM00221498]; Invoice from Ally Bank to ResCap (Oct. 2, 2012) [ALLY_0402174]; Invoice from Ally
   Bank to ResCap (Nov. 2, 2012) [EXAM00237710]; Invoice from Ally Bank to ResCap (Dec. 6, 2012)
   [ALLY_0402175]; Invoice from Ally Bank to ResCap (Jan. 3, 2013) [ALLY_0402176]; Invoice from Ally
   Bank to ResCap (Feb. 4, 2013) [ALLY_0402177]. See also Special Examiner Presentation: DOJ/AG
   Settlement, dated Dec. 11, 2012, at EXAM00220908 [EXAM00220897]; ResCap Consolidating Financial
   Statements – 2012, dated Oct. 29, 2012 [ALLY_0244598]. Payments made after the Petition Date relating to
   postpetition modifications were expressly authorized by an interim order entered on May 16, 2012, and by a
   final stipulation and order entered on September 12, 2012. See Interim Order Pursuant to Sections 105(a) and
   363 of the Bankruptcy Code Authorizing the Debtors to Continue to Perform Under the Ally Bank Servicing
   Agreement in the Ordinary Course of Business [Docket No. 90]; Stipulation and Order Reserving Rights with
   Respect to Debtors’ Motion for Interim and Final Orders Under Bankruptcy Code Sections 105(a) and 363
   Authorizing the Debtors to Continue to Perform Under the Ally Bank Servicing Agreement in the Ordinary
   Course of Business [Docket No. 1420].
1168 See E-mail from M. Rosen (May 10, 2012), at ALLY_0182324 [ALLY_0182323]; Invoice from Ally Bank to

   ResCap (May 9, 2012) [ALLY_0196290]. Rosen was a member of the Capital Markets Team at AFI during this
   period. See also Invoice from Ally Bank to ResCap (May 10, 2012) [EXAM20203413]; Agreement for AG
   Settlement Loan Modifications for April 2012, dated May 11, 2012 [ALLY_PEO_0087335] (letter agreement
   between Ally Bank, ResCap, and GMAC Mortgage clarifying the modification and reimbursement agreement
   between GMAC Mortgage and Ally Bank as provided under the January 30 Letter Agreement).

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     As of November 1, 2012, ResCap estimated that GMAC Mortgages’ future reimbursement
payments to Ally Bank would total $48.1 million.1169 Given that actual reimbursement payments
for the period beginning November 1, 2012 through January 31, 2013 were $10.4 million, the
Examiner’s Financial Advisors assumed that estimated reimbursement payments from
February 1, 2013 through the end of the borrower relief program would be $37.7 million ($48.1
million – $10.4 million = $37.7 million).1170 As a result, the total reimbursement payments to
Ally Bank are estimated to be $134.5 million ($96.8 million + $37.7 million = $134.5 million).

                               (B) Modifications Of ResCap Loans – $15.7 Million

     As of October 31, 2012, ResCap, had incurred $12.2 million in costs associated with the
modification of loans held in the ResCap portfolio.1171 As of the same date, ResCap estimated
that it would incur an additional $3.5 million in costs associated with future modifications of
loans held in the ResCap portfolio, for a total of $15.7 million.1172


1169 Special
          Examiner Presentation: DOJ/AG Settlement, dated Dec. 11, 2012, at EXAM00220908
    [EXAM00220897].
1170 ResCap did not provide a more current estimate of post-January 2013 reimbursement payments to Ally Bank.

1171 Special
          Examiner Presentation: DOJ/AG Settlement, dated Dec. 11, 2012, at EXAM00220907
    [EXAM00220897].
1172 ResCap did not provide updated information regarding the total costs incurred to date or future costs to be

    incurred by ResCap due to modification of loans held in the ResCap portfolio.

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     As shown in Exhibit V.C.1.d(4)(b)(iii)(B) below, the vast majority of costs related to
borrower relief result from GMAC Mortgage’s reimbursement payments to Ally Bank.1173




     Nearly 60% of the solicitations as of October 31, 2012 were for ResCap loans. However,
over 89% ResCap’s costs related to borrower relief resulted from reimbursement payments to
Ally Bank. This discrepancy is due in part to different accounting methodologies for HFS and
HFI loans, as well as the fact the reimbursement payments to Ally Bank did not account for the
reserves Ally Bank recorded on its HFI portfolio.

     The ResCap loans subject to borrower relief were held in ResCap’s HFS portfolio. The Ally
Bank loans subject to borrower relief were held in Ally Bank’s HFI portfolio.1174 AFI’s
accounting policy1175 requires that ResCap record the carrying value its HFS portfolio based on
the lower of cost or market (fair value), commonly referred to as “LOCOM,” if it does not elect
the option to record the loans at fair value.1176 The carrying value of the loans held in ResCap’s
HFS portfolio closely approximated the fair value of those loans as of December 31, 2011.1177

     AFI’s accounting policy requires that Ally Bank record the carrying value of its HFI
portfolio on an adjusted cost basis.1178 AFI’s accounting policy for HFI loans states that carrying

1173 Special
          Examiner Presentation: DOJ/AG Settlement, dated Dec. 11, 2012, at EXAM00220904, 08
    [EXAM00220897].
1174 Meeting with ResCap and FTI, Financial Advisor to the Debtors, in Ft. Washington, PA (Dec. 11, 2012).

1175 AFI’s accounting policies for HFS and HFI applied to both ResCap and Ally Bank.

1176 Accounting
              Policy: Loans—Held for Sale or Held for Investment, dated June 1, 2010, at RC40000591
    [RC40000585].
1177 The fair value of the HFS loans held by GMAC Mortgage was $3.13 billion, or less than 1%, greater than the

    carrying value for these loans of $3.11 billion. GMAC Mortgage, LLC Consolidated Financial Statements for
    the Years Ended December 31, 2011 and 2010 (Mar. 28, 2012), at 48 [RC00032177].
1178 See Accounting Policy: Loans—Held for Sale or Held for Investment, dated June 1, 2010, at RC40000593–94

    [RC40000585].

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value for purchased HFI loans is based on the loan’s unpaid principal balance, the purchase
premium or discount, and the change in value of the loan commitment derivative.1179 The
initial carrying value of originated HFI loans is calculated in the same manner as the
purchased HFI loans with the inclusion of any charge-offs or allowances for estimated
uncollectible amounts and impairments in value.1180 AFI’s accounting policy also states that
HFI loans must be evaluated for possible credit impairment. If it is probable that AFI has
incurred a loss and the amount is reasonably estimable, the loss should be recognized in the
period in which the loss occurred.1181 This credit impairment is recorded in the form of a
reserve on the balance sheet.

     In general, the accounting methodology employed for the HFS portfolio resulted in
greater reductions to the carrying value of the HFS loans compared to the accounting
methodology employed for the HFI loans.1182 This premise is corroborated by an analysis of
the write-offs and reserves related to HFS and HFI loans. GMAC Mortgage wrote-down the
unpaid principal balance of its HFS portfolio of residential mortgage loans by $318.2 million
(9.2% of carrying value) and $427.7 million (11.2% of carrying value) in 2011 and 2010,
respectively.1183 On the other hand, AFI’s reserves related to the consumer mortgage HFI
loans for the origination and servicing operations were $16 million (0.6% of carrying value)
and $13 million (0.6% of carrying value) in 2011 and 2010, respectively.1184

     Furthermore, Ally Bank’s reserves on its HFI portfolio were not accounted for in the
calculation of the reimbursement payments due from GMAC Mortgage to Ally Bank.
Therefore, the reimbursement payment is based on the impact of the borrower relief on Ally
Bank’s gross carrying value of its HFI loans as opposed to the carrying value net of reserves.
The exclusion of Ally Bank’s reserves from the reimbursement calculations will be discussed
in greater detail in Section V.C.2.c(4) below.




1179 Id.

1180 See id. at RC40000594.

1181 See id. at RC40000595.

1182 Meeting with ResCap and FTI, Financial Advisor to the Debtors, in Ft. Washington, PA (Dec. 11, 2012).

1183 See GMAC Mortgage, LLC Consolidated Financial Statements for the Years Ended December 31, 2011 and

    2010 (Mar. 28, 2012), at 20 [RC00032177].
1184 Ally Financial Inc., Annual Report (Form 10-K) (Feb. 28, 2012), at 61.



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                           (iv) Other Costs Associated With DOJ/AG Consent Judgment–$4 Million

      ResCap, through GMAC Mortgage, had incurred approximately $4 million in “other” costs
relating to the borrower relief program as of November 1, 2012.1185 These costs included
attorneys’ fees, other fines and penalties, and costs associated with the Hope for Homeowners
Program.1186

                           (v) Accounting For DOJ/AG Settlement

      As noted in Section V.C.1.c(7), on January 30, 2012, AFI and its subsidiaries estimated
their liability associated with the CMP Order and DOJ/AG Settlement to be $268 million and
accrued a liability in the December 31, 2011 financial records.1187 After the announcement of the
CMP Order and the DOJ/AG Settlement on February 9, 2012, AFI and its subsidiaries reduced
their estimate of this liability to $230 million in their December 31, 2011 financial
statements.1188 Exhibit V.C.1.d(4)(b)(v) outlines the elements comprising this $230 million
liability.




     As will be discussed in Section V.C.1.f, ResCap and AFI considered various allocation
scenarios when estimating the total cost of the DOJ/AG Settlement. Ultimately, ResCap and AFI
decided to match the allocation methodology set forth in the February 9, 2012 FRB press release
announcing the CMP Order,1189 and agreed to allocate the estimated $230 million liability for the
DOJ/AG Settlement and the CMP Order 8% to AFI and 92% to ResCap.1190 Therefore, AFI



1185 Special
          Examiner Presentation: DOJ/AG Settlement, dated Dec. 11, 2012, at EXAM00220908
    [EXAM00220897].
1186 See id.

1187 Memorandum, Accrual for DOJ Settlement at December 31, 2011, dated Feb. 28, 2012, at 3 [EXAM00220938].

1188 Id.

1189 FRB, Press Release (Feb. 9, 2012), http://www.federalreserve.gov/newsevents/press/enforcement/ 20120209a.htm.

1190 See Section V.C.1.f(4) (discussing AFI’s and ResCap’s decision to use the FRB press release as the proper

    allocation method of penalties imposed under the government settlements).

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recorded $18.5 million of the total liability, and ResCap (through GMAC Mortgage) recorded
the remaining $211.5 million liability.1191

              e. Negotiations Leading To The Government Settlements

      The government’s investigation in the latter half of 2009 was followed by intense
negotiations between the governmental entities and the AFI corporate group.1192 While the
settlement negotiations with the DOJ and AGs were lengthy, the road to settlement with the
FRB and FDIC was relatively short and was accomplished in two stages, with the agreement
regarding the FRB/FDIC Consent Order coming first, and the agreements regarding the CMP
Order and the DOJ/AG Consent Judgment coming last. During these negotiations there was a
general view that the interests of AFI and ResCap were aligned regarding getting the lowest
possible penalty amount.1193 However, there was tension between the two companies1194 and
their subsidiaries regarding the ultimate allocation of costs between them.1195

                  (1) Involvement Of The AFI Board And The ResCap Board In The Negotiations
                      Concerning The Government Settlements

     According to Pamela West, the ResCap Board, including the Independent Directors, had “robust
discussions about the consent order”1196 and was kept abreast of developments regarding the


1191 See Residential Capital, LLC Consolidated Financial Statements for the Years Ended December 31, 2011 and

    2010 (Mar. 28, 2012), at 70 [EXAM00122651].
1192 Marano noted that there was “minimal discussion” regarding the FRB/FDIC Settlement, due to its nature as a

    “natural order from the regulator” and that the FRB/FDIC Settlement “largely copied what we negotiated
    with the [DOJ and AG]. Int. of T. Marano, Feb. 27, 2013, at 5:10–19, 6:9–10. However, the discussions
    regarding the DOJ/AG Settlement involved a lot of back and forth and entailed several meetings a week over
    the course of a year. See id. at 6:15–7:8.
1193 See id. at 16:18–17:8 (“While the negotiations were going on, the general view was that some portion of this

    would have to get picked up by ResCap, and the enforcement activity was largely tar—initially targeted at
    the servicer. So, the approach I took was, get the lowest fine possible for the servicer, and that should, you
    know, be fine for everybody.”); Int. of M. Carpenter, Mar. 4, 2013, at 217:11–220:12 (“[T]he interest of
    ResCap and of the parent were completely aligned in terms of getting the lowest possible cost and settlement
    that we could.”). Carpenter was the CEO of AFI during this period.
1194 See Int. of T. Marano, Nov. 26, 2012, at 280:3–25 (noting that Solomon was “consistently trying to shift the

    responsibility from Ally to ResCap” while the FRB was simultaneously and “consistently trying to make sure
    that if anything happened to ResCap, that Ally would be ultimately responsible.”).
1195 Compare Int. of T. Marano, Feb. 27, 2013, at 18:25–19:14 (“There was definitely pushback from the bank to

    have as much fall on ResCap as possible. And, ResCap was actually doing the servicing. . . . I obviously was
    pushing for the lowest possible fees, and to minimize the impact to ResCap.”), with Int. of M. Carpenter,
    Mar. 4, 2013, at 219:10–220:12 (“Now, in terms of how it gets allocated, it is 100 clear to everybody that
    everything that happened for which we paid a fine was because of ResCap’s operations. There was nothing in
    there having to do with anything the parent company did with one minor exception. And so by any logic, 100
    percent of whatever it costs should go to ResCap.”).
1196 Int. of P. West, Jan. 11, 2013, at 55:3–4. At this point, West was the Chairperson of the ResCap Audit Committee.



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settlements and compliance efforts, despite the fact that they did not take part in the negotiations
themselves.1197 The discussions appear to have been focused on understanding the settlement itself,
rather than on the allocation of settlement responsibilities between AFI and ResCap.1198

      On January 27, 2011, the ResCap Board was informed of information requests and inquiries
from the SEC, the DOJ, and the state AGs, and was presented with “the findings of the
interagency mortgage foreclosure examination of Ally Financial, its nonbank mortgage
subsidiaries and Ally Bank conducted by the Federal Reserve.”1199 In February 2011, Marano
briefed the ResCap Board on “the results of the mortgage foreclosure target examination
conducted by the Federal Reserve.”1200 By letter dated February 18, 2011, the FRB provided the
AFI corporate group with a draft of the FRB/FDIC Consent Order.1201

     As early as February 25, 2011, the ResCap Board discussed the proposed FRB/FDIC
Settlement, led by Diane Citron (who was assigned to head the task force devoted to
addressing the issues the FRB had identified).1202 Communications between ResCap and AFI
revealed that the FRB indicated in discussions regarding the FRB/FDIC Consent Order that it
expected AFI to be “on notice that it is fully accountable for its businesses and must take a




1197 Id. at 61:17–22 (“We were certainly updated on a very regular basis as the negotiations and discussions were

    going along, yes. Did we take an active participatory part in them, no. But the independent directors were
    certainly kept up to date on the status of the negotiations.”); Int. of J. Mack, Jan. 15, 2013, at 96:17–97:7.
    Mack was a Director of the ResCap Board during this period.
1198 See Int. of P. West, Jan. 11, 2013, at 54:17–56:16; see also Int. of J. Pensabene, Jan. 9, 2013, at 190:9–192:22

    (noting that there were no discussions with the government during negotiations of the DOJ/AG Settlement
    regarding what entities were responsible for the conduct underlying the settlement or which entities were
    liable under the statutes being violated).
1199 Minutes of a Special Meeting of the Board of Residential Capital, LLC, Jan. 27, 2011, at RC00023406

    [RC00023397] (noting that Marano presented a series of charts summarizing the FRB investigation, paying
    particular attention to issues raised in “the review of foreclosure and delinquent loan files, the Document
    Custodian activity and Risk Management[,]” and also the next steps in responding to the investigation’s
    findings). See also Federal Reserve Bank of Chicago AFI Supervisory Team Presentation, Interagency
    Mortgage Foreclosure Examination of Ally Financial, Inc., its Nonbank Mortgage Subsidiaries, and Ally
    Bank, dated Jan. 27, 2011, at RC40019274–84 [RC40019219].
1200 Minutes of a Regular Meeting of the Board of Residential Capital, LLC, Feb. 11, 2011, at RC00023418

    [RC00023397].
1201 See Minutes of a Special Meeting of the Board of Residential Capital, LLC, Feb. 25, 2011, at RC00023419

    [RC00023397]; Letter from the Federal Reserve Bank of Chicago to T. Marano, W. Solomon, and Mark
    Weintraub (Feb. 18, 2011) [ALLY_0359123]. During this period, Weintraub was the Executive Vice
    President of Mortgage Servicing Remediation Oversight at AFI, and was designated the “Engagement
    Manager” on behalf of AFI for the implementation of the PwC Engagement Letter.
1202 SeeFRB Program Charter, Presentation to the ResCap Board, dated Mar. 7, 2011, at RC40019421
    [RC40019366] (“A Task Force led by Ms. Citron was established.”); Minutes of a Special Meeting of the
    Board of Residential Capital, LLC, Feb. 25, 2011, at RC00023419 [RC00023397].

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more active role in setting risk tolerances and assuring adherence.”1203 The draft FRB/FDIC
Consent Order listed AFI, Ally Bank, ResCap, and GMAC Mortgage as responsible parties
from the beginning,1204 but the ResCap Board apparently discussed only the applicability of
items in the draft to ResCap or GMAC Mortgage, not to AFI or Ally Bank.1205 The ResCap
Board was informed, during its regular meeting in March 2011, that the proposed FRB/FDIC
Consent Order was directed at each of AFI, Ally Bank, ResCap, and GMAC Mortgage.1206

     ResCap’s management determined that it had concluded negotiations with respect to the
FRB/FDIC Consent Order on April 1, 2011. At that time, the ResCap Board was provided
with a near-final draft order.1207 Cathy Quenneville, the Corporate Secretary of ResCap and
AFI, informed the ResCap Board that ResCap should enter into the order quickly, lest it be the
only target of the investigations subject to a separate announcement by the FRB.1208 That same
day, following a discussion on the version of the FRB/FDIC Consent Order circulated to the
ResCap Board earlier in the morning,1209 the ResCap Board authorized Marano to enter into
the FRB/FDIC Consent Order.1210




1203 E-mail from B. Yastine to D. Citron, T. Marano, and S. Abreu (Feb. 22, 2011) [EXAM11084270]. Abreu

    was the President of both GMAC Mortgage and ResCap during this period. He was also a member of the
    ResCap Board and the ResCap Executive Committee.
1204 Minutes of a Special Meeting of the Board of Residential Capital, LLC, Feb. 25, 2011, at RC00023419

    [RC00023397].
1205 Id.(“Discussion was given to, among other things, applicability of the items to ResCap or to GMAC
    Mortgage, LLC; regulatory recommendations and actions required; and topics or areas identified in the draft
    Consent Order for which actions have been implemented or initiated by management prior to receipt of the
    draft Consent Order.”).
1206 Minutes of a Regular Meeting of the Board of Residential Capital, LLC, Mar. 9, 2011, at RC00023423

    [RC00023397]. (“[Citron] informed the Board that the draft Consent Order is directed at Ally, Ally Bank,
    ResCap, GMAC Mortgage, LLC and Residential Funding, LLC and that the primary focus is on controls
    around the risks attendant to mortgage servicing.”).
1207 E-mail from C. Quenneville (Apr. 1, 2011), at RC40019516 [RC40019428].

1208 Id.


           It is in ResCap’s interest to execute the Consent Order relatively quickly. While the [FRB] and
           OCC have agreed to a joint announcement, the [FRB] confirmed today that the OCC and its banks
           are well ahead of us on the execution process, and the OCC may proceed on its own with a public
           announcement. If we have already executed our Consent Order, we would likely be included in any
           such announcement. If we have not executed, we might find our self being the sole subject of a
           subsequent announcement.
1209 Draft FRB/FDIC Consent Order, dated Apr. 1, 2011, at RC40019518–57 [RC40019428] (attached to E-mail

    from C. Quenneville (Apr. 1, 2011), at RC40019516 [RC40019428]).
1210 Minutes of a Special Meeting of the Board of Residential Capital, LLC, Apr. 1, 2011, at RC00023432–33

    [RC00023397].

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                 (2) Compliance With The FRB/FDIC Consent Order
     Following the formal settlement, on May 6, 2011, the ResCap Board discussed the
formation of a ResCap Consent Order Compliance Committee to oversee compliance with the
FRB/FDIC Consent Order and update the ResCap Board on compliance with the order,1211
which was authorized in late-May.1212 The ResCap Board further suggested the possibility of
holding joint meetings of the ResCap and AFI sub-committees “established for the same
purpose to ensure consistency in the communication of required information and follow-
through plans.”1213 These joint meetings were held by a “Combined” Consent Order
Compliance Committee, which included representatives from AFI and ResCap.1214




1211 Minutes of a Regular Meeting of the Board of Residential Capital, LLC, May 6, 2011, at RC00023444–45

   [RC00023397]. On April 28, 2012, the AFI Board similarly discussed the formation of a special committee
   to “oversee compliance and to review and monitor management’s action plan to comply with the Consent
   Order.” Minutes of a Regular Meeting of the Board of Directors of Ally Financial Inc., Apr. 28, 2011, at
   ALLY_0115679–80 [ALLY_0115565].
1212 Action by Written Consent of the Board of Directors of Residential Capital, LLC, dated May 26, 2011, at

   RC00023453–54 [RC00023397]. Prior to his appointment to the ResCap Consent Order Compliance
   Committee, Edward Smith was a member of the ResCap Audit Committee.
1213 Minutes of a Regular Meeting of the Board of Residential Capital, LLC, May 6, 2011, at RC00023444–45

   [RC00023397].
1214 See, e.g., Minutes of the Ally Financial Inc./Residential Capital, LLC Combined Consent Order Compliance

   Committee Meeting, June 7, 2011 [RC40019071]; Minutes of the Ally Financial Inc./Residential Capital,
   LLC Combined Consent Order Compliance Committee Meeting, July 12, 2011, at RC40019075
   [RC40019071]; Minutes of the Ally Financial Inc./Residential Capital, LLC Combined Consent Order
   Compliance Committee Meeting, July 27, 2011, at RC40019088 [RC40019071]; Minutes of the Ally
   Financial Inc./Residential Capital, LLC Combined Consent Order Compliance Committee Meeting, Aug. 22,
   2011, at RC40019091–93 [RC40019071] (noting that “a report on the costs associated with the foreclosure
   review and overall Consent Order compliance program will be presented at an upcoming meeting of the
   COCCs.”); Minutes of the Ally Financial Inc./Residential Capital, LLC Combined Consent Order
   Compliance Committee Meeting, Sept. 27, 2011, at RC40019095 [RC40019071]; Minutes of the Ally
   Financial Inc./Residential Capital, LLC Combined Consent Order Compliance Committee Meeting, Oct. 28,
   2011, at RC40019137 [RC40019109]; Minutes of the Residential Capital, LLC Consent Order Compliance
   Committee Meeting, Dec. 16, 2011, at RC40019143–44 [RC40019109] (“Mr. Weintraub noted that certain
   process improvements implemented to comply with Consent Order requirements are benefiting other areas of
   the business, and that there is evidence of the effectiveness of the policies, practices, and procedures that
   have been put into operation, specifically reference enhancements to oversight of legal suppliers and
   SPOC.”); Minutes of the Ally Financial Inc./Residential Capital, LLC Combined Consent Order Compliance
   Committee Meeting, Jan. 25, 2012, at RC40019148 [RC40019109]; Minutes of the Ally Financial Inc./
   Residential Capital, LLC Combined Consent Order Compliance Committee Meeting, Mar. 8, 2012, at
   RC40019152 [RC40019109]. The Examiner was able to uncover evidence of only one meeting individually
   held by the ResCap Consent Order Compliance Committee, and even in that circumstance, a representative
   of the AFI Consent Order Compliance Committee, John Durrett, was present. See Minutes of the Residential
   Capital, LLC Consent Order Compliance Committee Meeting, Dec. 16, 2011, at RC40019143
   [RC40019109].

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     The ResCap Consent Order Compliance Committee updated the ResCap Board regarding
the progress of compliance with the FRB/FDIC Consent Order.1215 The ResCap Board was
further informed by Citron that while “the focus of the Consent Order is on the mortgage
servicing activity,” compliance was “a company-wide effort with multiple requirements for
Ally and Ally Bank as well.”1216

     The ResCap Board approved an oversight plan prepared for the FRB and FDIC1217
addressing, among other things, funding of the items set forth in the FRB/FDIC Consent Order
(the “Board Oversight Plan”). The Board Oversight Plan identified the AFI Board and the
ResCap Board as the appropriate parties to ensure adequate funding of mortgage servicing
operations,1218 but additionally identified two AFI Board committees as being responsible,
together with ResCap, for adequate funding of risk management, audit and compliance
programs.1219 The Board Oversight Plan reflected comments by the FRB and was to be
reviewed by the Combined Consent Order Compliance Committee.1220 In addition, draft action
plans related to compliance with the FRB/FDIC Consent Order were submitted to the FRB to
incorporate feedback received prior to the submission of the final action plans by the July 13,
2011 due date.1221

    The members of the ResCap Consent Order Compliance Committee gave oral updates to
the ResCap Board covering costs associated with such compliance.1222 As the compliance


1215 See,e.g., Minutes of a Regular Meeting of the Board of Residential Capital, LLC, May 6, 2011, at
    RC00023444 [RC00023397]; Draft Minutes of a Regular Meeting of the Board of Residential Capital, LLC,
    Mar. 23, 2013, at EXAM11088883 [EXAM11088882].
1216 Minutes of a Regular Meeting of the Board of Residential Capital, LLC, May 6, 2011, at RC00023444

    [RC00023397].
1217 Action by Written Consent of the Board of Directors of Residential Capital, LLC, dated June 9, 2011, at

    RC00023465–69 [RC00023397].
1218 The Boards of Directors of Ally Financial and Residential Capital, LLC; Board Oversight Plan, dated June

    13, 2011, at RC00023481 [RC00023397] (attached to Action by Written Consent of the Board of Directors of
    Residential Capital, LLC, dated June 9, 2011, Ex. A, [RC00023397]).
1219 See id. at RC00023492.

1220 Minutes of a Regular Meeting of the Board of Residential Capital, LLC, July 1, 2011, at RC40018631

    [RC40018411].
1221 Minutes of a Regular Meeting of the Board of Directors of Residential Capital, LLC, July 1, 2011, at
    RC40018631 [RC40018411]; Consent Order Compliance Program Update, Presentation to the Board of
    Residential Capital, LLC, dated July 1, 2011, at RC40019649–53 [RC40019597].
1222 See,e.g., Minutes of a Regular Meeting of the Board of Residential Capital, LLC, Oct. 7, 2011, at
    RC40018694–95 [RC40018411] (noting that West “informed the Board that she will present to the Board on
    a regular basis a verbal report regarding the activities of the combined Ally Financial Inc., and ResCap
    Consent Order Compliance Committees” and that West reported on “program costs through 2013, and costs
    associated with the foreclosure review.”); Materials of a Special Residential Capital, LLC Board of Directors
    Meeting, Oct. 7, 2011, at RC00023278 [RC00023248] (inserted document stating that a “verbal” update to
    the Board was made by the Consent Order Compliance Committee).

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program progressed, it became clear that the original cost estimate for an independent
consultant to conduct an assessment of GMAC Mortgage’s and its subsidiaries’ risk would be
insufficient.1223 The Combined Consent Order Compliance Committee likewise included a
review of costs in its normal reporting and efforts to ensure compliance with the FRB/FDIC
Consent Order.1224 Discussions regarding the settlement with the state AGs and the DOJ




1223 Minutes of a Regular Meeting of the Board of Residential Capital, LLC, July 1, 2011, at RC40018631

   [RC40018411].
        Ms. Citron next commented on the status of the Consent Order requirement that an independent
        consultant be engaged to conduct a comprehensive assessment of the mortgage servicing companies’
        risk, and she explained that the review is to include testing as well as the assessment of risk controls.
        She added that the testing component significantly increases the scope and cost of the engagement.
1224 Minutes
           of the Ally Financial Inc./Residential Capital, LLC Combined Consent Order Compliance
   Committee Meeting, Sept. 27, 2011, at RC40019096 [RC40019071].
        Mr. Weintraub briefed the COCCs and Mr. Geer on program finances, which he said would be
        reviewed in more detail later in the meeting. Responding to a question asked by Mr. Geer,
        Mr. Weintraub said that Ally Bank expenses are included in reported Consent Order program costs.
        During the discussion that ensued, Ms. [Barbara] Yastine commented on quarterly and monthly
        reporting requirements imposed on Ally Bank under the Consent Order.
   Id. at RC40019097.
        Mr. Weintraub presented a series of charts that provided a detailed review of Consent Order
        program finances. Mr. Weintraub reviewed and discussed one time spend amounts, recurring
        expenses and approved spend amounts compared with forecasted amounts . . . Mr. Weintraub
        explained the distribution of Rust Consulting costs among the mortgage services subject to Consent
        Orders and said that [AFI’s] reimbursement to Rust Consulting is reflected in foreclosure review
        costs.
   Rust Consulting was a third party administrator retained by GMAC Mortgage to “send[] notices to eligible
   borrowers” under the FRB/FDIC Consent Order as part of the mortgage “complaint review process” in
   conjunction with the Foreclosure Review. Id., at RC40019096. See also Minutes of the Residential Capital,
   LLC Consent Order Compliance Committee Meeting, Dec. 16, 2011, at RC40019145 [RC40019109].
        Mr. Weintraub presented dashboard charts that illustrated year-to-date actual financial data as of
        Nov. 30, 2011. . . . Responding to questions asked, Mr. Weintraub said that the projected recurring
        spend of $99.9 million represents cumulative recurring costs from 2011 through 2013. He pointed
        out that the financial projections for the foreclosure review do not include associated remediation
        costs.

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became more active in September 2011,1225 and continued through December 2011,1226 as
efforts to comply with the FRB/FDIC Consent Order and its provisions continued.1227

                   (3) Major ResCap Board Actions Leading To CMP Order And DOJ/AG
                       Consent Judgment

     Despite the formal settlement with the FRB and FDIC, the total cost of the settlement and
the outcome of the DOJ’s and state AGs’ investigation remained uncertain. Additionally, the
parties had not settled on the total amount of the CMP associated with the FRB/FDIC Consent
Order.

      In a special meeting on January 10, 2012, the ResCap Board focused on the reporting of
potential losses related to the federal and state investigations, including “considerable
discussions regarding, among other topics, the timing and implications of the anticipated
issuance to mortgage loan servicers of possible fines and penalties in connection with the
mortgage foreclosure matter,”1228 and also the possibility that fines relating to these
government investigations could have a “material adverse impact on ResCap’s financial
position.”1229 In connection with an accounting analysis focused on loss contingencies, Cathy
Dondzila informed the ResCap Board that the following amounts related to the potential
settlement with the DOJ and the state AGs were “potentially achievable”:

                   (1) $75 million hard dollar amount, comprised of $25 million AFI “upfront,”
                       $25 million ResCap “upfront,” and a $25 million installment by ResCap
                       over a two-year period;
1225 See Minutes of a Special Meeting of the Board of Residential Capital, LLC, Sept. 27, 2011, at RC40018677

    [RC40018411].

           The Board and members of management and legal advisors in attendance at the meeting engaged in
           full discussion of various matters relating to the residential mortgage foreclosure issues and
           potential settlements with the Federal Housing Finance Agency and the Department of Justice;
           ResCap’s near-term projected equity position vis-à-vis tangible net worth financial covenant
           requirements; shareholder support; and contingency planning.
1226 See  ResCap Board—Business Review Presentation, dated Dec. 15, 2011, at ALLY_0309734
    [ALLY_0309689] (noting that there were still major issues outstanding with respect to the “AG Settlement,”
    including the finalization of the monetary component).
1227 See Minutes of a Special Meeting of the Board of Residential Capital, LLC, Nov. 16, 2011, at RC40018710

    [RC40018411] (“Mr. Marano commented on the Consent Order and matters pertaining to the Single Point of
    Contact and foreclosure review requirements. Hamzehpour informed the Board that the terms of the
    engagement letter with PricewaterhouseCoopers LLP for their work on the foreclosure review were being
    finalized.”).
1228 Minutes of a Special Meeting of the Board of Residential Capital, LLC, Jan. 10, 2012, at RC40019181

    [RC40019179].
1229 Id. at RC40019183.



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                  (2) $40 million contingent hard dollar amount (comprised of $10 million per
                      year, contingent upon ResCap annual revenues in excess of $1.1 billion);
                      and

                  (3) $200 million soft dollar amount (estimated at a $100 million accounting
                      loss and including $17 million in indemnification payment obligations to
                      Ally Bank).1230

     Simultaneously, Dondzila informed the ResCap Board that ResCap’s then-current ability
to pay was $50 million.1231 Ultimately, the ResCap Board determined that $150 million was an
appropriate amount to reserve against the potential assessment of a civil money penalty from
the FRB.1232 However, this decision was retracted the next day because AFI had not yet closed
its books for the year ending December 2011, and Marano planned on having additional
conversations with the FRB to clarify the potential amount of the penalty.1233

     On January 25, 2012, following a discussion led by Marano, Steven Abreu, and James
Whitlinger1234 regarding the status of the proposed DOJ/AG Settlement, the ResCap Board
granted Marano the authority “to enter into a Consent Assessment Order by and among Ally
Financial, Inc., Residential Capital, LLC, GMAC Mortgage, LLC and the Board of Governors
of the Federal Reserve System.”1235

                  (4) Discussions Regarding Ally Bank’s Responsibilities Under The Government
                      Settlements

     The FDIC and the Utah Department of Financial Institutions required Ally Bank to
explain the DOJ/AG Consent Order’s impact on its various hedging and swap agreements.1236
Internally, Ally Bank performed analyses regarding a proposed modification strategy on HFI
loans related to the potential DOJ/AG settlement and the eligible population for such

1230 Accounting   Presentation by C. Dondzila to the ResCap Board, dated Jan. 10, 2012, at RC40020151
    [RC40020121]. The estimated $17 million in indemnification payment obligations appears to represent only
    a portion of the estimated indemnification payments to Ally Bank.
1231 See id.

1232 Minutes of a Special Meeting of the Board of Residential Capital, LLC, Jan. 10, 2012, at RC40019183

    [RC40019179].
1233 Id. at RC40019185.

1234 Whitlinger was the CFO of ResCap during this period.

1235 Minutes of a Special Meeting of the Board of Residential Capital, LLC, Jan. 25, 2012, at RC40019195

    [RC40019179].
1236 Int. of L. Gerner, Nov. 13, 2012, at 203:21–207:2 (stating that John Andrews, Adam Glassner and James

    Young were the primary Ally Bank representatives who worked with the FDIC and Utah Department of
    Financial Institutions on these matters). Gerner was the CFO of Ally Bank from 2004 until October 2011.
    Glassner was also the Executive Vice President of Capital Markets at GMAC Mortgage during this period.
    Young was the Chief Financial Executive of Ally Bank during this period.

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modifications.1237 However, it is unclear whether there were any discussions about Ally Bank
contributing financially to the DOJ/AG Settlement, even though the broad release ultimately
agreed upon in the DOJ/AG Consent Judgment appears to have covered Ally Bank.1238
Internal AFI documents from this period also indicate that Ally Bank was aware that it would
be reimbursed for damages it suffered as a result of the settlement.1239 As an apparent result of
this benefit, Ally Bank elected to participate in loan modifications imposed under the DOJ/AG
Settlement.1240 However, law firm Bradley Arant Boult Cummings LLP (“Bradley Arant”)
was eventually able to negotiate a removal of Ally Bank from the DOJ/AG Settlement
documents. Ultimately, Ally Bank was not a party to the DOJ/AG Consent Judgment (though
it arguably is included in its broad releases).1241

                  (5) Representation Of ResCap And AFI In The DOJ/AG Settlement
                      Negotiations

     Bradley Arant represented both AFI and ResCap and was instrumental in negotiating the
DOJ/AG Settlement.1242 AFI also retained its own separate counsel, hiring the law firm of
Sullivan & Cromwell LLP to represent its interests in these negotiations.1243 ResCap, by contrast,
did not retain separate counsel and made no particular effort to segregate ResCap’s interests from
AFI’s during settlement negotiations.1244 Marano and Joseph Pensabene, together with Robert
1237 E-mail from X. Portillo (July 25, 2011) [EXAM11088091]; AG Settlement Items and Delegation Authority

    Exceptions: Discussion Materials, dated July 25, 2011 [EXAM11088092] (attached to E-mail from X.
    Portillo (July 25, 2011) [EXAM11088091]) (presentation covering, among other things, an estimated total
    $25.4 million loss related to the economic effect of a proposed first lien modification process on Ally Bank’s
    HFI loans).
1238 Int. of L. Gerner, Nov. 13, 2012, at 207:21–208:11.

1239 Ally Bank Affordability Preservation Program: Program Summary Presentation, dated Sept. 21, 2011, at 2–3

    [ALLY_0033594] (noting that GMAC Mortgage’s proposed program related to the DOJ/AG Settlement
    would “reimburse the Bank for the gross principal forgiveness” and that a benefit to Ally Bank of the DOJ/
    AG Settlement would therefore be a “free option to improve portfolio” because “[GMAC Mortgage]
    reimburses Bank for all principal forgiveness activities”).
1240 See E-mail from M. Rosen to T. Marano et al. (Sept. 21, 2011) [ALLY_0206899].

1241 See Int. of T. Marano, Feb. 27, 2013, at 57:19–58:10.

1242 See Int. of T. Hamzehpour, Oct. 5, 2012, at 98:8–100:18 (“[Bradley Arant Boult Cummings] were keeping

    everybody informed of the direction things were going and as with the consent order work it was I think a
    group conversation about the direction things were taking, where we should be trying to push back and not,
    etcetera.”); Second Supplemental Declaration of Robert R. Maddox in Support of Debtors’ Application for
    Authorization (I) to Employ and Retain Bradley Arant Boult Cummings LLP as Special Litigation and
    Compliance Counsel to the Debtors, Nunc Pro Tunc to May 14, 2012, and (II) to Approve Alternative Billing
    Arrangement [Docket No. 1008] at 3–4. Hamzehpour was General Counsel and Assistant Secretary of
    ResCap during this period.
1243 See Int. of T. Hamzehpour, Oct. 5, 2012, at 99:13–100:2.

1244 See id. at 99:13–17; Int. of T. Marano, Nov. 26, 2012, at 279:13–24 (noting that Marano represented both

    AFI and ResCap’s interests in the negotiations and that AFI was a “tagalong” beneficiary of the settlement
    because the federal entities “consistently looked at Ally as . . . having some exposure as well because they
    were the parent.”).

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Maddox of Bradley Arant, were the primary negotiators on behalf of ResCap with respect to the
DOJ/AG Settlement.1245 Marano believed that despite representing both AFI and ResCap,
Bradley Arant fought “very, very hard” for ResCap and was able to help ResCap (and AFI)
achieve a comparably low fine.1246

                   (6) Cerberus Influence Over AFI During                         Final     Negotiations       And
                       Implementation Of Government Settlements

     In February 2012, AFI hired Lenard Tessler to help with AFI’s turnaround efforts,
particularly in connection with the restructuring of ResCap, so that an AFI IPO could move
forward.1247 In this role, Tessler had access to confidential information regarding acquisition
and financing proposals for ResCap.1248 While advising AFI, Tessler maintained his position
as managing director and co-head of private equity at Cerberus, and Cerberus continued to
consider bidding on ResCap assets.1249 Tessler also served on AFI’s behalf as a negotiator of
the AFI Settlement and Plan Sponsor Agreement.1250

     Tessler obtained permission from the FRB to serve in an advisory capacity to AFI,
notwithstanding the requirement that “any existing business relationships and transactions
between AFI and Cerberus . . . be limited to their existing scope and terms, and no new
business relationships, including any advisory agreements, with [AFI] . . . be permitted.”1251




1245 See Int. of J. Pensabene, Jan. 9, 2013, at 183:14–19.

1246 Int. of T. Marano, Feb. 27, 2013, at 56:11–57:12.

1247 See E-mail from G. Kosinski to L. Tessler (Feb. 24, 2012) [CCM00121169] (e-mailing Bloomberg article

    regarding Tessler’s hiring). In addition to his advisory role at AFI, Tessler was, and continues to be, a Senior
    Managing Director and Co-Head of Global Private Equity at Cerberus.
1248 See E-mail from L. Tessler (Feb. 26, 2012) [EXAM00075603].

1249 See E-mail from L. Tessler to J. Ilany (Apr. 28, 2012) [ALLY_0158581]. Ilany was an independent director

    of the ResCap Board and a member of the ResCap Audit Committee during this period.
1250 See Int. of L. Tessler, Feb. 28, 2013, at 195:3–16.

1251 Id. at 189:7–18.



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              f. Allocation Methods Discussed

      As previously noted, the FRB/FDIC Consent Order, CMP Order, and DOJ/AG Consent
Judgment did not allocate the costs of such settlements among the AFI and ResCap
entities.1252 This left AFI and ResCap to determine the appropriate allocation of these costs
themselves, with the understanding that many of the costs of the settlements were
interrelated.1253 The process of determining this allocation occurred over the course of several
months1254 and required constant revision as the settlement discussions with the government
progressed and the details of the ultimate costs associated with the settlements were
finalized.1255 Three primary methods for allocating the joint and several costs of the
government settlements among the members of the AFI corporate group appear to have been
discussed by ResCap and AFI.

                   (1) 0% Allocation To AFI Based On Nature Of Penalty

     Several members of AFI’s and ResCap’s Boards believed that AFI should not be
responsible for any amount of the costs associated with the government settlements.1256
However, outside of a few emails among various AFI and ResCap employees, there is scarce




1252 Int. of D. DeBrunner, Apr. 18, 2013, at 35:18–36:5 (noting that the FRB/FDIC Consent Order and the CMP

    Order did not contain allocations and in fact dictated joint and several liability among AFI, ResCap, and
    GMAC Mortgage and certain of its subsidiaries); Int. of P. West, Jan. 11, 2013, at 56:12–16 (“[Q:] Was there
    discussion of the fairness to ResCap of the allocation within the consent order? [A:] I do not recall that
    discussion.”); id. at 59:20–25 (“[Q:] So to your knowledge, was there any negotiation between ResCap and
    Ally as to the allocation of the financial impact or burden of those government settlements? [A:] Not to my
    knowledge.”); Int. of J. Pensabene, Jan. 9, 2013, at 189:13–19 (noting that, with respect to the DOJ/AG
    Settlement, there was never any discussion by the government about allocation among the Ally or ResCap
    entities but that the “discussion with the government about the amount was just whether or not Ally would be
    a party to the settlement.”). Arguably, the DOJ/AG Consent Judgment did impose an allocation method by
    expressly requiring ResCap, GMAC Mortgage, and RFC to make all hard payments and incur all of the soft
    costs. DOJ/AG Consent Judgment, Ex. I [RC00027463].
1253 See Int. of D. DeBrunner, Apr. 18, 2013, at 9:24–10:14.

1254 See id. at 38:3–16.

1255 See id. at 38:8–39:12.

1256 See, e.g., Int. of P. West, Jan. 11, 2013, at 55:21–56:5 (“Well, first of all, you don’t evaluate the fairness of

    what your regulator is telling you have to do. I mean, that’s just kind of the way the banking business works.
    And it was a mortgage issue. And so we looked at it as a ResCap obligation, but it was a mortgage
    obligation.”); id. at 62:21–63:8 (noting that the FRB/FDIC Consent Order involved a “servicing issue,” that
    “Rescap’s taken responsibility” for such issue and that West never came to think that AFI should bear some
    of the burden of the government settlements); Int. of M. Carpenter, Mar. 4, 2013, at 219:10–220:12.

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documentary evidence of formal presentations outlining this option.1257 Further, there appears
to have been a general view among both AFI and ResCap employees that AFI would
ultimately bear the burden for some portion of the costs,1258 and so this possible allocation was
apparently not extensively considered.

                     (2) 27% Allocation To AFI Based On 15 Possible Actionable Issues

      At some point, the DOJ indicated that the fines to be levied against the various mortgage
servicers and bank holding companies would be based on a market share fine, which would
then be adjusted based on the performance of each company as a servicer.1259 AFI internally
debated whether, and to what extent, AFI should share responsibility for the fines levied under
any settlement with ResCap or Ally Bank and what impact ResCap’s lack of financial stability
would have on that decision, while acknowledging that there was “some logic/benefit in
splitting the fine.”1260 Michael Carpenter took the position that ResCap was the responsible




1257 See, e.g., DOJ/AG Settlement—Allocation Scenarios, dated Feb. 13, 2012 [EXAM10999353] (attached to

    E-mail from Heather McKay (Feb. 13, 2012) [EXAM10999352]). McKay was the Senior Director of
    Finance at AFI during this period.
1258 See, e.g., Int. of S. Abreu, Jan. 22, 2013, at 366:2–3; E-mail from J. Whitlinger to T. Marano and
    T. Hamzehpour (Jan. 2, 2012) [ALLY_0171726] (noting that “D&T has expressed a view that the DOJ/
    [FRB] Fines should be borne by the servicer entirely (i.e. ResCap)[],” but that “[w]e have previously
    discussed that some portion of the $268 M would be expensed at [AFI].”); E-mail from J. Brown (Jan. 25,
    2012) [ALLY_0171733] (showing an early belief that AFI would bear a portion of the financial burden, as
    evidenced by Brown stating “plan to book an entry over next 24/48 hrs. Basis will be [FRB] CMP or $268m.
    11/15 goes to RC or abt $196m. Rest to ally.”); Memorandum, Accrual for DOJ Settlement at December 31,
    2011, dated Feb. 28, 2012, at 8 [EXAM00220938] (“[W]e [AFI] believe that a portion of the DOJ/AG
    Settlement liability should be allocated to AFI.”). Brown was the Senior Executive Vice President of Finance
    and Corporate Planning of AFI during this period.
1259 See Int. of T. Marano, Nov. 26, 2012, at 275:11–19.

1260 See E-mail from M. Carpenter (Nov. 3, 2011) [ALLY_0228577].


            If we settled with DoJ at 300 or so and the plan was to modify some mortgages at the bank for
            credit and others at Rescap. And we know that Rescap net worth will go below minimums and
            require a capital infusion. And do we know if Rescap has the liquidity without drawing the [AFI]
            line. What I am getting at is there some logic/benefit in splitting the fine between Recap and AFI of
            Ally Bank and, correspondingly, where we get credit for mods etc.

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party for the settlement, or at least for the “servicer fine,” and expressed concern regarding
undermining that or other legal arguments if AFI were to “[take] part of the settlement.”1261

     Eventually, oral discussions with the FRB and FDIC revealed that the federal
government’s method for computing the penalty apparently was based on three factors:
(1) severity of the issues; (2) number of actionable issues—15; and (3) period of time during
which such issues occurred—two years. Based on these variables, the ResCap Board
estimated that the total penalty could be $268 million.1262 Of this amount, Dondzila estimated
that $196.5 million (based on 11 of the 15 issues) should be allocated to ResCap; the
remaining $71.5 million (based on the remaining four of the 15 issues) should be allocated to
AFI.1263 Based on these allocations, ResCap would be responsible for approximately 73% of
the monetary fine and AFI would be responsible for the remaining 27%.1264

     During this stage of the negotiations in early January 2012, there continued to be tension
between the apparent acceptance that AFI would be held jointly and severally responsible for
the settlement (and possibly assume some of the burden of the settlement) on the one hand,




1261 E-mail from M. Carpenter (Nov. 4, 2011) [ALLY_0228577] (“[I]f we take part of it at [AFI] do we
    undermine the argument that Rescap is the responsible party or even weaken our legal case—what should
    AFI receive from Rescap in exchange for taking part of the settlement?”); E-mail from M. Carpenter (Dec.
    16, 2011) [ALLY_PEO_0080176] (“Seems to me servicer fine should go to Rescap and rest to BHC for
    supervision lapses.”); E-mails between M. Carpenter and L. Tessler (Dec. 27, 2011) [ALLY_0142356].
         Tessler: Is Ally accepting financial responsibility for all of these settlements and if so how does that
         integrate in to the BK discussions? . . .
         Carpenter: No but DOJ making noise about [AFI] guaranteeing the cash portion for obvious
         reasons!
         Tessler: . . . I am concerned about timing sequence in getting this right given the push for resolution
         with [AFI] before the Rescap Board is prepared to negotiate other matters. I think we need to start
         thinking about this because I believe it is a high probability that the UST is going to insist that
         [AFI] honor all governmental obligations.
         Carpenter: Timing is not going to be perfect. We will have to decide on DOJ and figure out how it
         gets split between the three entities including soft dollars. Any settlement may be a preference item
         anyway. Not much we can do until we know what the deal is.
1262 See Accounting Presentation by C. Dondzila to the ResCap Board, dated Jan. 10, 2012, at RC40020151

    [RC40020121].
1263 See id. at RC40020152.

1264 E-mail from R. Zachary to M. Carpenter (Jan. 25, 2012) [EXAM00077270] (stating that “[i]t is expected that

    [AFI] and ResCap will share the $268 million [FRB] CMP 4/15 ($71.5 million) and 11/15ths ($196.5
    million) respectively,” and noting that it was discussed that each of AFI and ResCap would contribute 50%
    to the full “hard dollars” fine). Zachary was a member of the AFI Capital Markets Team during this period.

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and AFI’s efforts to exclude itself from the settlement on the other.1265 As negotiations
progressed, beginning in late January 2012, it was expressly contemplated by members of
AFI’s and ResCap’s management that AFI would be responsible for a hard dollar payment of
at least $50 million.1266 When Carpenter questioned this allocation of hard dollar payments to
AFI and indicated it was unacceptable,1267 he was informed that Deloitte (which was then the
auditor for both AFI and ResCap1268) “remained very firm in their position on the economic
splits between [ResCap] and [AFI].”1269




1265 Compare E-mail from J. Whitlinger to T. Marano and T. Hamzehpour (Jan. 2, 2012) [ALLY_0171726]

    (noting that “D&T has expressed a view that the DOJ/[FRB] Fines should be borne by the servicer entirely
    [(i.e. ResCap)],” but that “[w]e have previously discussed that some portion of the $268 M would be
    expensed at [AFI].”), with E-mail from M. Carpenter (Jan. 13, 2012) [RC40053347] (responding in the
    affirmative to the question posed by Solomon of whether the companies should “try to exclude [AFI] from
    the Order (and leave only the mortgage entities as parties),” responding in the negative to the question posed
    by Solomon of whether, “[i]f [AFI] remains a part of the Order, should it be jointly and severally liable with
    ResCap for the full amount of the fine” (emphasis added), and responding in the affirmative to the question
    posed by Solomon of whether Ally Bank should be removed entirely from the draft settlement order).
1266 See E-mail from C. Dondzila to D. DeBrunner (Jan. 23, 2012), at ALLY_0359579 [ALLY_0359578].

1267 See E-mails between M. Carpenter and James Mackey (Jan. 23–24, 2012) [ALLY_0359578]. Mackey was

    the CFO of AFI during this period.
1268 See Int. of D. DeBrunner, Apr. 18, 2013, at 92:7–9.

1269 E-mail from J. Mackey to M. Carpenter (Jan. 24, 2012) [ALLY_0359578]. In early January 2012, Deloitte

    expressed the view that the costs of the settlements should primarily be allocated to ResCap. Meeting with
    Deloitte and Touche, LLP, Independent Financial Statement Auditor of the Debtors, via conference call
    (Apr. 18, 2012). No documentation has been identified either confirming or refuting that this is the position
    to which Mackey was referring.

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                  (3) 8% Allocation To AFI Based On FRB Press Release

      On February 9, 2012, the FRB issued a press release announcing that it had reached an
agreement in principal with Bank of America Corporation, Citigroup Inc., JPMorgan Chase &
Co., Wells Fargo & Company and AFI.1270 In the press release, the FRB identified each
institution, the total penalty assessed against each, and the allocation of the total penalty amount
between penalties attributable to servicers and penalties attributable to bank holding companies,
as follows:1271




      This announcement came as a surprise to the persons within ResCap familiar with the
negotiations to date.1272 As an initial matter, ResCap was pleased with the amount of the fine,
given that it internally believed the fine could have been as high as $2 billion.1273 The FRB press
release also introduced a new possible allocation methodology by attributing 92% of the FRB
settlement amount (or $190 million of the total $207 million penalty) to a “servicer penalty,” and
only 8% (or $17 million of the total $207 million penalty) to a “bank holding company penalty.”
There appears to have been a general acceptance that the “servicer penalty” was tied to GMAC


1270 SeeFRB, Press Release (Feb. 9, 2012), http://www.federalreserve.gov/newsevents/press/enforcement/
    20120209a.htm.
1271 Id. Notably, unlike JPMorgan Chase and others, AFI and ResCap were not subject to a fine from the OCC. See

    E-mail from J. Mackey (Feb. 9, 2012) [EXAM00076554] (“Don’t we also have to point out that others got OCC
    and Fed fines. Ours was just Fed.”); Final Regulatory Settlement Numbers—2/9/2012, dated Feb. 9, 2012
    [ALLY_PEO_0034437] (attached to E-mail from T. Marano to C. Carpenter (Feb. 9, 2012)
    [ALLY_PEO_0034436] (containing the subject line “cleaner number we never want to leak”)) (showing the
    breakdown of the final penalty figures (hard and soft costs) imposed by the DOJ/AG, FRB, and OCC on the five
    bank mortgage servicers).
1272 See Int. of J. Pensabene, Jan. 9, 2013, at 209:17–212:20; Int. of S. Abreu, Jan. 22, 2013, at 368:4–368:8.

1273 See Int. of T. Marano, Nov. 26, 2012, at 273:21–24 (“I got the best deal of anybody here and we should’ve had

    about a $2 billion fine and we got a fine of about $300 million.”); id. at 273:25–274:13 (noting that (a) the fine
    could have been as high as $2 billion because it was based on market share as a servicer and the actions and
    conduct of the companies as servicers and (b) that ResCap and AFI were able to reduce their possible fine by
    modifying their loan portfolio); Int. of W. Solomon, Mar. 19, 2013, at 175:11–177:1 (noting that AFI and
    ResCap did “far better than the other four financial institutions” largely based on their efforts to address
    problems with their mortgage servicing prior to the government becoming involved in investigation such
    activities).

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Mortgage, that the “BHC penalty” was tied to AFI,1274 and that this press release represented
the FRB’s guidance regarding the allocation of the settlement.1275

     Following the publication of the press release, AFI and ResCap perceived that there were
now three possible structures for determining how to allocate settlement costs.1276 First,
ResCap could bear the entirety of the costs because “the penalties were very much geared
toward the presumptive behavior and misdoings, to the extent those were ultimately
confirmed, of the servicer.”1277 Second, the costs could be allocated based on the initial
communications from the FRB that identified 15 possible wrongful categories of acts (i.e., the
73%/27% allocation). Finally, ResCap and AFI could use the allocation set forth in the press
release, based on the assumption that ResCap would be responsible for the entirety of the
servicer penalty (i.e., the 92%/8% allocation).1278

     In addition to these general allocations, as late as February 15, 2012, AFI also considered
whether the allocation should take into account the fair value of the release provided to AFI
under the terms of the DOJ/AG Consent Judgment.1279 The fair value assigned to this release
in internal AFI communications was $25 million, though it is unclear how that figure was
determined.1280 However, AFI ultimately decided that there was no “good mechanism” to
come up with an appropriate fair value of the release, which played a role in the ultimate
decision to apply the allocation contained in the February 9, 2012 press release.1281


1274 See, e.g., Int. of D. DeBrunner, Apr. 18, 2013, at 29:20–31:6; Int. of C. Dondzila, Nov. 9, 2012, at 195:25–

    197:3.
1275 See, e.g., Int. of D. DeBrunner, Apr. 18, 2013, at 40:3–6 (noting that the final agreement did not reference

    any of the earlier allocations and that the press release was “the final record” with respect to the proper
    allocation); id. at 57:17–24 (noting that the press release “was the best evidence that we had,” that Deloitte
    agreed with that conclusion and that AFI believed that it was relying on the FRB’s assessment of the liability
    when it determined that the 8% allocation was appropriate); Int. of C. Dondzila, Nov. 9, 2012, at 198:1–8.
1276 Int. of C. Dondzila, Nov. 9, 2012, at 198:1–8 (“So, those were sort of the three that we triangulated around:

    everything to ResCap; a split that was based on the original civil monetary penalty letter, which had a
    reference to—I think it was 15, maybe, findings; or this press release. And, because the press release was
    final and was public, the conclusion was to go with that.”).
1277 Id. at 197:11–197:16.

1278 See E-mail from H. McKay (Feb. 9, 2012), at EXAM12400363 [EXAM12400360] (“To us, these revised

    facts really point to the fact that there continue to be multiple paths that may be taken from an allocation
    perspective (100% to [GMAC Mortgage] as servicer, allocation of $17 mm to AFI, etc.).”).
1279 DOJ/AG Settlement—Allocation Scenarios, dated Feb. 13, 2012 [EXAM10999353] (attached to E-mail from

    H. McKay (Feb. 13, 2012) [EXAM10999352]).
1280 Id. (describing “Allocation Scenario #3” as “$25 million to [AFI] (based on FV of DOJ/AG Release); E-mail

    from M. Anspach (Jan. 8, 2012), at ALLY_PEO_0082426 [ALLY_PEO_0082426] (“Secondly, we told
    Deloitte we felt that the $25 million is a reasonable approximation of the fair value of what AFI will be
    receiving by being released under the DOJ/AG settlement.”); Int. of D. DeBrunner, Apr. 18, 2013, at 77:17–
    24, 81:20–82:8.
1281 Int. of D. DeBrunner, Apr. 18, 2013, at 77:17–24, 81:20–82:8.



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                 (4) Decision To Apply 8% Allocation To AFI

      Following the filing of the CMP Order and the initial agreement with respect to the DOJ/
AG Consent Judgment (which was ultimately filed on April 4, 2012), a small group of AFI
and ResCap accounting employees appeared to assume responsibility for determining how the
settlement costs should be allocated,1282 in consultation with Deloitte.1283 The Investigation
has not uncovered any evidence that either the AFI Board or the ResCap Board themselves
were involved in determining how the settlement costs should be allocated.1284 Witness
testimony does indicate that AFI senior management reviewed the final allocation conclusions
and that the AFI Board approved the allocation as part of the larger approval process
associated with AFI’s public filings.1285 There are some contemporary emails that indicate that
Whitlinger, ResCap’s CFO at the time, was kept informed regarding the allocation
discussions.1286 However, it is not clear whether ResCap’s Board was aware of the ultimate
8% allocation. Further, the Investigation has uncovered some confusion among ResCap
personnel regarding: (1) whether the CMP Order or DOJ/AG Consent Judgment dictated an




1282 See Int. of T. Marano, Feb. 27, 2013, at 21:4–21:17 (noting that the decision on what allocation would apply

    “may have been determined by the accounting people.”); id. at 49:11–23 (stating that whether or not the costs
    should be allocated to “one or the other, I think was the decision of the accountants.”).
1283 See E-mail from T. Robinson (Feb. 10, 2012), at EXAM12400362 [EXAM12400360] (“The original 11/15-

    4/15 [FRB] allocation provided a starting point for allocating the amounts. The updated [FRB] Fine/
    Announcement seems to refine that starting point.”). Robinson, a representative from Deloitte, worked on
    behalf of ResCap and AFI during these discussions. See also Int. of J. Whitlinger, Feb. 27, 2013, at 154:15–
    163:25 (noting, among other things, that he (Whitlinger) believed there was a difference between the legal
    allocation of responsibility and treatment for accounting purposes and that Deloitte was involved in
    discussing the accounting treatment).
1284 Int. of T. Marano, Feb. 27, 2013, at 51:17–23 (“I am not aware that [the ResCap Board] specifically approved

    the allocation.”). Marano expressed the view that by authorizing ResCap’s entry into the CMP Order and the
    DOJ/AG Consent Order the ResCap Board had implicitly approved any allocation contained in those
    documents. See Int. of T. Marano, Feb. 27, 2013, at 51:17–23.
1285 Int.of D. DeBrunner, Apr. 18, 2013, at 33:7–33:24 (“[W]e reviewed the conclusions with the senior
    management of [AFI] . . . . And it also got reviewed up through at the board level as part of our quarterly
    financial filings, where we discussed accounting conclusions and disclosures.”); see id. at 94:7–96:1.
1286 See, e.g., E-mail from C. Dondzila to J. Whitlinger (Feb. 17, 2012) [EXAM10345198] (noting that AFI was

    recommending an 8% allocation consistent with the FRB press release); E-mail from M. Anspach to J.
    Whitlinger (Feb. 17, 2012), at EXAM10345151 [EXAM10345150] (requesting a call to discuss the DOJ/AG
    Settlement expense allocation); E-mail from M. Anspach to J. Whitlinger (Feb. 15, 2012) [EXAM10999352]
    (forwarding the slide titled DOJ/AG Settlement—Allocation Scenarios, dated Feb. 13, 2012
    [EXAM10999353], originally attached to E-mail from H. McKay (Feb. 13, 2012) [EXAM10999352])).

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allocation;1287 (2) who, exactly, was involved in determining how the settlement costs should
be allocated;1288 and (3) how the settlement was ultimately allocated.1289

     Despite the fact that the CMP Order did not contain an allocation, did not specify which
legal entity should be allocated what percentage of the penalty,1290 and was apparently not
accompanied by any explanation as to the division of the fine,1291 there appears to have been a




1287 According to Marano, the allocation between AFI and ResCap was an “[FRB] concept,” whereby “the [FRB]

   said that Ally bore . . . about 25 percent of the responsibility for failure to supervise and provide adequate
   resources. And ResCap bore 75 percent of the fine because they were . . . the operator of the servicing
   business.” Int. of T. Marano, Nov. 26, 2012, at 275:22–276:4. The Chairperson of the ResCap Consent Order
   Compliance Committee also appeared to be under the impression that the FRB/FDIC Consent Order imposed
   a determination regarding which entity should be responsible for the costs of the settlement and imposed
   such determination on AFI and ResCap. See Int. of P. West, Jan. 11, 2013, at 55:9–11 (“I recollect that the
   bank was required to sign [the FRB/FDIC Consent Order]”); id. at 55:21–56:5 (“And I believe it was the
   regulator that asked Ally to sign it as well.”).
1288 According to Tammy Hamzehpour, the General Counsel and Assistance Secretary of ResCap during this

   time, discussions regarding allocating the settlement burden among the various AFI entities were largely
   between Dondzila, Marano, and Carpenter, though Whitlinger and the financing department were also
   involved. See Int. of T. Hamzehpour, Oct. 5, 2012, at 254:9–256:17. Abreu, ResCap’s President at the time,
   also believed that Marano and Whitlinger were involved, but also thought Pensabene had a role in these
   discussions. See Int. of S. Abreu, Jan. 22, 2013, at 364:22–365:13. In contrast, Pensabene, ResCap’s Chief
   Servicing Officer at the time, was under the impression that these discussions occurred between Marano,
   Solomon, Hamzehpour, and Carpenter. See Int. of J. Pensabene, Jan. 9, 2013, at 180:20–181:13. However,
   Marano disclaimed involvement in determining the appropriate allocations, noting that it was more of “an
   accounting concept” and that Whitlinger or Dondzila would have been involved in those determinations. Int.
   of T. Marano, Feb. 27, 2013, at 44:21–45:3.
1289 See Int. of M. Carpenter, Mar. 4, 2013, at 219:10–220:12 (noting that the FRB “imputed a percentage” for

   AFI’s failure to supervise, which Carpenter believed was 15%, and that “whatever that allocation was what
   we used as the basis to do the accounting”); Int. of T. Marano, Feb. 27, 2013, at 19:16–21:2 (noting that he
   (Marano) was fairly certain that the allocation was imposed by the FRB and that the allocation was a 75/25
   split); Int. of J. Whitlinger, Feb. 27, 2013, at 150:18–22 (noting that he (Whitlinger) was not aware of an
   allocation embedded in the actual settlement agreements).
1290 An e-mail dated February 9, 2012 from McKay of AFI to Robinson at Deloitte states that there was a
   separate press release “by the [FRB]” that included “an allocation of $190 mm to [GMAC Mortgage] and
   $17 million to [AFI].” E-mail from H. McKay (Feb. 9, 2012), at EXAM12400363 [EXAM12400360].
   However, despite diligent efforts on behalf of the Examiner’s Professionals, this second press release with an
   allocation divided according to legal entity has not been located nor produced.
1291 See E-mail from H. McKay (Feb. 9, 2012), at EXAM12400363 [EXAM12400360] (noting that Weintraub

   indicated that “there is no science behind this number (e.g. no specific # of issues cited for [GMAC
   Mortgage]/AFI.”). DeBrunner noted that the fact that the press release did not tie specific actionable issues to
   the dollar amounts would not necessarily be relevant for purposes of performing the accounting allocation.
   See Int. of D. DeBrunner, Apr. 18, 2013, at 63:6–67:11.

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general assumption of the idea, by both AFI and ResCap, that the federal government, through
the press release, had dictated the allocation methodology to be applied.1292

      Ultimately, after consultation with AFI and Deloitte, it appears that sometime in mid-
February, AFI’s and ResCap’s accounting departments1293 made the determination that the
92%/8% allocation contained in the February 9 press release should govern.1294
Contemporaneous e-mails indicate that this logic was not something that ResCap wanted to
highlight. In fact, Dondzila advised the AFI employees preparing ResCap’s public filings that
David DeBrunner, AFI’s Chief Accounting Officer and Corporate Controller, should be
consulted to “ensure any public statements about how this was allocated are consistent” and
that the “answer, not for public disclosure” on how the allocation was determined was “that
we allocated 8% to [AFI] and 92% to ResCap consistent with the public allocation of the
[FRB] fine ($17 million—8%—to [AFI] and $190 million—92%—to ResCap).”1295 As
previously noted, it is not clear if ResCap’s Board was presented with explicit information
regarding this allocation.1296

                  (5) Application Of 8% Allocation To DOJ/AG Settlement

     Despite the fact that the FRB press release was issued only in relation to the CMP, and
that the FRB/FDIC Settlement and the DOJ/AG Settlement were perceived, at least by



1292 See Int. of S. Abreu, Jan. 22, 2013, at 368:22–369:11 (noting that once the February 9 press release was filed

    it was generally accepted that the FRB had made a ruling and that “you abide by it and you kind of step in
    line and do what they ask.”); Int. of M. Carpenter, Mar. 4, 2013, at 219:10–220:12; Int. of D. DeBrunner,
    Apr. 18, 2013, at 26:22–27:6 (noting that AFI and ResCap both agreed that 8% should be allocated to AFI
    and that this allocation was approved by Deloitte and that “when you look at the [press release] that came out
    from the [FRB], it was pretty clear.”); id. at 70:9–12 (noting that when the press release was issued it made
    the other allocation methods previously discussed no longer appropriate considerations).
1293 See Int. of T. Marano, Feb. 27, 2013, at 44:21–45:15 (noting that “the allocations . . . were more an
    accounting concept” and that such allocations were “largely . . . a topic of discussion with Deloitte and the
    accounting and finance people”); Int. of D. DeBrunner, Apr. 18, 2013, at 91:17–23 (noting that the decision
    to use the 8% allocation was made “sometime in that middle of February [2012]”).
1294 Int. of C. Dondzila, Nov. 9, 2012, at 196:15–197:3, 198:1–8 (“[B]ecause the press release was final and

    public, the conclusion was to go with that.”); Int. of D. DeBrunner, Apr. 18, 2013, at 32:9–33:16.
1295 E-mail from C. Dondzila (Feb. 27, 2012) [EXAM11893483].

1296 DeBrunner indicated in his interview that though he was not aware of whether Dondzila presented this

    information to the ResCap Board but that he would assume that she did. See Int. of D. DeBrunner, Apr. 18,
    2013, at 25:5–10. On March 21, 2012, the ResCap Audit Committee approved ResCap’s consolidated
    financial statements for the year ended December 31, 2011, which included adjustments for the portion of the
    fine that ResCap was allocated as determined by the ResCap and AFI accounting teams. See Minutes of a
    Meeting of the Residential Capital, LLC Audit Committee, Mar. 21, 2012, at RC40019172–73
    [RC40019158]. However, there is no evidence that the 92%/8% split was expressly discussed or focused
    upon during this or prior meetings of the ResCap Audit Committee. Further, Ilany and Mack, the independent
    members of the ResCap Audit Committee, abstained from this vote. See id.

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Marano, as involving separate criteria,1297 ResCap and AFI decided that the same allocation
percentages should also be used to allocate the costs of the DOJ/AG Settlement between
them.1298 Arguably, Exhibit I of the DOJ/AG Consent Judgment could have dictated a
different result, given that it expressly provided that ResCap, GMAC Mortgage, and RFC
were responsible for: (1) making the $109.6 million hard dollar payment; and (2) the $200
million soft costs.1299 In short, AFI and ResCap allowed the FRB press release to dictate how
all costs associated with the government settlements were allocated between them,1300
apparently without considering or making any effort to allocate costs based the allegations
being settled in the DOJ/AG Settlement, or considering whether to assign some responsibility
to Ally Bank,1301 or considering any other basis of allocation.1302




1297 Int. of T. Marano, Feb. 27, 2013, at 23:1–24:12 (noting that the FRB used different criteria than the DOJ in

    evaluating the settlements and that the FRB criteria involved a separate examination resulting in the
    identification of 15 statutory violations, 11 of which were attributable to ResCap and 4 of which were
    attributable to AFI).
1298 Int.of C. Dondzila, Nov. 9, 2012, at 196:15–197:3 ([A]fter consultation with our parent and with our
    auditors, the decision was made that that was the only—that that was the appropriate way to allocate the
    obligation, because, again, under both of these—under the [FRB] civil money penalty and under the DOJ
    settlement, both ResCap, GMAC Mortgage and Ally Financial were parties to those agreements. And so the
    decision was to use the only publicly communicated attribution of responsibility, which was the [FRB] press
    release, and to split what we ultimately recorded consistent with those percentages that they had disclosed.);
    Int. of D. DeBrunner, Apr. 18, 2013, at 32:9–33:6 (explaining that the decision to allocate the DOJ/AG
    Settlement based on the numbers provided in the February 9, 2012 press release issued by the FRB was made
    “because . . . the [FRB/FDIC Settlement] was satisfied by the [DOJ/AG Settlement] . . . such that if you met
    the requirements of the [DOJ/AG Settlement], then that satisfied the [FRB/FDIC Settlement]. So, we went
    through and we researched that from an accounting perspective, we had significant discussion with Deloitte,
    including consultation with their national professional standards office, and concluded that that was the right
    way to allocate.”); id. at 23:2–23:12 (noting that AFI and ResCap made their conclusions regarding the
    proper accounting and that Deloitte also agreed).
1299 See DOJ/AG Consent Judgment, Ex. I [RC00027463].

1300 See Int. of C. Dondzila, Nov. 9, 2012, at 195:25–198:8.

1301 See id. at 202:16–203:4 (noting that Dondzila was not aware of any discussions regarding whether Ally Bank

    should be a party to any of the settlement agreements and that as a result Ally Bank was not allocated any of
    the liabilities of the settlement agreements).
1302 See id. at 199:18–24.



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     An internal AFI memorandum dated February 28, 2012, discussed the decision to employ
the 92%/8% allocation and the resulting accounting treatment. This memorandum notably
states:
              Legal Entity Allocation
              AFI and ResCap are both liable under the DOJ/AG Settlement
              and the CMP Order. . . . Both the CMP Order and the DOJ/AG
              Settlement indicate that AFI and ResCap are jointly and
              severally liable for the settlements. The settlement stems from
              perceived wrong-doing by the servicer as it relates to foreclosure
              process. As primary servicer among the named parties, ResCap
              (through its subsidiary [GMAC Mortgage]) has the primary
              obligation for servicing. However, as the parent company of
              ResCap, AFI is partially liable given they are responsible for
              providing oversight to ResCap. Therefore, we believe a portion
              of the DOJ/AG Settlement liability should be allocated to AFI.
              While [GMAC Mortgage] (as Servicer) contributed to “reckless
              unsafe or unsound practices” pursuant to servicing activities it
              was also acknowledged that AFI failed to provide sufficient
              oversight over such practices.
              While neither the DOJ/AG Settlement nor the CMP Order
              specifically allocate a portion of the fine to AFI, such an
              allocation was inferred in a press release issued by the [FRB]
              dated February 9, 2012 which allocates $190 million (of the
              total $207 million fine) to [GMAC Mortgage] as Servicer, and
              $17 million to AFI, as the associated Bank Holding Company. . .
              . Using these allocation amounts, this would indicate that an
              allocation of 8% of the expense to AFI and 92% of the expense
              to ResCap would be appropriate. Therefore, the following
              allocation will be recorded for each legal entity (rounded, in
              millions):

              AFI            $ 18.5 million
              ResCap          211.5 million
              Consolidated   $230.0 million

              On January 30, 2012, ResCap and AFI entered into [the
              January 30 Letter Agreement] which, among other things,
              obligated ResCap to agree to pay to the applicable governmental
              authorities any and all cash payments with respect to Hard
              Dollar Penalties owed to such governmental authorities under
              the DOJ/AG Settlement. Therefore, ResCap will be required to
              make cash payments for amounts which have otherwise been
              recorded at AFI. Any amounts paid by ResCap (yet incurred by

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                  AFI) could be considered a deemed dividend from ResCap to
                  AFI, to the extent that AFI does not otherwise reimburse
                  ResCap for such amounts paid, as it would represent an amount
                  paid by a subsidiary on behalf of a parent company.1303

     Notably, there appears to have been some confusion between AFI and ResCap regarding
the extent of this agreed-upon 8% allocation. There was an apparent belief on ResCap’s part
that AFI had agreed to pay 8% of the total costs of the settlement, including any costs that
were incurred beyond the $230 million estimated amount.1304 However, AFI apparently
believed that this agreement was related to the “amount that was accrued” and not to any
additional costs, such as the higher amount of soft costs that ResCap ultimately incurred in
complying with the DOJ/AG Settlement.1305 The fact that the apparent agreement from late-
February 2012 between AFI and ResCap to allocate 8% to AFI was not memorialized in
writing1306 may have contributed to the confusion regarding AFI’s ultimate responsibilities
under the government settlements. Ultimately, AFI determined that it would not accept an 8%
responsibility for the additional amounts associated with the soft costs.1307

     The parties’ intentions were also unclear as to the mechanism under which AFI would
discharge any of its allocated liability. Dondzila stated in a January 27, 2012 e-mail to
Whitlinger that AFI could make direct payments to the settlement counterparties or make
payments to ResCap as ResCap incurred the settlement related costs.1308 Dondzila further
stated that another option was for AFI to deem the unpaid liability a dividend from ResCap to
AFI once ResCap relieved its portion of the liability.1309 As noted above, a February 28, 2012
AFI accounting memo regarding the accrual for the DOJ/AG Settlement referred to both the
option that AFI would reimburse ResCap for their allocated share, and the option that any




1303 Memorandum,Accrual for DOJ Settlement at December 31, 2011, dated Feb. 28, 2012, at 8–9
    [EXAM00220938].
1304 See E-mail from D. DeBrunner to J. Mackey (May 17, 2012) [ALLY_0385806]) (“[Dondzila] said that there

    was an agreement for AFI to cover 8% of any additional liability in line with how the original settlement was
    allocated between ResCap and AFI.”).
1305 See id. (“I am not aware of any formal agreement for us to cover 8% of an additional liability.”); Int. of D.

    DeBrunner, Apr. 18, 2013, at 99:17–100:7 (“We had agreed on the amount that was accrued, on the
    calculated amount, that 8 percent related to [AFI], 92 percent to [ResCap].”).
1306 Int. of D. DeBrunner, Apr. 18, 2013, at 99:7–11 (“I don’t recall any written formal agreement between [AFI

    and ResCap] but we each had to conclude on our accounting treatment at that point in time.”).
1307 See E-mail  from C. Dondzila (May 22, 2012) [EXAM10418886] (“I understand . . . that 100% of this
    additional liability [associated with the soft dollar costs under the DOJ/AG Consent Judgment] would be
    recorded by ResCap as AFI does not believe there is any AFI obligation with respect to this matter.”).
1308 E-mail from C. Dondzila (Jan. 27, 2012) [EXAM10995269].

1309 Id.



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payment by ResCap would be considered a deemed dividend to AFI and thus not repaid.1310
As recently as April 18, 2013, DeBrunner appeared to believe that AFI would repay ResCap
for AFI’s $18.5 million portion, and he confirmed in his interview the understanding that AFI
had recorded a payable to ResCap in this amount.1311 However, any such claim by ResCap or
obligation by AFI does not appear to have been formally documented.

               g. Ultimate Payments of Penalties Under The Government Settlements

     In due course, ResCap and AFI earned sufficient credits to remit the $207 million fine set
forth in the CMP Order. The hard costs set forth in the DOJ/AG Consent Judgment were
ultimately paid when GMAC Mortgage remitted the full fine of $109.6 million on March 14,
2012.1312

      Notably, the determination of how to allocate the government settlements appears to have
been limited in effect to AFI and ResCap’s accounting, since this allocation ultimately did not
tie to the actual costs associated with the government settlements that were paid by AFI. As
noted in Exhibit V.C.5 below, even though AFI was only “allocated” 8% of the costs of the
government settlements, it will ultimately end up “paying” for 25% of the total costs of the
government settlements (in large part due to the $196.5 million debt forgiveness made
pursuant to the January 30 Letter Agreement).

     2. Agreements Between AFI And ResCap In Response To The Government Settlements

    AFI negotiated and entered into several affiliate agreements to provide ResCap and
GMAC Mortgage with the financial support to comply with their obligations under the various
government settlements.

               a. AFI, ResCap, And GMAC Mortgage Enter Into The January 30 Letter
                  Agreement

     On January 30, 2012, ResCap, GMAC Mortgage, and AFI entered into the January 30
Letter Agreement regarding “Terms of Support Relating to Possible DOJ/State Attorneys’
General Settlement.”1313 Ally Bank is not a party to the January 30 Letter Agreement, but is
identified as a third party beneficiary.1314 The January 30 Letter Agreement details the support


1310 Memorandum,Accrual for DOJ Settlement at December 31, 2011, dated Feb. 28, 2012, at 9
    [EXAM00220938].
1311 Int. of D. DeBrunner, Apr. 18, 2013, at 86:12–18 (“we still have the payable and I would assume ResCap has

    the receivable. But that was not settled because prior to that being settled, there was a bankruptcy filing. So
    we’re waiting for a direction from counsel as everything goes through. But we still have the payable.”).
1312 See E-mail from C. Dondzila (Mar. 15, 2013) [EXAM11004487]; ResCap Liquidity Update: A Presentation

    for the ResCap Board of Directors, dated Mar. 23, 2012, at RC40020491 [RC40020488].
1313 January 30 Letter Agreement [ALLY_0194817].

1314 See id. ¶ 9.



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to be provided to ResCap and GMAC Mortgage by AFI so that ResCap and GMAC Mortgage
could satisfy the terms of a possible CMP Order or DOJ/AG Settlement.1315

       Pursuant to the material terms of the January 30 Letter Agreement:

                (1) AFI agreed to provide capital support to ResCap and GMAC Mortgage by
                    forgiving indebtedness of $196.5 million under the A&R Line of Credit
                    Agreement;1316

                (2) AFI agreed, and agreed to cause BMMZ to waive any default under the
                    consolidated TNW covenants in those credit facilities listed in Exhibit B to
                    the January 30 Letter Agreement, where such default resulted from any
                    amounts recorded in the financial statements of ResCap and its subsidiaries
                    with respect to the FRB/FDIC Settlement or DOJ/AG Settlement;1317

                (3) ResCap and its relevant subsidiaries, including GMAC Mortgage:
                    (a) agreed that they would not enter into the FRB/FDIC Consent Order or
                    DOJ/AG Settlement without AFI’s prior written consent; and
                    (b) acknowledged that AFI would not consent to any DOJ/AG Settlement
                    that did not contain, at a minimum, a release of AFI and its affiliates;1318

                (4) ResCap and GMAC Mortgage agreed to pay the hard costs (defined in the
                    January 30 Letter Agreement as “hard dollar payments”—estimated at the
                    time to be $100 million) owed pursuant to a FRB/FDIC Consent Order or
                    DOJ/AG Settlement within two business days of the date on which such
                    amounts are agreed in principle in writing;1319

                (5) ResCap and GMAC Mortgage agreed to promptly perform all of their
                    obligations under any FRB/FDIC Consent Order or DOJ/AG Settlement;1320

                (6) ResCap and GMAC Mortgage each agreed to fully reimburse AFI and Ally
                    Bank for: (a) any amounts AFI or Ally Bank expended in connection with
                    their performance under the FRB/FDIC Consent Order or DOJ/AG
                    Settlement; and (b) any fines levied against AFI or Ally Bank, in each case,
                    as a result of the failure of ResCap, GMAC Mortgage or their subsidiaries
                    to perform their obligations under the FRB/FDIC Consent Order or DOJ/


1315 See id.

1316 Id.

1317 Id.

1318 Id.

1319 Id.

1320 Id.



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                     AG Settlement (the January 30 Letter Agreement defined the amounts
                     which may be reimbursed pursuant to this provision as “Settlement
                     Costs”);1321

                  (7) ResCap and GMAC Mortgage would not have any further reimbursement
                      obligation for Settlement Costs from and after the time ResCap and GMAC
                      Mortgage paid the hard costs and earned $200 million of funds paid or
                      credited as a result of mitigation, remediation or other financial
                      accommodation to mortgage loan borrowers or other third parties pursuant
                      to the DOJ/AG Settlement (defined by the January 30 Letter Agreement as
                      “soft dollar credits”);1322

                  (8) GMAC Mortgage agreed to negotiate an amendment to the Original
                      Servicing Agreement which would permit GMAC Mortgage to implement
                      modifications and perform other loss mitigation activities to loans owned
                      by Ally Bank that GMAC Mortgage was servicing to earn soft dollar
                      credits in accordance with the requirements of the DOJ/AG Settlement. The
                      amendment was required to contain the Servicing Agreement Modification
                      Terms as set forth in Exhibit C to the January 30 Letter Agreement;1323

                  (9) ResCap and GMAC Mortgage agreed to terminate the Amended and
                      Restated ISDA Master Agreement, dated April 1, 2011, between GMAC
                      Mortgage and Ally Bank, as well as the related credit support annex and
                      confirmations, and to enter into new derivative documentation on the same
                      economic terms with Ally Investment Management;1324 and

                 (10) AFI, subject to the authorization of the AFI Board, committed to provide
                      capital to ResCap in an amount necessary for ResCap to exceed its TNW
                      covenants for January 2012 by $25 million, provided that such contribution
                      was required as a result of operating losses in the ordinary course of
                      business and did not exceed $100 million.1325

     The January 30 Letter Agreement did not expressly provide that GMAC Mortgage may
“implement modifications and other loss mitigation activities and earn soft dollar credits in
accordance with the requirements” of the DOJ/AG Settlement “in respect of mortgage loans
owned by Ally Bank that [GMAC Mortgage] is servicing for Ally Bank.”1326 Instead, it only
provided that GMAC Mortgage, in good faith, would negotiate an amendment to the Original
1321 Id.

1322 Id.

1323 Id. ¶ 7.

1324 Id. ¶ 8.

1325 Id. ¶ 10.

1326 Id. ¶ 7.



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Servicing Agreement, consistent with the Servicing Agreement Modification Terms,
permitting GMAC Mortgage to implement such modifications.1327 It also did not provide
terms relating to any indemnification for losses due to such modification activities as set forth
in the Servicing Agreement Modification Terms. The terms of any potential indemnification
(as well as the methodology for calculating what was owed) were only considered over the
course of negotiating the A&R Servicing Agreement.1328

                      (1) Modification Terms

     Paragraph 7 of the January 30 Letter Agreement required GMAC Mortgage to negotiate,
in good faith, an amendment to the Original Servicing Agreement,1329 which amendment was
to contain the Servicing Agreement Modification Terms.1330 Thus, it was contemplated that an
amended servicing agreement would (1) permit GMAC Mortgage to perform loan
modifications on certain loans in Ally Bank’s portfolio; and (2) provide an indemnification in
favor of Ally Bank for losses incurred in connection with any such loan modifications.1331
Specifically, the Servicing Agreement Modification Terms provide that:

                      (1) Any modification of the Original Servicing Agreement would provide
                          GMAC Mortgage with the right, but not the obligation, to offer
                          modifications to borrowers holding subject loans (loans owned and held for
                          investment by Ally Bank that GMAC Mortgage was servicing and that
                          qualify for soft dollar credit pursuant to the DOJ/AG Settlement);1332

                      (2) Ally Bank would allow GMAC Mortgage to continue to implement
                          modifications permitted under the Original Servicing Agreement. Ally
                          Bank and GMAC Mortgage agreed to develop new matrices and processes
                          related to the implementation of modifications and loss mitigation activities
                          under the DOJ/AG Settlement;1333

                      (3) GMAC Mortgage agreed to indemnify Ally Bank for any loss suffered by
                          Ally Bank with respect to any subject loan as a result of any modification
1327 Id.

1328 See, e.g., E-mail from C. Dondzila to J. Whitlinger (Feb. 22, 2012) [EXAM11893427] (“FYI regarding

    where Bank is landing in terms of requiring indemnification payments. I think we are back to where we
    started, that we will be making payments to them on virtually all of the modification activity, and in amounts
    in excess of their actual incurred accounting losses.”); E-mail from R. Fowlie to C. Dondzila and
    J. Whitlinger (Mar. 16, 2012) [EXAM10994711] (“As the negotiations between us and the Bank continue on
    the sub servicing agreement one process that should be in there is around the AG settlement and how we
    should reimburse the Bank for losses on their portfolio.”).
1329 January 30 Letter Agreement, ¶ 7 [ALLY_0194817].

1330 Id.

1331 See id. Ex. C.

1332 Id. Ex. C-1.

1333 Id.




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                       or loss mitigation, provided that GMAC Mortgage would not be required to
                       indemnify Ally Bank for any losses in connection with any modification or
                       loss mitigation activities permitted under the terms of the Original
                       Servicing Agreement. GMAC Mortgage would be required to make such
                       indemnification payments no later than two business days after the last day
                       of each calendar month for all modifications or loss mitigation activities
                       undertaken in such calendar month;1334

                    (4) If a modification or other loss mitigation alternative was extended to a
                        customer of Ally Bank, GMAC Mortgage, as servicer, would be required to
                        complete such modification or other loss mitigation activity if such
                        customer provided the necessary data;1335 and

                    (5) GMAC Mortgage would not be permitted to perform modifications or other
                        loss mitigation activities once indemnification payments to Ally Bank
                        pursuant to an amended servicing agreement exceeded $75 million in the
                        aggregate. If GMAC Mortgage desired to perform modifications or other
                        loss mitigation activities resulting in indemnification payments to Ally
                        Bank pursuant to an amended servicing agreement in excess of the
                        aggregate amount of $75 million, then Ally Bank and GMAC Mortgage
                        agreed to discuss the terms on which such additional loss mitigation
                        activities could proceed.1336

                    (2) Subsequent E-Mail Correspondence

     The parties quickly realized that the January 30 Letter Agreement did not expressly
provide for the use of Ally Bank’s portfolio for loan modifications, and that such activity was
only to be explicitly permitted under an amended and restated servicing agreement as set forth
in the Servicing Agreement Modification Terms. The parties attempted to remedy this issue by
e-mail in early February, 2012. Ross Zachary sent an e-mail to Jim Young and Hu Benton,
General Counsel of Ally Bank, copying Tammy Hamzehpour and Pensabene, which stated




1334 Id. Ex. C-1.

1335 Id. Ex. C-1–2.

1336 Id. Ex. C-2.



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“[r]ealizing that the actual agreement under which ResCap will use the Bank assets is not
complete, can you confirm that the Ally Bank board of directors did, in fact, agree in that
second meeting to allow the assets to be used?”1337 Young provided a response the same day,
stating:

                  Yes, under the agreement of full reimbursement for all losses
                  related to loan preservation activities that would be adopted
                  outside of the pre-existing delegation of authority matrix for
                  modifications; as documented under Exhibit C of the recently
                  completed capital support agreement along it [sic] the other
                  terms documented in that Exhibit.1338

     The use of Ally Bank’s portfolio for modifications was critical to ResCap and GMAC
Mortgage. Without “having access to those loans, [ResCap and GMAC Mortgage would]
not . . . meet [the required] $200 million credit.”1339 The ability to perform enough
modifications to meet the requirements of the DOJ/AG Settlement was a constant concern of
parties on both sides of the transactions.1340

                  (3) The January 30 Letter Agreement Was The Product Of Extensive
                      Negotiations

     In late 2011, ResCap was again having difficulty meeting its covenants under various
funding agreements that required it to have a TNW of greater than or equal to $250
million.1341 This required ResCap to repeatedly request support from AFI or, as Carpenter




1337 E-mail from R. Zachary (Feb. 9, 2012), at EXAM20169860 [EXAM20169858].

1338 E-mail from J. Young to R. Zachary, H. Benton, T. Hamzehpour, J. Pensabene, C. Evans, and J. Whitlinger

    (Feb. 9, 2012), at EXAM20169859–60 [EXAM20169858]. The parties generally recognized this informal
    agreement. See Int. of J. Whitlinger, Feb. 27, 2013, at 237:7–238:2.
1339 Int. of J. Whitlinger, Feb. 27, 2013, at 186:8–11. Whitlinger went on to say that “our view was that . . . if we

    didn’t have access to modify bank loans at the bank portfolio, we were going to have a soft menu shortfall
    and potentially incur a penalty for not being able to meet it. And it would be more costly to the estate.” Id. at
    192:12–17.
1340 See, e.g., E-mails between M. Detwiler, C. Schares, and M. Rosen (Apr. 12–13, 2012), at EXAM00001279–

    80 [EXAM00001279] (Rosen asked whether reimbursements were capped at $75 million. In response,
    Schares stated “[u]nfortunately, yes. But we could still argue for our interpretation and we can also ask to
    increase the cap.” Rosen replied, “[o]k, well, this makes it pretty clear that we need to get the servicing
    agreement done.”). Detwiler was the Senior Vice President of Servicing Solutions at GMAC Mortgage
    during this period. Schares was the Vice President of Fee Based Operations at ResCap during this period.
1341 See, e.g., Unanimous Consent to Action of Ally Financial Inc. Board of Directors, dated Aug. 29, 2011, at

    RC40019729 [RC40019727]; Draft Discussion Materials—Joint Presentation by Ally and ResCap, dated Jan.
    23, 2012, at 2 [EXAM00010740] (“ResCap’s net worth has fallen from approximately $850mm at the
    beginning of 2011 to $250mm by year end”). See also Section VI.

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phrased it, to “devot[e] resources to near term catastrophe scenarios.”1342 AFI’s support came
often in the form of debt forgiveness.1343 For example, on August 29, 2011, the AFI Board
approved liquidity support and a capital contribution to ResCap in the form of debt
forgiveness under the A&R Line of Credit Agreement and the A&R Secured Revolver Loan
Agreement.1344

     TNW concerns came into focus again near the end of 2011. In late November 2011,
decision-makers at ResCap and AFI began discussing the provision of “near and medium term
support” to ResCap.1345 Specifically, ResCap requested that AFI provide capital support to
ResCap through June 30, 2012, including a “commitment to fund any and all potential DOJ/
AG settlement and foreclosure file review costs.”1346 AFI responded to this request with a
December 5, 2011 support agreement in which AFI committed to contribute capital to ResCap
“in an amount necessary for ResCap to exceed its TNW covenants . . . by $50 million . . .
provided that such capital contribution shall not exceed $200 million, to the extent necessary
for ResCap to exceed its TNW Covenants by $50 million for the month of November
2011.”1347 Additionally, AFI represented that it would “seek approval from the AFI board for
the month of December to provide similar tangible net worth support for the month of
December 2011 (including with a buffer of $50 million over the TNW Covenant),” and that
“AFI management currently intends to seek the same required board approval for the month of
January 2012.”1348 AFI also stated its intention to provide debtor-in-possession financing for
ResCap and its subsidiaries should ResCap determine to commence chapter 11 cases.1349

     On December 30, 2011, consistent with the terms of the December 5, 2011 letter
agreement, the AFI Board approved a net worth support agreement which capped support at




1342 Letter from M. Carpenter to T. Marano (Aug. 30, 2011), at RC40019728 [RC40019727] (attached to E-mail

    from C. Quenneville (Sept. 8, 2011) [RC40019727]). Carpenter preferred that ResCap focus on long-term
    solutions rather than month-by-month survival.
1343 See, e.g., Unanimous Consent to Action of Ally Financial Inc. Board of Directors, dated Aug. 29, 2011, at

    RC40019729–30 [RC40019727].
1344 UnanimousConsent to Action of Ally Financial Inc. Board of Directors, dated Aug. 29, 2011, at
    RC40019729–30 [RC40019727].
1345 See E-mail from T. Marano (Nov. 28, 2011) [ALLY_0366218].

1346 Id.

1347 Letter Agreement Re: Preservation of Sales of Mortgage Loans to ResCap and Other Matters, dated Dec. 5,

    2011, § D [EXAM00000127].
1348 Id.

1349 Id.



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$200 million.1350 ResCap was informed of AFI’s support on the same day.1351 AFI conditioned
this support commitment, however, by an e-mail dated January 1, 2012 (sent by Anita Bhama
on behalf of Carpenter),1352 which stated:

                 The amount of any contribution will not exceed $200 million,
                 and in determining the amount of any debt to be forgiven, any
                 amounts for a DOJ settlement or for any fines issued by the
                 Federal Reserve Board will not be taken into account in
                 determining whether ResCap has met the CTNW Covenants or
                 exceeded the CTNW Covenants by $50 million, or how much of
                 a debt forgiveness would be required for ResCap to do the
                 same.1353

     Discussion within AFI about imposing this additional condition reveals some internal
discord, as Jeffrey Brown, James Mackey, Carpenter, and Bhama exchanged e-mails from
December 29 through December 31 regarding whether such a condition was appropriate.1354
Specifically, Bhama suggested that the condition could be included, while Brown and Mackey
suggested that Deloitte would not accept any conditionality on the support commitment.1355

    Carpenter saw the condition as an opportunity to gain leverage in future negotiations with
ResCap, because AFI would not have a pre-existing obligation to provide ResCap with capital
support in the event of a DOJ/AG Settlement.1356 Specifically, Carpenter stated that:

                 My thought here is, in the event of a unique event (eg DoJ) that,
                 before automatically topping up [ResCap’s] net worth (which is
                 real value) that it becomes part of a broader negotiation with
                 ResCap (eg 9019). Particularly in the (likely) event that the DoJ
                 number comes in higher than our current expectation. I think we
                 are nuts to forgive 200mm of debt and get nothing for it!1357


1350 See E-mail from M. Carpenter (Dec. 30, 2011), at ALLY_0171727 [ALLY_0171726].

1351 SeeE-mail from M. Carpenter to T. Marano (Dec. 30, 2011), at EXAM11006579 [EXAM11006578]
    (“Tom,[ ]I am pleased to inform you that the Ally Financial Board has approved the ResCap net worth
    support agreement for December. Regards,[ ]Mike”).
1352 Bhama was Legal Counsel for AFI during this period.

1353 E-mail from A. Bhama to T. Marano (Jan. 1, 2012) [ALLY_0192373].

1354 See
       E-mails between M. Carpenter, J. Brown, J. Mackey, and A. Bhama (Dec. 29–31, 2011), at
    ALLY_0142373–76 [ALLY_0142373].
1355 See E-mail from M. Carpenter to A. Bhama and J. Mackey (Dec. 30, 2011), at ALLY_0142374
    [ALLY_0142373] (“Anita,[ ]Jim [Mackey’s] strong view is that Deloitte will not accept any conditionality
    on the commitment. I will send an e mail to Tom Marano notifying him.”).
1356 See E-mail from M. Carpenter to J. Brown (Dec. 31, 2011) [ALLY_0142373].

1357 Id.



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     Ultimately, despite advice to the contrary from Brown,1358 Carpenter decided to include
the proposed condition.1359 This new condition did not sit well with ResCap, which saw it as a
“retrade” of the “support of the TNW from the [December 5, 2011] Letter Agreement up and
through the e-mail of December 30, 2011.”1360

       Around this time, all parties started to consider options relating to the potential DOJ/AG
Settlement. On December 29, 2011, Young circulated an e-mail discussing “Bank
Indemnifications.”1361 Specifically, Young reached out to Joe Cortese1362 and Dondzila “to lay
out the work we need to do between now and Jan 5th related to the settlement.”1363 Young
states that he would like to discuss a few topics, including “[s]oft credit[s]” as well as
“potential indemnification payments.”1364 With respect to indemnification payments, Young
stated that the parties should consider payments in light of the “cap in the servicer agreement
(one-year of servicing fees, which . . . is roughly $35 million). Hu and Bank management are
still contemplating the application of the existing agreement to the situation . . . .”1365




1358 See, e.g., E-mail from J. Brown to M. Carpenter (Dec. 31, 2012) [ALLY_0142373] (“On the Anita [Bhama]

    logic, I have about 25 other emails . . . saying she is . . . wrong . . . . I do understand the logic . . . but . . .
    [i]f this was truly the case, then we should have put conditions in place all along.”).
1359 See E-mail from A. Bhama to T. Marano (Jan. 1, 2012) [ALLY_0192373] (informing Marano of Carpenter’s

    decision to include the proposed condition).
1360 Letter from L. Nashelsky to C. Hoyt (Jan. 20, 2012), at 2 [RC00068545]. Hoyt, of Mayer Brown, negotiated

    on behalf of AFI with respect to the January 30 Letter Agreement.
1361 E-mail from J. Young (Dec. 29, 2011) [EXAM11892941].

1362 Cortese was the Chief Accounting Officer of Ally Bank during this period.

1363 E-mail from J. Young (Dec. 29, 2011) [EXAM11892941].

1364 Id.

1365 Id. Even at this early point in considering how to deal with the DOJ/AG Settlement, the parties understood

    that it would be problematic to operate under the Original Servicing Agreement, which contained a cap on
    indemnification obligations. See E-mail from H. McKay (Dec. 30, 2011) [EXAM11893283].
           There is a cap on indemnification payments required to be made to the Bank under the servicing
           agreement, of $35 million. While this is still being evaluated by the Bank, it is expected that the
           Bank will still make their portfolio available for soft dollar credits even after this cap is
           reached . . . . Even though this changes the fact pattern slightly in that the Bank losses on mods may
           not be fully covered in excess of this cap . . . .
    This was also considered by Ally Bank later in negotiations. See E-mail from B. Yastine (Jan. 25, 2012)
    [ALLY_0342613] (“Appears we still don’t have agreement on whether is only going to mod 35 under cap or
    all. Not comfortable going back to the Board until we have clarification.”). See also GMAC Mortgage, LLC
    Consolidated Financial Statements for the Years Ended December 31, 2011 and 2010 (Mar. 28, 2012), at 66
    [RC00032177] (stating that GMAC Mortgage earned $34.8 million in servicing fees from Ally Bank in
    2011). As stated in Section V.C.1.d(4)(b)(iii)(A) above, total indemnification payments to Ally Bank are
    estimated to be $134.5 million.

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     Immediately after receiving the conditioned support commitment on January 1, 2012,
ResCap was also forced to turn its attention to funding a potential DOJ/AG Settlement.1366 At
this time, it was unclear which AFI or ResCap entities would be responsible for paying a
potential settlement.1367 Regardless of who was to bear this burden, ResCap was not certain of
AFI and Ally Bank support in the event it incurred government fines.1368

      This was a major concern for ResCap, because ResCap realized that it continued to face
“difficult tangible net worth issues.”1369 AFI was not eager to support ResCap as evidenced by
Carpenter’s statement that AFI had a “limited appetite” for supporting ResCap.1370 Despite
this reluctance, Carpenter informed Marano on January 17, 2012, that “we reviewed a second
draft of a term sheet yesterday which you should get today. Assuming the terms are agreeable,
we should be able to turn it into a letter quickly.” On the same day, Mayer Brown, counsel to
AFI, sent a draft term sheet to Morrison & Foerster providing terms of potential support
relating to a possible DOJ/AG Settlement.1371

      This initial draft term sheet laid out the framework of the ultimate support agreement,
including: (1) AFI’s provision of capital support to ResCap such that ResCap could meet its
TNW covenants as of December 31, 2011; and (2) ResCap’s agreement to pay to the
applicable governmental authorities any and all amounts owed when determined as part of the
FRB/FDIC Consent Order and the DOJ/AG Settlement.1372 Additionally, the term sheet
provided the first iteration of a proposed indemnity with respect to losses incurred by Ally
Bank due to GMAC Mortgage modification activity, as well as a proposed amendment to the
A&R Line of Credit Agreement that would secure certain loans relating to that credit
facility.1373


1366 See  E-mail from J. Whitlinger (Jan. 2, 2012) [EXAM11006608] (“I received this morning [AFI’s]
    commitment for December support. They will support up to $200M….the DOJ/Fed Fines may put us right up
    to this limit; if not over….stay tuned.”).
1367 See Section V.C.1.f regarding settlement allocation issues.

1368 See E-mail from J. Whitlinger (Jan. 2, 2012) [ALLY_0171726].

1369 ResCap was also considering other potential options to solve its net worth problem. See E-mail from J.

    Whitlinger (Jan. 11, 2012), at EXAM10419200–01 [EXAM10419200]. (“Given the difficult tangible net
    worth issues that ResCap is facing, would the FRB entertain a penalty amount in a much smaller amount,
    such that booking that penalty would not cause ResCap to default under its credit facilities by reducing
    tangible net worth below its $250mm covenant level (i.e. a penalty of no more than $50mm all-in)?”).
1370 E-mail from M. Carpenter to J. Brown, J. Mackey, and B. Yastine (Jan. 17, 2012) [ALLY_0182854] (“AG’s

    are struggling with what they perceive as [AFI’s] small contribution—Tom continues to educate DoJ on
    ResCap’s overall situation . . . . [AFI] believes [the State Attorneys General] have no case and has limited
    appetite for supporting ResCap.”).
1371 MB Draft Terms of Potential Support relating to a Possible DOJ/State Attorneys’ General Settlement, dated

    Jan. 17, 2012 [ALLY_0394178] (attached to E-mail from C. Hoyt (Jan. 17, 2012) [ALLY_0394176]).
1372 Id. ¶¶ 1–4.

1373 Id. ¶ 6.



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      Morrison & Foerster, on behalf of ResCap and GMAC Mortgage, responded to the
January 17 term sheet in a letter dated January 20, 2012.1374 This letter highlighted ResCap’s
previously described issues with what it deemed the “retrad[ing]” of the December 5, 2011
letter agreement by AFI.1375 The letter nevertheless addressed each enumerated paragraph of
the January 17 term sheet “in an effort to obtain the support previously agreed to by AFI.”1376

     ResCap pushed back on a number of proposed provisions. Specifically, ResCap refused
to “accept full responsibility ‘for actions or inactions that are the basis of the DOJ/AG
Settlement[,]”’ as AFI requested, and also stated that “[GMAC Mortgage] will not indemnify
Ally Bank for any los[s]es resulting from [loan] modifications [as potentially could be
required under a DOJ/AG Settlement], other than as currently agreed to by the parties.”1377
Further, ResCap rejected AFI’s proposal of securing certain loans under the A&R Line of
Credit Agreement. In sum, as the letter expressly stated, ResCap’s response was based on the
belief that:

                   AFI should rethink the Proposed Terms and limit them solely to
                   the mechanics of ResCap’s payment of any settlement amounts
                   to DOJ/State AGs following AFI’s capital contribution of
                   amounts necessary to permit ResCap to make such payment and
                   continue to be in compliance with its TNW at December 31,
                   2011.1378

      Kirkland & Ellis responded in a January 25, 2012 letter from Richard Cieri to Larren
Nashelsky of Morrison & Foerster,1379 and also provided a draft agreement based on the
January 17 term sheet, which incorporated some of ResCap’s comments.1380 Kirkland’s letter cited
the December 5, 2011 letter agreement as the “foundation for AFI’s potential support for ResCap
in this context” and disputed Morrison & Foerster’s assertions “that AFI is seeking to renegotiate,
or otherwise declining to satisfy, the terms of the December 5 Letter Agreement . . . .”1381
Kirkland asserted that “AFI’s sole obligation was to ‘seek’ board approval, and it fulfilled this



1374 Letter from L. Nashelsky to C. Hoyt (Jan. 20, 2012) [RC00068545].

1375 Id. at 2. This “retrade” essentially related to the revision of the AFI provision of support on December 30–31,

    2011.
1376 Id. at 3.

1377 Id. at 3–4.

1378 Id. at 4.

1379 Letter from R. Cieri to L. Nashelsky (Jan. 25, 2012) [EXAM20276355].

1380 AFI Draft Terms of Support Relating to Possible DOJ/State Attorneys’ General Settlement, dated Jan. 25,

    2012 [EXAM20276340] (attached to E-mail from N. Ornstein to L. Nashelsky (Jan. 25, 2012)
    [EXAM20276338]).
1381 Letter from R. Cieri to L. Nashelsky (Jan. 25, 2012), at 1–2 [EXAM20276355].



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obligation. The December 5 Letter Agreement does not require a December capital contribution.
As such, your statement that AFI ‘undid that which it agreed to and had confirmed’ is wholly
without merit.”1382 Kirkland & Ellis concluded by stating that:

                 Last and most importantly, AFI has been engaging, and remains
                 committed to continuing to engage, ResCap in consensual and
                 constructive discussions on all aspects of ResCap’s restructuring
                 efforts—including the proposed terms on which AFI would
                 support ResCap’s obligations under the Potential DOJ/State AG
                 Settlement.1383

       AFI’s proposed terms were communicated to ResCap in the draft agreement the same
day.

     AFI’s January 25 draft agreement accepted essentially just one comment from
Morrison & Foerster’s January 20 letter, deleting the provision which had allocated to ResCap
responsibility for activity which formed the basis of the DOJ/AG Settlement.1384 Most other
provisions included in the January 17 term sheet remained, including the provision of support
to ResCap, ResCap’s payment of the applicable governmental authorities, and the proposed
amendment to the A&R Line of Credit Agreement.1385 Notably, a new paragraph of the draft
agreement provided for a right of reimbursement:

                 [F]or any and all amounts expended by AFI or Ally Bank in
                 connection with their performance or satisfaction of obligations
                 under any DOJ/State AG Settlement or FRB Order and for any
                 fines, penalties or other amounts levied against AFI or Ally
                 Bank as a result of the failure of ResCap, [GMAC Mortgage] or
                 their subsidiaries to perform their obligations under any DOJ/
                 State AG Settlement or FRB Order . . . .1386

     In addition to this proposed obligation, paragraph 5 of the draft agreement provided that
GMAC Mortgage would implement the modifications and loss mitigation activities designated
on Exhibit A to the draft agreement, and that “[GMAC Mortgage] shall reimburse Ally Bank
for any loss suffered by Ally Bank with respect to any mortgage loan as a result of any
modification or loss mitigation in accordance with the Modification Plan, as calculated



1382 Id. at 2.

1383 Id.

1384 AFI Draft Terms of Support Relating to Possible DOJ/State Attorneys’ General Settlement, dated Jan. 25,

    2012, at 1–4 [EXAM20276340].
1385 Id.

1386 Id. ¶ 4.



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pursuant to Exhibit A hereto . . . .”1387 The draft thus contemplated two distinct rights of
reimbursement, one relating to “amounts expended by AFI or Ally Bank” in connection with
their performance under any settlement or for any related penalties, and the other relating to
“any loss suffered by Ally Bank . . . as a result of [loan] modification or loss mitigation.”

     After “robust” discussions among the members of ResCap’s Board at their meeting on
January 26,1388 ResCap responded with a marked-up draft of the proposed agreement on the
same day.1389 This version incorporated a cap on the reimbursement for “amounts expended
by AFI or Ally Bank” in connection with the DOJ/AG Settlement “from and after the time
ResCap and [GMAC Mortgage] have effected the hard dollar payments . . . and $200 million
of soft dollar credits pursuant to the DOJ/State AG Settlement.”1390 ResCap additionally
deleted most of what was paragraph 5 of the January 25 draft agreement regarding the
reimbursement of “Ally Bank for any loss suffered by Ally Bank with respect to any mortgage
loan as a result of any modification or loss mitigation” while providing that GMAC Mortgage
would negotiate in good faith an amendment to the Original Servicing Agreement “to
implement modifications and other lost mitigation activities” in connection with the DOJ/AG
Settlement.1391 ResCap once again refused to include a provision amending the A&R Line of
Credit Agreement.1392

     ResCap received a revised draft agreement from AFI on January 30, which was
substantially similar to the January 30 Letter Agreement.1393 This version added a waiver of
defaults relating to TNW covenants by AFI and BMMZ and a commitment from AFI to
“contribute capital to ResCap in an amount necessary for ResCap to exceed its TNW
Covenants . . . by $25 million for the month of January, 2012.”1394 It also included an

1387 Id. ¶ 5.

1388 Minutes
           of a Special Meeting of the Board of Directors of Residential Capital, LLC, Jan. 26, 2012, at
    RC40019196 [RC40019179].
                    At Mr. Marano’s request, Ms. Nashelsky described the terms of the capital
                    support letter draft prepared by the advisers for Ally Financial Inc. received
                    earlier that day and distributed to the members of the Board, including
                    changes therein since the first indicative terms were sent on January 18,
                    2012. After a robust discussion among the members of the Board and its
                    advisers about the appropriate responses to the terms of the capital support
                    letter, the Board directed Mr. Marano and Morrison & Foerster to negotiate
                    changes to the proposed support letter.
1389 Draft Terms of Support Relating to Possible DOJ/State Attorneys’ General Settlement - ResCap Comments,

    dated Jan. 26, 2012 [RC00067767].
1390 Id. ¶ 4.

1391 Id. ¶ 6.

1392 Id. at 4.

1393 See AFI Draft Terms of Support Relating to Possible DOJ/State Attorneys’ General Settlement, dated Jan.

    30, 2012 [ALLY_0018546].
1394 Id. at 2, 4.



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Exhibit C which set forth terms to be included in any amendment to the Original Servicing
Agreement, which GMAC Mortgage, per the terms of the draft agreement, had agreed to
negotiate.1395 These Servicing Agreement Modification Terms included a reimbursement
provision similar to that included in the January 25 draft (and which was struck in ResCap’s
January 26 response), wherein “[GMAC Mortgage] shall indemnify Ally Bank for any loss
suffered by Ally Bank with respect to any Subject Loan as a result of any modification or loss
mitigation . . . .”1396

                       (4) The ResCap Board Approves The January 30 Letter Agreement

      At a ResCap Board meeting held January 30, Marano “described the nearly final terms of
the capital support letter from Ally Financial Inc. . . . received shortly before the meeting and
distributed to the members of the Board.”1397 The ResCap Board and its advisers then
discussed the remaining open items and ultimately gave Marano “full authority . . . to enter
into a final capital support letter . . . in substantially the form and on the terms set forth in the
draft thereof previously delivered to the Board members, with such changes therein as he
deems necessary or appropriate.”1398 When asked about their rationale for supporting
ResCap’s entry into the January 30 Letter Agreement, certain ResCap Board members could
not recall any details, but only that the January 30 Letter Agreement “allowed ResCap to
continue to operate.”1399 The approval of the January 30 Letter Agreement was not voted on
by a committee of Independent Directors,1400 was not subject to an independent valuation,1401




1395 Id. ¶ 7, Ex. C.

1396 Id. Ex. C.

1397 Minutes of a Special Meeting of the Board of Residential Capital, LLC, Jan. 30, 2012, at RC40019197

    [RC40019179].
1398 Id. Ilany did not attend this meeting.

1399 Int. of S. Abreu, Jan. 22, 2013, at 370:4–22; Dep. of J. Whitlinger, Aug. 3, 2012, at 52:14–53:17 (stating that

    if “ResCap didn’t have the funds available” from AFI pursuant to the January 30 Letter Agreement, ResCap
    and GMAC Mortgage couldn’t have entered into the DOJ/AG Settlement as they did not have the requisite
    net worth or liquidity).
1400 See Dep. of J. Whitlinger, Aug. 3, 2012, at 68:5–70:10, 73:5–14. Whitlinger stated that he did not believe

    that having the special committee of independent directors review and approve the January 30 Letter
    Agreement was necessary because the “agreement for AFI provide[d] that forgiveness to allow [ResCap and
    GMAC Mortgage] to settle . . . and be able to make our payments, and, in my opinion, was straightforward.”
    Id. at 70:9–18. Regardless, Whitlinger believed that “the independent directors were fully a part of this
    decision.” Id. at 72:11–19.
1401 See id. at 73:15–74:15.



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and was not considered or approved at a separate meeting of the GMAC Mortgage Board of
Directors.1402 Ultimately, members of the ResCap Board expressed pleasure with the result of
the negotiations,1403 which they considered contentious.1404

                  (5) Economics Of The January 30 Letter Agreement

     In the January 30 Letter Agreement, AFI agreed to forgive $196.5 million of ResCap debt
under the A&R Line of Credit Agreement.1405 The amount of the debt forgiveness appears to
have been based upon the estimates of ResCap’s portion of the potential settlements under one of
the approaches previously described in Section V.C.1.f(2) (11/15 × $268 million = $196.5
million).1406

    GMAC Mortgage and RFC were the borrowers under the A&R Line of Credit
Agreement.1407 When accounting for AFI’s forgiveness of $196.5 million under the A&R Line




1402 See id. at 91:10–92:14. Whitlinger stated that he did not believe that there was a “separate board meeting” of

    the GMAC Mortgage Board to consider and vote on whether GMAC Mortgage should enter into the
    January 30 Letter Agreement, however, he felt that they had “concurrence of the board.” Id. Whitlinger
    further stated that “Steve Abreu and myself are both GMAC Mortgage board members. Joe Pensabene was
    intimately involved with all of the discussions. I believe that we had concurrence of the board.” Id.
1403 See E-mails between P. West and J. Whitlinger (Jan. 31, 2012) [EXAM10345463] (after Whitlinger stated

    that the January 30 Letter Agreement provided that “ResCap would not indemnify bank for soft menu credits
    on normal course of business as it is processed today” and that “no minimum usage of bank portfolio is
    necessary,” West commented that this was “[g]reat. Looks like we got most of what we wanted. Good
    work.”); Int. of T. Marano, Feb. 27, 2013, at 69:7–17 (when discussing the agreement regarding the amount
    of debt forgiveness to be provided by AFI, Marano stated “[b]ecause I felt that’s about the number I would
    need not to have a negative impact to my net worth . . . related to this settlement. So I think I won this one.”);
    Int. of J. Whitlinger, Feb. 27, 2013, at 202:19–203:15, 223:5–12 (“I got them to pay the whole $196.”).
1404 See Int. of T. Marano, Feb. 27, 2013, at 70:17–20 (“[T]his is like every agreement was [sic] extremely

    contentious between us and [AFI] . . . .”).
1405 January 30 Letter Agreement, ¶ 1 [ALLY_0194817].

1406 See Section V.C.1.f regarding allocation. It has also been suggested that the amount of debt forgiveness was

    intended to act as a cap on amounts to be paid by ResCap under the January 30 Letter Agreement. See Int. of
    J. Whitlinger, Feb. 27, 2013, at 206:25–207:8 (“[O]ur view was—and I was very clear when we were
    negotiating some of this—that ‘You’re giving us debt forgiveness of $196.5 million. And once we hit above
    that amount, we don’t have to pay anymore. Because you only gave us debt forgiveness up to that
    amount. . . .’”).
1407 See A&R Line of Credit Agreement [ALLY_0240633].



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of Credit Agreement, ResCap allocated $124.2 million of debt forgiveness to GMAC
Mortgage and the remaining $72.3 million to RFC.1408

      The A&R Line of Credit Facility provided ResCap with a maximum capacity of $1.6
billion ($1.1 billion secured and $500 million unsecured).1409 Draws on the unsecured portion
of the line of credit were available only after the secured portion had been fully utilized.1410 As
of December 31, 2011, ResCap’s total borrowings under the A&R Line of Credit Facility were
$185.0 million.1411 GMAC Mortgage’s portion was $111.5 million,1412 while RFC’s portion
was $73.5 million.1413 After giving effect to the debt forgiveness required under Exhibit A of
the January 30 Letter Agreement, the amount of outstanding debt under the A&R Line of
Credit Agreement was $311.5 million.1414 Therefore, the $196.5 million in debt that was
forgiven under the January 30 Letter Agreement had been drawn on the secured portion of the
A&R Line of Credit Agreement.


1408 See GMAC Mortgage, LLC Consolidated Financial Statements for the Years Ended December 31, 2011 and

    2010 (Mar. 28, 2012), at 11, 69 [RC00032177] (stating that on January 30, 2012 GMAC Mortgage
    “recognized a capital contribution . . . of $124.4 million, and a corresponding reduction in borrowings under
    the [A&R Line of Credit Agreement]”); Residential Funding Company, LLC Consolidated Financial
    Statements for the Years Ended December 31, 2011 and 2010 (Mar. 28, 2012), at 11, 61 [RC00032246]
    (stating that on January 30, 2012, RFC “recognized a capital contribution . . . of $72.3 million, and a
    corresponding reduction in our borrowings under the [A&R Line of Credit Agreement]”); Memorandum,
    Significant Transaction Memo: General Information and Transaction Description Re Mortgage Fine, Waivers
    and Debt Forgiveness, dated Feb. 2012, at EXAM00220160 [EXAM00220147].
1409 See Residential Capital, LLC Consolidated Financial Statements for the Years Ended December 31, 2011 and

    2010 (Mar. 28, 2012), at 38 [EXAM00122651].
1410 See id. at 39.

1411 Id. at 76.

1412 See GMAC Mortgage, LLC Consolidated Financial Statements for the Years Ended December 31, 2011 and

    2010 (Mar. 28, 2012), at 65 [RC00032177].
1413 SeeResidential Funding Company, LLC Consolidated Financial Statements for the Years Ended
    December 31, 2011 and 2010 (Mar. 28, 2012), at 60 [RC00032246].
1414 See January 30 Letter Agreement, Ex. A [ALLY_0194817]; E-mail from E. Kahan (Jan. 31, 2012), at
    ALLY_PEO_0034525–26 [ALLY_PEO_0034500] (providing the description of the daily outstanding
    balance on the A&R Line of Credit Facility. According to ResCap’s January 31, 2012 unaudited “Trial
    Balance,” GMAC Mortgage’s outstanding balance on the A&R Line of Credit Facility was $156.7 million,
    and RFC’s outstanding balance was $103.4 million, for a total balance of $260.1 million. See Residential
    Capital, LLC Unaudited Trial Balance for Month ended 2012-01-31, dated January 31, 2012
    [EXAM00228752]; see also Ally Financial Inc. Summary of Intercompany Balances with ResCap, dated
    May 28, 2012, at ALLY_0182819 [ALLY_0182793] (also stating that the outstanding balance on the A&R
    Line of Credit Facility was $261 million including interest as of January 31, 2012). This difference of $51.4
    million (between the $311.5 million and the $260.1 million) is due to an additional $51.4 million of debt
    forgiveness (in connection with the payment by GMAC Mortgage to Ally Bank due to the “accounting error”
    under the Broker Agreement, as described in Section V.B.6) recorded on March 1, 2012 that was
    retroactively applied to the December 31, 2011 financial records. Conference call with ResCap and FTI,
    Financial Advisor to the Debtors (Apr. 29, 2012).

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              b. GMAC Mortgage Begins Performing Modifications To Ally Bank’s Loan
                 Portfolio

     ResCap and GMAC Mortgage had to determine which population of loans could be
modified, what type of modification could be made, and the costs associated with such
modifications to receive credits against the soft costs of the CMP. The ResCap and GMAC
Mortgage capital markets and servicing teams applied a “waterfall” to determine what types of
loans were subject to the modification provisions in the DOJ/AG Settlement and what type of
model should apply to those loans.1415 The ResCap and GMAC Mortgage risk analysis team
then ran the models on the loans to compare the pre-modification financials with the post-
modification financials,1416 or, in other words “present what happens economically as a result
of the modifications.”1417 This information was then provided to the ResCap and GMAC
Mortgage accounting, servicing management and capital markets groups.1418

    Solicitations to borrowers from the Ally Bank portfolio began at the end of March 2012,
and modifications began to occur in April.1419 Both of these activities commenced prior to the
negotiation of the AG Menu Matrix, as discussed below, which governed the reimbursement




1415 Int. of C. Senick, Nov. 16, 2012, at 66:23–67:2, 239:20–240:14. Senick was the Risk Officer of GMAC

    Mortgage during this period.
1416 Id. at 66:23–67:2, 239:20–240:14.

1417 Id. at 240:11–13.

1418 See id. at 240:13–14.

1419 See Dep. of J. Whitlinger, Aug. 3, 2012, at 94:19–24; Residential Capital, LLC Condensed Consolidated

    Financial Statements for the Periods Ended March 31, 2012 and 2011 (Unaudited), at 44 [EXAM00070376].

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by ResCap and GMAC Mortgage to Ally Bank of costs associated with the loans modified
pursuant to the government settlements.1420 Each type of modification had a specific
associated reimbursement calculation.1421

                c. GMAC Mortgage And Ally Bank Enter Into The A&R Servicing Agreement

     GMAC Mortgage and Ally Bank entered into the A&R Servicing Agreement, which is
dated May 11, 2012.1422 The A&R Servicing Agreement incorporates the Servicing
Agreement Modification Terms and includes the AG Menu Matrix.1423

                    (1) Indemnity Provisions

     The A&R Servicing Agreement incorporated the indemnity provision required by the
Servicing Agreement Modification Terms. Specifically, the A&R Servicing Agreement
provided that:

                    [GMAC Mortgage] shall indemnify [Ally Bank] for losses
                    suffered by [Ally Bank] as a result of any action taken in
                    accordance with the AG Menu Items attached hereto as Exhibit
                    4-B; provided, that [GMAC Mortgage] shall not be required to
1420 Int. of C. Senick, Nov. 16, 2012, at 242:9–245:19 (noting that the parties that negotiated this matrix likely

    were (a) for ResCap and GMAC Mortgage: Mark Schaeffer, Peter Muriungi and Feyera Milkessa, and (b) for
    Ally Bank: Joe Cortese and Young).
1421 Int. of C. Senick, Nov. 16, 2012, at 243:2–244:14 (referring to the AG Menu Matrix as the “reimbursement

    matrix”).
           What we were talking about there is what are the economics, what are you being made whole for—
           you being the bank. Our recommendation was to try to keep the reimbursement consistent with the
           economics coming out of the model. So in terms of a principal forgiveness if you’re forgiving $10,000
           of principal that’s a $10,000 charge off to the bank with a few nuances that I’m not familiar with. For
           the most part you get reimbursed $10,000. That one is fairly easy and was managed outside of our
           process. For loans where the modification resulted in a refinance, a new loan there you don’t have an
           amount of principal that was forgiven. So the question is how much has the bank lost or gained from
           that modification. One argument is well if you’re reducing interest, the note rate on the loan, that’s
           less interest over time. So one suggestion on the bank side was let’s calculate that lifetime interest
           change. My response to that was yes, but you should receive more payments over time. So there are
           pros and there are cons. Why don’t we apply the net present value of those cash flows to determine
           fair value which is consistent with the bank’s fair value disclosure on its quarterly statements on the
           portfolio on which it has a reserve? They need to disclose what the fair value of those loans would be
           under an HFS or a fair value methodology. So I said if we have this methodology that we’re all
           comfortable with in what is the fair value of a loan let’s run the fair value of the loan before, the fair
           value after and if you get more principal back than interest or vice versa that will show up in that NPV
           calculation. That ultimately made its way into the reimbursement.
1422 Additional discussion related to the A&R Servicing Agreement can be found in Section V.B.9.

1423 SeeA&R Servicing Agreement, §§ 10.01(e)–(f), Ex. 4-B [ALLY_0114469]. The AG Menu Matrix is
    described in detail in Section V.C.2.d.

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                   indemnify [Ally Bank] for any losses in connection with any
                   such action that also would have been permitted under the terms
                   of the Standard Matrix.1424

Exhibit 4-B provides the framework for “ResCap AG Consumer Relief,” or the
implementation of the consumer relief required by the DOJ/AG Settlement.1425

     The A&R Servicing Agreement also included the limitation on modifications as set forth
in the Servicing Agreement Modification Terms, which states that “[i]n no case shall [GMAC
Mortgage] evaluate additional Portfolio Loans for actions pursuant to the AG Menu Items in
the month following the month in which indemnification payments to [Ally Bank] . . . exceed
$75,000,000 in the aggregate.”1426 This $75 million cap was generally viewed as a protection
for Ally Bank.1427

     The A&R Servicing Agreement omitted, however, any cap on this indemnity like the cap
included in paragraph 5 of the January 30 Letter Agreement, which limits ResCap’s and
GMAC Mortgage’s reimbursement liabilities once the hard dollar payments have been made
under the DOJ/AG Settlement, and ResCap and GMAC Mortgage have earned $200 million
of soft dollar credits.1428




1424 A&R Servicing Agreement, § 10.01(e) [ALLY_0114469].

1425 See id. Ex. 4-B.

1426 Id. § 10.01(f). The parties generally referred to this as a “speed bump.” E-mail from J. Young (May 31, 2012)

    [ALLY_0197143] (“The key question we will need to address and recommend is whether we should approve
    them moving beyond our $75 million speed bump given our view of collection of reimbursement.”); see also
    Int. of J. Whitlinger, Feb. 27, 2013, at 209:18–210:2 (“Our view on the $75 million speed bump was that
    we’re going to do modification activities. . . . When we’ve done those activities and we’ve made payments of
    $75 million, we’d get back together and talk about, should we have to pay anything more to them, and who
    should take it?”).
1427 See Int. of J. Whitlinger, Feb. 27, 2013, at 211:5–16 (responding to the question of whether the $75 million

    was a “cap on the level of their consent to modifications” Whitlinger stated “[t]hat’s Jim Young’s view. . . .
    And he’d probably tell you that that $75 million was for that, because we needed to tell the regulators and
    show the regulators that we have control and how much of our portfolio is getting modified.”).
1428 January 30 Letter Agreement, ¶ 5 [ALLY_0194817].



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                  (2) Negotiation Of The A&R Servicing Agreement

     Negotiations regarding the various provisions of the A&R Servicing Agreement took
place over an extended period of time,1429 from at least from February 1, 20121430 through May
11, 2012.1431 Throughout the negotiation process, GMAC Mortgage was eager to finalize the
A&R Servicing Agreement,1432 which it viewed as critical to the future sale of its platform.1433
GMAC Mortgage, however, perceived that Ally Bank was dragging its feet.1434




1429 See, e.g., Letter from T. Marano to B. Yastine (May 9, 2012) [EXAM00069159] (“[GMAC Mortgage]
    offered Ally Bank an amendment in March to the 2001 Servicing Agreement in accordance with the terms of
    the Support Letter. While that amendment was not pursued, both parties have been working towards
    finalizing the [Subservicing Agreement] for quite some time.”).
1430 See, e.g., E-mails between B. Yastine and T. Marano (Feb. 1, 2012) [ALLY_0194846] (Yastine stated to

    Marano that “[w]e all want to move fast on the servicing agreement, but to date it has not been reviewed
    through a BK lens. . . . That will not happen in 1–2 days.” Marano responded that “[w]e banged 2 of the
    issues out this am. Can u stop by at 10:30am tomw . . . so we can wrap u[sic] the r3d [sic] issue . . . .”).
1431 While the A&R Servicing Agreement is dated May 11, 2012, it appears as though signature pages were held

    in escrow until GMAC Mortgage and Ally Bank had come to an agreement on a letter detailing the terms of
    an indemnity payment from GMAC Mortgage to Ally Bank based on April loan modifications, as discussed
    in Section V.C.2.e. See E-mail from T. Hamzehpour (May 13, 2012) [EXAM11151314] (“Also, signature
    pages are standing by on the Servicing Agreement for both [GMAC Mortgage] and [Ally] Bank, so as soon
    as we sign off on this letter those should be able to be released.”).
1432 See, e.g., E-mail from M. Detwiler (Feb. 13, 2012) [EXAM00001482] (“Joe/Gary, wanted to give you an

    update that I anticipate that we will execute the new subservicing agreement with Ally Bank sometime this
    month . . . ). See also Letter from T. Marano to B. Yastine (May 9, 2012) [EXAM00069159].
1433 See Int. of J. Pensabene, Jan. 9, 2013, at 245:4–12 (“If we lost rights to service one-third of our overall

    portfolio and . . . even more as it relates to just the value of the portfolio then the auction of the business
    would not have been nearly as successful as it turned out to be. The value of the platform would have been
    diminished dramatically.”).
1434 See, e.g., E-mail from M. Carpenter (Feb. 24, 2012) [ALLY_0195356]. In an e-mail to Yastine, Carpenter,

    when discussing the negotiations surrounding the servicing agreement, suggested that Marano “says you
    don’t return phone calls, answer e mails promptly or talk to the right people!! My only point is if you and he
    talked once a day we would avoid a lot of bs.” Id. In response to being asked why it took so long to get a new
    servicing agreement in place, Marano responded “the folks at Ally Bank were extremely slow and had a
    tendency to nitpick every detail. And so, I think they just—I would put responsibility on them. They were
    very slow.” Int. of T. Marano, Feb. 27, 2013, at 87:25–88:7. At various points early in the negotiations, the
    parties would state that they had drafts that were “nearly complete.” See, e.g., E-mail from M. Detwiler (Feb.
    13, 2012) [EXAM00001482] (“Joe/Gary, wanted to give you an update that I anticipate that we will execute
    the new subservicing agreement with Ally Bank sometime this month . . .); E-mail from K. Kohler to C. Hoyt
    (Mar. 14, 2012), at EXAM00073758 [EXAM00073757] (“I just heard from Mary Fahy Woehr, the ResCap
    in-house lawyer working on the subservicing agreement . . . . [S]he has a draft that is nearly complete and
    that she could try to turn tonight if you and she were able to address several of the key points.”). However, as
    previously stated, the A&R Servicing Agreement was not finalized until at least May 11, 2012.

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     There was voluminous regular correspondence between the parties during this time
period discussing terms of the A&R Servicing Agreement.1435 The negotiations covered
numerous issues,1436 and involved internal as well as outside counsel.1437 The parties do not
appear to dispute the inclusion of the indemnity provision relating to loan modifications.1438
The issue discussed most frequently was the structure of the AG Menu Matrix,1439 which was


1435 See, e.g., E-mail from M. Rosen to J. Young (Apr. 20, 2012) [ALLY_0208224] (in providing an update

   regarding reimbursement issues, Rosen told Young that “I believe that both parties are still working on other
   items ties to the servicing agreement, so I don’t think [the reimbursement issue] is the only thing holding up
   ratification.”).
1436 See, e.g., E-mail from M. Fahy Woehr (Mar. 14, 2012) [EXAM00073757] (discussing thoughts regarding a

   number of issues including representations and warranties, consent rights to assignments and events of
   default, as well as a potential reimbursement matrix “under the AG Menu”). Fahy Woehr was in-house
   counsel for ResCap during this period and negotiated the A&R Servicing Agreement on ResCap’s behalf. See
   E-mail from K. Kohler to C. Hoyt (Mar. 14, 2012), at EXAM00073758 [EXAM00073757].
1437 Morrison & Foerster represented ResCap and GMAC Mortgage in these negotiations, while Mayer Brown

   and Kirkland & Ellis represented Ally Bank. See, e.g., E-mails between C. Hoyt and K. Kohler (Mar. 14,
   2012), at EXAM00073758 [EXAM00073757]; E-mail from K. Kohler (Apr. 16, 2012), at
   ALLY_0019252–53 [ALLY_0019252].
1438 The parties viewed the inclusion of such an indemnification provision as a standard term. See Int. of J.

   Whitlinger, Feb. 27, 2013, at 189:9–17.
        But absolutely we ended up having to pay them. And I’ve said this very clearly in my other
        deposition, that as a third party, if I went to Fannie and Freddie and said, ‘Hey, I have this DOJ
        settlement. I got to go solicit all these borrowers and I got to earn $200 million; can I use your
        loans, guys?’ They would absolutely say, ‘Sure. Pay me for the loss mods.
   See also Int. of T. Marano, Feb. 27, 2013, at 91:4–10 (“I was told that caps were not common, that for
   servicers to make an error, that usually the servicer was 100 percent liable. And I was also told in the current
   environment of the [DOJ/AG], many agreements were being renegotiated to increase the liability of the
   servicers.”).
1439 See, e.g., E-mail from C. Dondzila to J. Whitlinger (Feb. 22, 2012) [EXAM11893427] (“FYI regarding

   where Bank is landing in terms of requiring indemnification payments. I think we are back to where we
   started, that we will be making payments to them on virtually all of the modification activity, and in amounts
   in excess of their actual incurred accounting losses.”); E-mail from R. Fowlie to C. Dondzila and
   J. Whitlinger (Mar. 16, 2012) [EXAM10994711] (“As the negotiations between us and the Bank continue on
   the sub servicing agreement one process that should be in there is around the AG settlement and how we
   should reimburse the Bank for losses on their portfolio.”); E-mail from M. Rosen (Apr. 13, 2012), at
   ALLY_0368406–07 [ALLY_0368405] (“Let us know if you have any questions or when you’ve finished
   your review and are ready to discuss next steps in finalizing the reimbursement matrix.”); E-mail from
   M. Rosen to J. Young (Apr. 20, 2012) [ALLY_0208224] (“I’ve had a chance to follow up with [Pensabene].
   He’s reviewed the issue with [Marano] and his position remains that he does not agree to reimburse on the
   refinance program in a scenario where they would also be paying dollar-for-dollar on principal reduction.”);
   E-mail from J. Pensabene (Apr. 24, 2012) [EXAM00066809] (“FYI – follow up to where we ended with the
   Bank on remediation. Tom and I met with Barbara and Jim yesterday. We essentially agreed that on the
   principal forgiveness mods we would reimburse $ for $. On the rate refi we would pay them for negative
   FMV and they would pay us for positive FMV. Tom felt like this was a compromise we could live with.”);
   E-mail from C. Senick (Apr. 25, 2012) [ALLY_0208255].

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not resolved until just prior to the Petition Date.1440 Evidence suggests that all parties
considered the negotiations to be contentious.1441 ResCap seems to have been satisfied with
the results of the negotiations. Marano observed that “what we negotiated was a much better
deal for ResCap than what [ResCap] had before.”1442

                 (3) It Is Unclear If The GMAC Mortgage Board Approved Entry Into The A&R
                     Servicing Agreement

    The Investigation did not uncover any GMAC Mortgage Board minutes or written
consents evidencing the approval of the A&R Servicing Agreement.1443 Pensabene signed the
A&R Servicing Agreement on behalf of GMAC Mortgage.1444

                 (4) Economics Of The A&R Servicing Agreement

     As of June 25, 2012, ResCap estimated that GMAC Mortgage would earn $41.6 million
in subservicing revenue and $24.7 million in net income from June 2012 through December
2012 as a result of the A&R Servicing Agreement.1445

     From May 2012 through February 2013, GMAC Mortgage paid Ally Bank a total of
$96.8 million in connection with loan modifications under the indemnification provision of
the January 30 Letter Agreement and the A&R Servicing Agreement.1446

1440 See, e.g., Letter from T. Marano to B. Yastine (May 9, 2012) [EXAM00069159] (“The AG Menu Matrix

   attachment to [the A&R Servicing Agreement] that sets forth the methodology for use of the soft dollar
   credits under the DOJ/AG settlement was only agreed to on Monday of this week, and agreement as to all
   other provisions of the new servicing agreement was reached yesterday.”); E-mail from M. Fahy Woehr
   (May 7, 2012) [EXAM20139177] (“Attached is a final execution copy of the [A&R Servicing Agreement].
   However, this afternoon, more comments came into the pricing exhibit from the Bank.”).
1441 See, e.g., E-mail from B. Yastine (Apr. 25, 2012) [ALLY_0196078] (in response to an e-mail from Young

   which describes a potential compromise regarding the indemnification of Ally Bank which Benton and
   Young feel they can defend, Yastine states that negotiations were a “[h]ard fight, but best outcome.”). See
   also E-mail from B. Yastine to T. Marano and M. Carpenter (Apr. 26, 2012) [ALLY_0196081].
        As you know, the teams had a call last night and have another scheduled for 10 am this morning.
        The only remaining issue is that [GMAC Mortgage] will not agree that it is a servicer event of
        default if it fails to comply with the Consent Order. We don’t have much of an explanation for why,
        other than this wasn’t in the “Support Letter.” . . . We will see if the teams can make any progress at
        10 am, but you and I will likely need to lead a summit again to come to terms on this one.
1442 Int. of T. Marano, Nov. 26, 2012, at 243:24–244:5.

1443 The GMAC Mortgage Board was comprised of Whitlinger, Abreu, and Pensabene. Dep. of J. Whitlinger,

   Aug. 3, 2012, at 36:24–37:5.
1444 A&R Servicing Agreement, at ALLY_0114541 [ALLY_0114469].

1445 Joint Servicing—Ally Subservicing Agreement Presentation by Centerview, Morrison & Foerster, and FTI,

   dated July 17, 2012, at RC00075962 [RC00075960].
1446 Loan Level Reimbursements Through January 2013, prepared by ResCap [EXAM00345233].



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     Reimbursement payments made by ResCap to Ally Bank were based upon the parameters
set forth within the AG Menu Matrix, which allows GMAC Mortgage to perform loan
modifications to Ally Bank loans beyond the previously set modification parameters attached
to the September 2007 Fourth Addendum to the Original Servicing Agreement.1447

     As stated, the amount of the reimbursement to Ally Bank is calculated based on the
collateral position of a particular loan as well as the type and amount of the modification
performed for that loan. The majority of the reimbursement payments through the period
ending January 2013 to Ally Bank resulted from principal reductions on mortgage loans where
Ally Bank held a first lien position.1448 For non-Home Affordable Modification Program-
eligible first lien principal reduction modifications, the AG Menu Matrix allows for a dollar-
for-dollar reimbursement payment from ResCap to Ally Bank if the unpaid principal balance
was not previously charged off by Ally Bank. Home Affordable Modification Program-
eligible first lien principal reduction modifications yield less than a dollar-for-dollar
reimbursement payment if the post-modification loan retains a loan-to-value percentage of
greater than 105%.1449




1447 A&R Servicing Agreement, Ex. 4-B [ALLY_0114469]; see also Fourth Addendum to Servicing Agreement,

   dated Sept. 12, 2007, Ex. A-1 [ALLY_0251201]. Notably, GMAC Mortgage would not be required to
   reimburse Ally Bank for any losses incurred in connection with any modification or loss mitigation activities
   that were permitted under the terms of the Original Servicing Agreement, as amended. During negotiations,
   members of the ResCap Board viewed this as an important aspect of the agreement. See E-Mails between
   P. West and J. Whitlinger (Jan. 31, 2012) [EXAM10345463] (after Whitlinger stated that the January 30
   Letter Agreement provided that “ResCap would not indemnify bank for soft menu credits on normal course
   of business as it is processed today,” West commented that the terms were “[g]reat. Looks like we got most
   of what we wanted.”). Despite this view, evidence demonstrates that ResCap and GMAC Mortgage did not
   keep track of whether any modifications conducted may have been previously permitted, and thus not subject
   to reimbursement. Pensabene stated that GMAC Mortgage did not look to see whether loans modified would
   have been eligible for modification under existing authority, as “it would be very difficult . . . to try and
   figure out what the loss to the bank would have been under a program we’re already authorized to do versus
   what it is—you’re basically asking operationally for us to underwrite the loan for two different programs.”
   Int. of J. Pensabene, Jan. 9, 2013, at 229:22–230:3. Such an oversight could have led to GMAC Mortgage
   paying more than it was required to by the terms of the January 30 Letter Agreement and the A&R Servicing
   Agreement. However, the Examiner was unable to conclude, based on the information available, whether any
   overpayment was made.
1448 Loan Level Reimbursements Through January 2013, prepared by ResCap [EXAM00345233] (providing
   detailed information on all reimbursements invoiced by Ally Bank to ResCap and analysis broken down by
   loan reimbursement amount, pre-modification unpaid principal balance, charge-off amount, and post-
   modification unpaid principal balance).
1449 A&R Servicing Agreement, Ex. 4-B [ALLY_0114469].



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      The remainder of the Ally Bank reimbursement payments that ResCap made through the
period ending January 2013 resulted from modifications performed on loans where Ally Bank
held the second-lien position. For second-lien principal reduction loan modifications,
reimbursements to Ally Bank are based on reductions in excess of 20% of the debtor’s pre-
modification unpaid principal balance multiplied by the U.S. Treasury Department’s Second-
Lien Modification Investor Incentive Schedule (set range of 20% to 42% based on current
loan-to-value).1450 For second-lien loan extinguishments, where the loan is deemed paid off,
the lien is released, and all outstanding balances are forgiven, and reimbursement to Ally Bank
are calculated based on the total amount of the extinguished loan unpaid principal balance
multiplied by the net charge-off recovery rate (2.2%).1451

     The AG Menu Matrix notably specifies that ResCap’s reimbursement payments to Ally
Bank for principal reductions will be reduced by the amount of charge-offs associated with the
loans being modified.1452 However, the AG Menu Matrix does not specify that the
reimbursement payments will be further reduced by the amount of reserves recorded on these
loans by Ally Bank.1453 In his interview, Young stated:

                  [L]osses are reserved for under Generally Accepted Accounting
                  Principles when the loss is considered probable and can be
                  estimated. That usually happens long—and it generally occurs at
                  the time when there’s some evidence of a potential loss; so
                  delinquency, something of that nature. A charge-off would
                  occur after a period of time where a loan has gone through 30,
                  60, 90 days, it’s into foreclosure and it now has become very
                  clear that there is a loss and that loss can be, of course, dollar
                  amount can be known, and the loss is known. At that point in
                  time it’s charged off against that reserve. So, a reserve is an
                  estimate of an event that occurred based on the information that
                  you have, but it’s not a final determination by any stretch of the
                  imagination.1454




1450 Id.

1451 Id.

1452 Id.

1453 GMAC Mortgage previously entered into an agreement with Ally Bank (then GMAC Bank) whereby, in

    exchange for Ally Bank’s forbearance from exercising its rights to require GMAC Mortgage to purchase
    certain loans, GMAC Mortgage would indemnify Ally Bank for any realized losses on any such loans that
    Ally Bank had to charge off in an amount not to exceed the net carrying value of the loan as of a certain date
    (the principal balance reduced by any charge-offs or reserves). GMAC Bank Indemnification Agreement,
    dated April 16, 2008 [ALLY_0017906]. This treatment differs from the AG Menu Matrix in that it considers
    reserves in calculating the indemnified losses of Ally Bank.
1454 Int. of J. Young, Mar. 15, 2013, at 222:19–223:16.



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      As shown in Exhibit V.C.2.c(4) below, the total amount reserved on the modified loans held
in the Ally Bank portfolio prior to the borrower relief modifications was approximately $50.6
million. Approximately $34.7 million of these reserves related to loans for which Ally Bank
received reimbursement payments from ResCap. On certain loans, Ally Bank’s reserves
exceeded the amount of the reimbursement from ResCap. The total amount of the reserve was
approximately $7.8 million greater than the reimbursement payment to Ally Bank for these
loans. Based on the foregoing, ResCap reimbursed Ally Bank for $26.9 million ($34.7 million—
$7.8 million) related to loan modifications for which Ally Bank had recorded reserves equal to or
less than the reimbursement amount.




            d. Prepetition Indemnity Payment To Ally Bank

      On May 10 and May 11, 2012, just prior to the Petition Date, the Debtors made indemnity
payments to Ally Bank totaling $48.4 million. Ally Bank’s invoices for these payments stated
that the payments related to “loan modification activities performed by GMAC Mortgage, LLC
as sub-servicer, prior to April 30, 2012 and in connection with the DOJ/State AG
Settlement.”1455




1455 This amount was paid in two installments. According to the invoices, $45 million was to be paid on May 10,

   2012, with the remaining $3,432,719 to be paid on May 11, 2012. See Invoice from Ally Bank to ResCap (May
   9, 2012) [ALLY_0196290]; Invoice from Ally Bank to ResCap (May 10, 2012) [EXAM20203413]; see also
   E-mail from J. Pensabene (May 9, 2012) [ALLY_0196286] (“The money will be transferred first thing
   tomorrow.”).

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This installment payment structure was employed because GMAC Mortgage had yet to
determine the actual amount of reimbursement allegedly due to Ally Bank at the time of the
payments.1456
      The prepetition payments were the subject of significant dispute and confusion between
Ally Bank, ResCap and GMAC Mortgage. Initially, ResCap had questions regarding the
existence of any obligation to make an indemnity payment (as well as the right to perform the
loan modifications giving rise to the alleged obligation).1457 On May 8, 2012, this concern was
addressed by Hamzehpour, who forwarded to Benton a February 9, 2012 e-mail from Young
confirming that GMAC Mortgage could perform modifications to the Ally Bank loan portfolio
“under the agreement of full reimbursement for all losses related to loan preservation activities
. . . .”1458 Hamzehpour suggested that the e-mail “seems to confirm an approval to move
forward, conditioned on the full indemnification – which is where we should end up on this, as
we just discussed.”1459
    The same day, Ally Bank was exerting pressure on ResCap and GMAC Mortgage to
make the payments. In an e-mail to Marano, Yastine stated:
                Under the terms of the [January 30 Letter Agreement], ResCap
                committed to reimbursing the Bank for DOJ mods as a condition
                to doing such mods (appears in Exhibit C to the Agreement,
                which is attached). There was no connection to the new
                servicing agreement other than in 7(c), which states that similar
                provisions will be included in any new servicing agreement.
                ResCap tying reimbursement to the new servicing agreement
                puts ResCap in breach of the January 30 [Letter] Agreement. I
                don’t think ResCap wants to go there, and it will blow things up
                if FDIC learns of this.
                Please consult with Tammy [Hamzehpour] asap, and have the
                funds released to the Bank.1460

1456 See, e.g., Letter from T. Marano to B. Yastine (May 9, 2012) [EXAM00069159]; E-mail from J. Pensabene

   (May 8, 2012) [EXAM00069549] (“FYI – the support letter does not outline how the reimbursement will be
   calculated. The new contract provides a matrix for the calculation.”). Loan-level reconciliation information
   was also circulated between GMAC Mortgage and Ally Bank. See E-mails between M. Rosen, J. Cortese,
   J. Young, and J. Pensabene (May 10–11, 2012), at ALLY_0182323–24 [ALLY_0182323].
1457 See, e.g., E-mail from T. Marano (May 8, 2012) [EXAM20139177] (“I need the exhibits — esp Exhibit C as

   we have a dispute over the obligation to wire the $50mm payment related to mods, and further whether or not
   we had the right to even do the mods we did.”).
1458 E-mail from J. Young to T. Hamzehpour, J. Pensabene, H. Benton, C. Evans, and J. Whitlinger (Feb. 9,

   2012), at EXAM20169859–60 [EXAM20169858]. This e-mail correspondence is referenced in Section
   V.C.2.a(2).
1459 E-mail from T. Hamzehpour (May 8, 2012), at EXAM20169859 [EXAM20169858].

1460 E-mail from B. Yastine to T. Marano (May 8, 2012) [EXAM00063493].



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     Marano responded that “we are in process of getting [Ally Bank] numbers to reconcile . . .
have spoken with Tammy and would like to repeat my prior position, please finish the
subservicing agreement.”1461 He later told Pensabene that “I will not be bullied. We will honor
our specific contractual obligations and advise them professionally of what they need to do to
protect their and our interests.”1462 Evidence indicates that Ally Bank remained intent on
getting the payments as soon as possible,1463 despite Ally Bank’s consideration with both
inside and outside counsel that these payments might be avoidable as preferential transfers.1464

     On May 9, 2012, Marano sent a letter to Yastine in which he detailed ResCap’s
willingness to make the payments.1465 The letter stated that:

                 While working to achieve a mutually satisfactory amendment or
                 agreement, management of the Bank authorized the use of its
                 portfolio for modifications that would qualify for soft dollar
                 credits . . . . This was done, of course, on the consistent that the
                 Bank would be reimbursed for its losses consisted with the
                 language in the Support Letter and with the methodology that
                 ultimately was agreed in the [AG Menu Matrix].

The letter went on to state that “[b]ased on the above and your assurances that Ally Bank has
submitted the new subservicing agreement to the FDIC for approval and will execute that
agreement immediately upon receipt of that approval . . . ResCap is prepared to wire Ally
Bank $45 million on May 9, 2012.”1466

1461 E-mail
         from T. Marano to B. Yastine, M. Rosen, and J. Pensabene (May 8, 2012), at ALLY_0368459
    [ALLY_0368458].
1462 E-mail from T. Marano to J. Pensabene (May 8, 2012) [EXAM00069549].

1463 See E-mail from H. Benton (May 9, 2012), at ALLY_0021095 [ALLY_0021094] (“Just received their
    counter. Doesn’t have any of the language we discussed this morning, but I think at this point the Bank
    should take the money. The references to the AG matrix and the negotiation process provide some nexus to
    the bundle we’ll seek to have blessed in the continuation order.”); E-mail from J. Young to B. Yastine, C.
    Evans, H. Benton, and T. Houghton (May 10, 2012) [ALLY_0196309] (“We are going to send another
    invoice for $3,432,719 tonight . . . . There are some very minor recon items to complete . . . but we can wrap
    into next month. Best to get the bigger number now.”); Int. of T. Marano, Feb. 27, 2013, at 87:2–10 (“The
    bank was very restless because we had signed an agreement saying that we were going to reimburse them for
    the modifications. They had regulators looking over their shoulder to make sure they were getting paid. We
    did not want to be in default to Ally Bank on the subservicing contract, which we thought was valuable to the
    estate.”).
1464 See E-mail from H. Benton (May 7, 2012), at EXAM20272697 [EXAM20272696] (acknowledging that “[i]f

    ResCap pays [Ally Bank] now, there is some risk that the payment will be challenged as a voidable
    preference (preferential payment for a pre-petition debt),” yet continuing to advise Ally Bank that it is
    “[b]etter to have the money and fight over a preference than have an unsecured claim.”); Dep. of
    J. Whitlinger, Aug. 3, 2012, at 99:19–105:16.
1465 See Letter from T. Marano to B. Yastine (May 9, 2012) [EXAM00069159].

1466 Id. at 2.



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     Following receipt of the May 9 letter, the parties began to draft an agreement setting forth
their understanding regarding the modifications and any indemnification payments. On
May 11, 2012, in reference to this agreement, Yastine told Marano “[p]er our discussion. Need
to sign before signing servicing agreement.”1467 Similarly, over the weekend of May 11 to
May 13, 2012, while discussing the terms of an agreement setting forth the details of the
indemnity payment relating to April loan modifications, Hamzehpour mentioned that
“signature pages are standing by on the [A&R] Servicing Agreement for both [GMAC
Mortgage] and [Ally] Bank, so as soon as we sign off on this letter those should be able to be
released.”1468 The agreement was ultimately finalized on May 13, 2012,1469 and signature
pages for the A&R Servicing Agreement were released.1470

     This agreement stated that:

                 [ResCap, GMAC Mortgage] and Ally Bank desire to clarify any
                 misperceptions that may result from the letter dated May 9,
                 2012 . . . . [GMAC Mortgage] and Ally Bank have been
                 negotiating (i) the reimbursement calculation methodology for
                 modifications to loans in Ally Bank’s mortgage portfolio, as
                 contemplated under [the January 30 Letter Agreement], and
                 (ii) the terms of the [A&R Servicing Agreement] . . . . The
                 parties acknowledge that such modifications . . . are conditioned
                 on full reimbursement to Ally Bank of all losses in accordance
                 with the [January 30 Letter Agreement], as well as the matrix
                 and reimbursement calculation methodology . . . that the parties
                 have subsequently negotiated as part of the [A&R Servicing
                 Agreement].1471




1467 E-mail from B. Yastine to T. Marano (May 11, 2012) [EXAM20138580].

1468 E-mail from T. Hamzehpour (May 13, 2012) [EXAM11151314].

1469 See E-mail from T. Hamzehpour (May 13, 2012) [ALLY_PEO_0087330].

1470 E-mail from H. Benton (May 13, 2012) [EXAM10346545] (“I have Barbara’s signature page, and I will get

   the sig page to the servicing agreement so I can send both simultaneously. Assuming you’re OK with the
   final language, can you send signature pages for both ResCap and [GMAC Mortgage] (and also for the
   servicing agreement) tonight?”).
1471 Agreement
            for AG Settlement          Loan Modifications    For April 2012, dated May 11, 2012
   [ALLY_PEO_0087335].

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The agreement further provided that:

                  The parties acknowledge that the respective managements of
                  Ally Bank and ResCap appear to have differing viewpoints
                  concerning the outcome of discussions and negotiations with
                  respect to the timing and commencement of the modification
                  activity contemplated by the [January 30 Letter Agreement].
                  Nevertheless, based on both (i) the acknowledgements and the
                  agreements of Ally Bank, ResCap and [GMAC Mortgage]
                  above and (ii) the payments to Ally Bank, both made and to be
                  made in accordance with, and subject to, numbered paragraph 4
                  above, the parties agree that ResCap and [GMAC Mortgage]
                  will have provided the requisite reimbursement to Ally Bank for
                  losses in connection with the April Modifications.1472

    This agreement was intended to clarify the understanding between the parties that
modifications were permitted to commence prior to the execution of the A&R Servicing
Agreement.1473 There is no evidence to indicate that the ResCap or GMAC Mortgage Board
formally approved this agreement or the payments.1474

             e. The Debtors And AFI Dispute Existence Of Cap On Indemnity Obligations

                  (1) Revised Estimation Of Indemnification Obligations

     Immediately prior to the Petition Date, ResCap and GMAC Mortgage realized that their
estimate of Ally Bank’s losses related to loan modifications, and thus ResCap and GMAC




1472 Id. at ALLY_PEO_0087337.

1473 See Int. of T. Marano, Feb. 27, 2013, at 93:5–14.


         I believe that the problem that [Yastine] was trying to address is that we had begun the
         modifications before the new subservicing agreement had been negotiated — or had been
         signed . . . . However, there were verbal understandings that we were going to be servicing under
         that agreement. And we were interested in doing the modifications as quickly as possible in order to
         facilitate as much credit as possible from the DOJ/AG monitor.
1474 Whitlinger stated that he and Marano discussed the payments, particularly in light of discussions of whether

    this payment might have been considered a preferential transfer. See Dep. of J. Whitlinger, Aug. 3, 2012, at
    106:13–109:19. However, no evidence demonstrates explicit Board approval by either ResCap or GMAC
    Mortgage.

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Mortgage’s indemnification obligations, was going to be inadequate.1475 In an e-mail to
Carpenter, Brown, and Whitlinger, Marano states that “the take up rate on mod offers is more
than 2X what we modeled. . . . ResCap may need to make additional payments of between $70
and $120mm to [Ally Bank] if our revised projections pan out.”1476 There were a number of
different revised estimates discussed at the time.1477

     The updated estimates raised several issues. One of the most important considerations
was “whether [Ally Bank] should approve [ResCap and GMAC Mortgage] moving beyond
[Ally Bank’s] $75 million speed bump given our view of reimbursement.”1478 This refers to
the “speed bump” limitation set forth in section 10.01(f) of the A&R Servicing Agreement.1479
At the time, Ally Bank was considering a proposal to raise that limitation.1480 ResCap and
GMAC Mortgage were concerned about their ability to indemnify Ally Bank because of
liquidity concerns.1481




1475 In response to a question of why ResCap’s and GMAC Mortgage’s projections regarding the indemnity

    obligation were “much lower” in January 2012 than they were in early May 2012, Whitlinger explained that
    when ResCap and GMAC Mortgage entered into the January 30 Letter Agreement, they had no experience in
    this area and could only make rough estimates as to what the indemnity obligation might be. See Dep. of
    J. Whitlinger, Aug. 3, 2012, at 117:4–19 (“In January we hadn’t even rolled out a solicitation program, so
    there has [sic] been no experience in the industry on what this DOJ settlement, and the modification program,
    could be. So in January we had estimates on what the [pull] through rates of borrowers being in the program
    could be.”).
1476 E-mail from T. Marano (May 12, 2012) [EXAM11027183].

1477 See E-mail from C. Dondzila (May 22, 2012) [EXAM10418886] (estimating “an additional accrual of $90

    million”); E-mail from J. Ruhlin (May 25, 2012), at EXAM10345055 [EXAM10345054] (estimating “$65M
    to fund those bank payments”).
1478 E-mail from J. Young (May 31, 2012) [ALLY_0197143].

1479 See A&R Servicing Agreement, § 10.01(f) [ALLY_0114469] (“In no case shall the Servicer evaluate
    additional Portfolio Loans for actions pursuant to the AG Menu Items in the month following the month in
    which indemnification payments to the Owner pursuant to subsection (e) above exceed $75,000,000 in the
    aggregate. . . . If the Servicer desires to perform modifications or other loss mitigation activities resulting in
    indemnification payments to the Owner in excess of . . . $75,000,000, then the Owner and the Servicer will
    agree to discuss the terms on which such additional loss mitigation activities could proceed.”).
1480 See E-mail from B. Yastine (May 31, 2012) [ALLY_0197143] (“As for $75 million, I think we should

    propose we raise limit to $150mm, based on revised requirements in final DOJ settlement and Rescap’s new
    estimate.”).
1481 See Int. of J. Whitlinger, Feb. 27, 2013, at 213:6–14 (“And then the pull-through started getting so much

    higher and more people were converting on the bank’s portfolio is when we said, ‘Whoa, whoa. Wait a
    minute. Time-out. We don’t have the liquidity to pay for that.’ And once we earned 200, we didn’t have to
    pay for it. And that’s when the disagreements happened . . . .”).

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                (2) ResCap And GMAC Mortgage Notify Ally Bank That Cumulative
                    Indemnification Payments Are Nearing $75 Million


      On June 20, 2012, Marano wrote a letter to Carpenter notifying Ally Bank that “we are
approaching cumulative indemnification payments of $75 million . . . . Additionally, at this
point we have earned in excess of $200 million of credits as a result of mitigation, remediation
or other financial accommodation to mortgage loan borrowers.”1482 The letter went on to state
that:

                Pursuant to the terms of both the [January 30 Letter Agreement]
                and the [A&R Servicing Agreement], we do not intend to
                perform any further solicitations for programs under the
                Consumer Relief provisions of the Settlement on eligible loans
                in the Ally Bank portfolio until the terms on which such
                additional loss mitigation activities could proceed have been
                agreed.1483

     On the same day, Pensabene wrote a similar letter to Craig Evans, with some subtle
differences.1484 First, the letter stated that “[ResCap and GMAC Mortgage] fully expect to
make further indemnification payments to Ally Bank related to any currently outstanding
solicitations on Ally Bank owned assets.”1485 Second, this letter did not mention having earned
soft credits in excess of $200 million. This second distinction was immediately noted by Ally
Bank.1486




1482 Letter from T. Marano to M. Carpenter (June 20, 2012) [EXAM10421722].

1483 Id.

1484 Letter from J. Pensabene to C. Evans (June 20, 2012) [ALLY_0197307]. The Pensabene letter generally

    stated ResCap had reimbursed Ally Bank roughly $70 million, and that GMAC Mortgage and ResCap would
    like to discuss the terms on which such additional loss mitigation activities could proceed.
1485 Id.

1486 E-mail from J. Young to B. Yastine (June 20, 2012) [ALLY_0197305] (while comparing the two letters,

    Young stated: “[s]o, appears [ResCap and GMAC Mortgage] have stopped solicitations, but will honor
    outstanding solicitations. Also, appropriately, no mention in this letter of the $200 million.”).

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                   (3) The Parties Frame Their Indemnity Dispute

     In early July, Ray Schrock of Kirkland & Ellis wrote a letter to Larren Nashelsky of
Morrison & Foerster setting forth AFI’s and Ally Bank’s combined position with respect to
the January 30 Letter Agreement, the A&R Servicing Agreement, and the indemnity payments
thereunder.1487 Schrock stated that during a telephone conversation on June 27, 2012, ResCap
and GMAC Mortgage took the position that GMAC Mortgage would “no longer issue any
further reimbursements to Ally Bank under the [A&R Servicing Agreement] for loan
modifications . . . based upon the [January 30 Letter Agreement] . . . and ResCap’s and
[GMAC Mortgage’s] assertion that they have earned more than $200 million in ‘soft dollar
credits’ under the DOJ/AG Settlement.”1488

      Schrock argued that such position was wholly inconsistent with the terms of the A&R
Servicing Agreement and the parties’ business discussions.1489 The letter goes on to restate the
indemnity provisions of the A&R Servicing Agreement, asserting that “[t]he [A&R Servicing
Agreement] does not contain any limitation on [GMAC Mortgage’s] indemnity obligation
relating to ‘soft dollar credits’ earned under the DOJ/AG Settlement and is the ‘entire
agreement’ between the parties as set forth in Section 12.03 of the [A&R Servicing
Agreement].”1490

     In a footnote, Schrock noted that even though the terms of the A&R Servicing
Agreement are clear, the reimbursement obligation of the A&R Servicing Agreement is
consistent with the January 30 Letter Agreement. He stated that the limitation of
reimbursements to AFI and Ally Bank contained in paragraph 5 of the January 30 Letter
Agreement once ResCap and GMAC Mortgage have affected the required hard dollar
payments and have earned $200 million in “soft dollar credits” applies only to the obligation
in paragraph 5. Instead, GMAC Mortgage’s obligations to reimburse Ally Bank for its use of
Ally Bank’s loans to obtain the “soft dollar credits” was contemplated in paragraph 7 of the
January 30 Letter Agreement, which contains no dollar limit.1491

      Finally, Schrock acknowledged that the A&R Servicing Agreement provides that GMAC
Mortgage shall cease soliciting Ally Bank loans for modification in the month after it has paid
$75 million in reimbursements until GMAC Mortgage and Ally Bank can agree on terms on
which additional loss mitigation activities can proceed, and that ResCap and GMAC Mortgage
provided notification that this threshold may be crossed in the month of June in their June 20
letters.1492

1487 Letter from R. Schrock to L. Nashelsky (July 2, 2012) [ALLY_0226606].

1488 Id. at 1.

1489 Id.

1490 Id. at 1–2.

1491 Id. at 2.

1492 Id. at 2–3.



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     Nashelsky responded a week later.1493 In his letter, Nashelsky stated that GMAC
Mortgage disagrees with AFI’s and Ally Bank’s statements that ResCap and GMAC Mortgage
were obligated to make further indemnity payments under the A&R Servicing Agreement.1494
Nashelsky argued that “[t]he [January 30 Letter Agreement] capped the Debtors’
reimbursement obligations to AFI and Ally Bank once the Debtors had made the $110 million
cash payment and earned $200 million in Soft Dollar Credits . . . .”1495 Nashelsky further
asserted that:
                    [C]ontrary to your suggestion that referring to the [January 30
                    Letter Agreement] constitutes improper reliance on extrinsic
                    evidence, the [January 30 Letter Agreement] and the [A&R
                    Servicing Agreement cannot be interpreted independently of
                    each other. Importantly, nothing in the Servicing Agreement
                    between the Debtors and Ally Bank modifies or eliminates the
                    Reimbursement Cap contemplated under the [January 30 Letter
                    Agreement] . . . and the course of dealing between the Debtors
                    on the one hand, and AFI and Ally Bank on the other . . . .1496

      Nashelsky went on to assert that “it is clear that the reference to the Reimbursement Cap
in paragraph 5 of the [January 30 Letter Agreement] was intended to apply not just to direct
settlement costs but also to the Indemnification Obligations.”1497 Based on this interpretation,
and AFI’s responsibility to indemnify Ally Bank pursuant to other agreements, Nashelsky
argued that further indemnification payments are AFI’s responsibility.1498




1493 Letter from L. Nashelsky to R. Schrock (July 9, 2012) (attached to Declaration of Thomas Marano, Chief

    Executive Officer of Residential Capital, LLC, in Further Support of Debtors’ Ally Servicing Motion
    [Docket No. 793-1] at Ex. 7).
1494 See id.

1495 Id. at 2 (emphasis in original).

1496 Id.

1497 Id. at 7.

1498 Id. at 4, 7.



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     Although not necessarily germane to the indemnity cap dispute, Nashelsky highlighted
another issue: that “the Debtors may have improperly paid Ally Bank approximately $12.9
million on account of a pre-petition general unsecured claim without Bankruptcy Court
authorization.”1499

             3. Motion Practice With Regard To PwC Fee Issue

                  a. The Debtors File The PwC Compensation Motion

     The requirements and obligations imposed under the FRB/FDIC Consent Order did not
cease upon the Debtors’ bankruptcy. Accordingly, on September 9, 2012, the Debtors sought
to invoke the authority granted to them by the Court in the GA Servicing Order [Docket
No. 401]1500 and continue their compliance with the FRB/FDIC Consent Order postpetition,
including compensating PwC, by filing the Debtors’ Motion for Entry of an Order Under
Bankruptcy Code Section 363 and Bankruptcy Rule 6004 (I) Authorizing the Debtors to
Compensate PricewaterhouseCoopers, LLP for Foreclosure Review Services in Furtherance of


1499 Id. at 3. This issue has been highlighted by the parties at several junctures. The Committee noted that “Judge

    Peck’s interim approval order was relied on as purported authority to make a $19.9 million postpetition
    indemnification payment to Ally Bank (including $13 million relating to prepetition loan
    modifications) . . . .” Statement of the Official Committee of Unsecured Creditors Regarding the Debtors’
    Motion for an Order Authorizing the Debtors to Continue to Perform Under the Ally Bank Servicing
    Agreement in the Ordinary Course [Docket No. 1280] at 6 (emphasis in original). In the stipulation reserving
    the parties’ rights with respect to the indemnity dispute, the parties stated that “[t]his Stipulation’s
    authorization to the Debtors to make the payments under the Indemnification Obligation shall not constitute a
    determination that . . . the Debtors’ $19.9 million postpetition payment to Ally Bank was or was not
    authorized by the Interim Order, . . .” Notice of Presentment of Stipulation and Proposed Order Reserving
    Rights with Respect to Debtors’ Motion for Interim and Final Orders Under Bankruptcy Code Sections
    105(a) and 363 Authorizing the Debtors to Continue to Perform Under the Ally Bank Servicing Agreement in
    the Ordinary Course of Business [Docket No. 1275] at 14. The Interim Order was silent on whether the
    Debtors were authorized to make such payment, providing only that “[t]he Debtors are authorized and
    directed to continue to perform under the terms of the [A&R] Servicing Agreement . . . .” Interim Order
    Pursuant to Sections 105(A) and 363 of the Bankruptcy Code Authorizing the Debtors to Continue to
    Perform Under the Ally Bank Servicing Agreement in the Ordinary Course of Business [Docket No. 90] at 2.
    Notably, however, the related motion expressly stated that the Debtors “are not seeking to pay any
    prepetition claims through or pursuant to the [A&R] Servicing Agreement.” Debtors’ Motion for Interim and
    Final Orders Under Bankruptcy Code Sections 105(A) and 363Authorizing the Debtors to Continue to
    Perform Under the Ally Bank Servicing Agreement in the Ordinary Course of Business [Docket No. 47] at
    15.
1500 On June 15, 2012, the Court entered an order granting the Debtors’ GA Servicing Motion, which authorized

    the Debtors to continue their compliance with the terms of the FRB/FDIC Consent Order, including using
    estate assets to compensate PwC. See Order (I) Authorizing the Debtors to continue in the Ordinary Course
    of Business (A) Servicing Governmental Association Loans and (B) Foreclosure Activities Related to Certain
    Real Estate Owned by Fannie Mae, Freddie Mac, and Ginnie Mae; (II) authorizing the Debtors to Pay
    Certain Prepetition Amounts Due to Critical Servicing Vendors and Foreclosure Professionals; (III) Granting
    Limited Stay Relief to Enable Borrowers to Assert Direct Claims and Related Counter-Claims in Foreclosure
    and Eviction Proceedings; (IV) Authorizing the Debtors to Use Cash Collateral Under the Fannie Mae EAF
    Facility; and (V) Granting related Relief [Docket No. 401] (the “GA Servicing Order”).

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the Debtors’ Compliance Obligations Under Federal Reserve Board Consent Order and (II)
Reaffirming Relief Granting in the GA Servicing Order [Docket No. 1357] (the “PwC
Compensation Motion”).

     The PwC Compensation Motion asked the Court to enter an order: (1) allowing the
Debtors to compensate PwC for all obligations under the PwC Engagement Letter for services
rendered in connection with the Foreclosure Review; (2) authorizing the Debtors to comply
with the terms of the PWC Engagement Letter; and (3) reaffirming the relief granted in the
GA Servicing Order with respect to compliance with the FRB Consent Order, the DOJ/AG
Settlement and the CMP Order.1501

     The Debtors asserted that continuing to pay PwC was necessary and appropriate to ensure
compliance with the terms of the FRB/FDIC Consent Order, and was appropriate under
Bankruptcy Code section 363, given PwC’s role and the fact that its retention occurred prior to
and not in connection with the commencement of the Chapter 11 proceedings.1502 Further, the
Debtors argued that failure to comply could lead to additional delays in foreclosures, possible
monetary fines imposed by the FRB, and violations of the Debtors’ DIP Facility with AFI.1503

                      b. The Creditors’ Committee And Wilmington Trust File Objections To The
                         Motion

      The Creditors’ Committee filed an objection to the PwC Compensation Motion on
September 19, 2012, stating that continuing to pay PwC for the Foreclosure Review was not in
the best interest of the Debtors’ estate because the Debtors did not provide a valid business
justification. The Creditors’ Committee cited: (1) the added scrutiny warranted by the
magnitude of the foreclosure obligations;1504 (2) the severe impact the amounts expended
would have on distributions to other creditors;1505 and (3) the fact that the amounts to be spent
on the review greatly outweighed the possible remediation liabilities to be uncovered or the
potential penalties that might be assessed by government regulators.1506 Further, to the extent
the Court required the Debtors to continue complying with the terms of the FRB/FDIC


1501 SeePwC Compensation Motion [Docket No. 1357] at 7. The Debtors further proposed to continue to
    preserve any and all claims or causes of action the Debtors or any other party in interest may have against
    AFI for past or future costs of compliance with the FRB/FDIC Consent Order. Id.
1502 Id. at 9–10, 18–21.

1503 Id. at 10, 18.

1504 See Omnibus Objection of the Official Committee of Unsecured Creditors to (A) The Debtors’ Motion for

    Entry of an Order Under Bankruptcy Code Section 363 and Bankruptcy Rule 6004 (I) Authorizing the
    Debtors to Compensate PricewaterhouseCoopers, LLP for Foreclosure Review Services in Furtherance of the
    Debtors’ Compliance Obligations Under Federal Reserve Board Consent Order and (II) Reaffirming Relief
    Granted in the GA Servicing Order [Docket No. 1493] at 3–4, 10.
1505 See id. at 3–4.

1506 See id. at 4, 11–12.



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Consent Order, the Creditors’ Committee argued that the costs of the Foreclosure Review
should be allocated not to the Debtors, but to AFI, a solvent co-obligor, jointly and severally
liable under the FRB/FDIC Consent Order.1507

      Wilmington Trust also filed an objection to the PwC Compensation Motion. Wilmington
Trust asserted that: (1) AFI—a solvent entity—should bear the responsibility for
compensating PwC under a contractual obligation for which it was jointly and severally
liable;1508 (2) AFI improperly exerted its influence over the Debtors to impose on ResCap the
added responsibilities of managing the Foreclosure Review and compensating PwC; and
(3) legal responsibility for the costs lay not upon ResCap but rather only upon GMAC
Mortgage and AFI.1509

                    c. Court Proceedings

     Following the initial hearing on the PwC Compensation Motion, the Debtors and
Creditors’ Committee engaged in negotiations to resolve the concerns the Creditors’
Committee expressed in its omnibus objection and at the initial hearing.1510 Both parties
ultimately agreed upon a proposal for a 90-day interim order granting the PwC Compensation
Motion on an interim basis, which would allow the Debtors to continue to use estate funds to
compensate PwC in accordance with the terms of the PwC Engagement Letter and the FRB/
FDIC Consent Order and comply in all respects with the FRB/FDIC Consent Order up until a




1507 See id. at 1–2, 4, 14–18.

1508 See Limited Objection of Wilmington Trust, National Association to Debtors’ Motion for Entry of an Order

    (I) Authorizing Debtors to Compensate PricewaterhouseCoopers, LLP for Foreclosure Review Services and
    (II) Reaffirming Relief Granted in the GA Servicing Order [Docket No. 1465] at 1–2, 5–6.
1509 See id. at 3, 6–7.

1510 See, e.g., Debtors’ Statement in Further Support of (A) Debtors’ Motion for an Order (I) To Compensate

    PricewaterhouseCoopers, LLP for Foreclosure Review Services and (II) Reaffirming Relief Granting in the
    GA Servicing Order (B) Debtors’ Application to Employ and Retain Hudson Cook, LLP as Special Counsel,
    and (C) Debtors’ Application to Employ and Retain Pepper Hamilton LLP as Special Foreclosure Review
    Counsel for Bankruptcy Issues [Docket No. 1749] at 2–3; Supplemental Objection of the Official Committee
    of Unsecured Creditors to (A) the Debtors’ Motion for Entry of an Order Under Bankruptcy Code
    Section 363 and Bankruptcy Rule 6004 (I) Authorizing the Debtors to Compensate PricewaterhouseCoopers,
    LLP for Foreclosure Review Services in Furtherance of the Debtors’ Compliance Obligations Under Federal
    Reserve Board Consent Order and (II) Reaffirming Relief Granted in the GA Servicing Order, (B) Pepper
    Hamilton Retention Application, and (C) Hudson Cook Retention Application [Docket No. 1725] at 3–4.

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final order decided the matter.1511 On October 11, 2012, Judge Glenn entered an order
approving the PwC Compensation Motion on an interim basis through and including
January 14, 2013,1512 which was extended through the final hearing date on this issue
(currently May 14, 2013).1513




1511 See Debtors’ Statement in Further Support of (A) Debtors’ Motion for an Order (I) To Compensate
    PricewaterhouseCoopers, LLP for Foreclosure Review Services and (II) Reaffirming Relief Granting in the
    GA Servicing Order (B) Debtors’ Application to Employ and Retain Hudson Cook, LLP as Special Counsel,
    and (C) Debtors’ Application to Employ and Retain Pepper Hamilton LLP as Special Foreclosure Review
    Counsel for Bankruptcy Issues [Docket No. 1749] at 2–3; Supplemental Objection of the Official Committee
    of Unsecured Creditors to (A) the Debtors’ Motion for Entry of an Order Under Bankruptcy Code
    Section 363 and Bankruptcy Rule 6004 (I) Authorizing the Debtors to Compensate PricewaterhouseCoopers,
    LLP for Foreclosure Review Services in Furtherance of the Debtors’ Compliance Obligations Under Federal
    Reserve Board Consent Order and (II) Reaffirming Relief Granted in the GA Servicing Order, (B) Pepper
    Hamilton Retention Application, and (C) Hudson Cook Retention Application [Docket No. 1725] at 2.
1512 See Interim Order signed on 10/11/2012 Under Bankruptcy Code Section 363 and Bankruptcy Rule 6004

    (I) Authorizing the Debtors to Compensate PricewaterhouseCoopers, LLP for Foreclosure Review Services
    in Furtherance of the Debtors’ Compliance Obligations Under Federal Reserve Board Consent Order and (II)
    Reaffirming Relief Granting in the GA Servicing Order [Docket No. 1799] at 3, 7.
1513 On January 13, 2013, the Court entered a second order approving the Motion on a further interim basis

    through and including February 28, 2013. See second Interim Order Under Bankruptcy Code Section 363 and
    Bankruptcy Rule 6004 (I) Authorizing the Debtors to Compensate PricewaterhouseCoopers, LLP for
    Foreclosure Review Services in Furtherance of the Debtors’ Compliance Obligations Under Federal Reserve
    Board Consent Order and (II) Reaffirming Relief Granting in the GA Servicing Order [Docket No. 2622] at
    3, 7. On February 28, 2013, the Court entered a third order approving the Motion on a further interim basis
    through and including March 21, 2013. See Third Interim Order Signed on 2/28/2013 (I) Authorizing the
    Debtors to Compensate PricewaterhouseCoopers, LLP for Foreclosure Review Services in Furtherance of the
    Debtors’ Compliance Obligations Under Federal Reserve Board Consent Order and (II) Reaffirming Relief
    Granting in the GA Servicing Order [Docket No. 3062] at 3, 7. On March 21, 2013, the Court entered a
    fourth order approving the Motion on an interim basis through and including April 11, 2013. See Fourth
    Interim Order Signed on 3/21/2013 (I) Authorizing the Debtors to Compensate PricewaterhouseCoopers,
    LLP for Foreclosure Review Services in Furtherance of the Debtors’ Compliance Obligations Under Federal
    Reserve Board Consent Order and (II) Reaffirming Relief Granting in the GA Servicing Order [Docket
    No. 3290] at 3, 7. On April 11, 2013, the Court entered a fourth order approving the Motion on an interim
    basis through and including April 30, 2013. See Fifth Interim Order Signed on 4/12/2013 (I) Authorizing the
    Debtors to Compensate PricewaterhouseCoopers, LLP for Foreclosure Review Services in Furtherance of the
    Debtors’ Compliance Obligations Under Federal Reserve Board Consent Order and (II) Reaffirming Relief
    Granting in the GA Servicing Order [Docket No. 3425] at 3, 7. On April 29, 2013, the Court entered a sixth
    order approving the Motion on an interim basis through and including May 14, 2013. See Sixth Interim Order
    Signed on 4/29/2013 (I) Authorizing the Debtors to Compensate PricewaterhouseCoopers, LLP for
    Foreclosure Review Services in Furtherance of the Debtors’ Compliance Obligations Under Federal Reserve
    Board Consent Order and (II) Reaffirming Relief Granting in the GA Servicing Order [Docket No. 3543] at
    3, 7.

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               4. Motion Practice With Regards To Foreclosure Review

                     a. The Debtors File The FRB Unsecured Claim Motion

      On January 7, 2013, the FRB announced a resolution of foreclosure review requirements
contained in consent orders with ten major mortgage servicers that now requires banks to pay
lump sums into a settlement fund instead of continuing the expensive foreclosure review
process.1514 Ally Bank and ResCap were not part of these resolutions. However, in light of this
settlement, on February 27, 2013, the Debtors filed a motion seeking entry of an order,
pursuant to Bankruptcy Code section 362(a) and Bankruptcy Rule 3013, determining that:
(1) GMAC Mortgage’s obligation to conduct the Foreclosure Review represents a general
unsecured claim for purposes of any chapter 11 plan proposed in the Debtors’ chapter 11
cases; and (2) the automatic stay applies to prevent the FRB, FDIC, and other Government
Entities from taking any action to enforce GMAC Mortgage’s obligation to continue
conducting the Foreclosure Review (the “FRB Unsecured Claim Motion”).1515

     The Debtors noted in the motion that GMAC Mortgage’s Foreclosure Review obligation
“can easily be quantified, can be satisfied by an alternative ‘right to payment,’ and represents
a general unsecured claim against the Debtors.”1516 Further, the Debtors argued because the
Foreclosure Review obligation is an unsecured claim, the FRB and FDIC (the holders of the
claim) may not seek to enforce that claim outside of the bankruptcy process.1517

                     b. AFI And The FRB File Objections To The FRB Unsecured Claim Motion

     AFI and the FRB filed objections to the FRB Unsecured Claim Motion. The objections
argued similar points, namely that: (1) the Debtors’ obligation to conduct the Foreclosure
Review is not a claim under section 101(5) of the Bankruptcy Code;1518 and (2) any action by
the FRB to enforce the Debtors’ obligation fits within the police or regulatory powers


1514 FRB/OCC, Joint Press Release, Independent Foreclosure Review to Provide $3.3 Billion in Payments, $5.2

    Billion in Mortgage Assistance (Jan. 7, 2013), http://www.federalreserve.gov/newsevents/press/bcreg/
    20130107a.htm; see also FRB Unsecured Claim Motion [Docket No. 3055] at 9–10.
1515 SeeFRB Unsecured Claim Motion [Docket No. 3055] at 10 (though not explicitly stated, arguably the
    implications of the requested relief would be for ResCap and GMAC Mortgage to cease all payments to PwC
    with respect to the PwC Engagement Letter).
1516 See id. at 1–2.

1517 See id. at 3.

1518 See Objection to Motion of Debtors Pursuant to Bankruptcy Rule 3013 and Bankruptcy Code Section 362(a)

    for a Determination That (I) GMAC Mortgage’s FRB Foreclosure Review Obligation Is a General Unsecured
    Claim and (II) The Automatic Stay Prevents Enforcement of the FRB Foreclosure Review Obligation
    [Docket No. 3149] at 1–2, 6–7; See Ally Financial Inc.’s Objection to Debtors’ Motion for a Determination
    that (I) GMAC Mortgage’s FRB Foreclosure Review Obligation is a General Unsecured Claim and (II) the
    Automatic Stay Prevents Enforcement of the FRB Foreclosure Review Obligations [Docket No. 3150] at 14–
    15, 17–18.

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exception from the automatic stay.1519 Additionally, AFI argued that: (1) the Debtors are
equitably estopped from avoiding compliance with, or enforcement of, their obligations under
the FRB/FDIC Consent Order;1520 (2) all costs of compliance with the FRB/FDIC Consent
Order, including the Foreclosure Review, are entitled to administrative expense priority;1521
and (3) the motion is procedurally improper and requires an adversary proceeding.1522

                     c. Wilmington Trust Files A Statement In Support Of And Limited Objection
                        To The Motion

      Wilmington Trust filed a statement in support, and limited objection to, the FRB
Unsecured Claim Motion. Unlike AFI and the FRB, Wilmington Trust supported a
determination that the Foreclosure Review obligation and any subsequent remediation be
treated as an unsecured prepetition claim against GMAC Mortgage, as such obligations do not
qualify as an administrative expense under section 503(b) of the Bankruptcy Code and are not
otherwise entitled to priority under section 507 of the Bankruptcy Code.1523 However,
Wilmington Trust argued that the Debtors’ proposed order is unclear in that its language
imposes the obligation at issue under the Motion against the Debtors, while only GMAC
Mortgage, not ResCap is responsible for the obligations arising under the FRB/FDIC Consent
Order.1524 Wilmington Trust accordingly requested that any relief granted under the motion
make clear that no claim is being allowed against ResCap absent substantive consolidation.1525

                     d. The Debtors And Creditors’ Committee File Replies In Support Of The FRB
                        Unsecured Claim Motion

    On March 19, 2013, the Debtors filed an omnibus reply in further support of the FRB
Unsecured Claim Motion. The Debtors asserted that they are not requesting the Bankruptcy
Court to convert, or otherwise modify or alter, the Foreclosure Review or FRB/FDIC Consent
Order, but rather reclassify it.1526 As such, the Debtors argue primarily that the Foreclosure
1519 See id. at 11–12.

1520 See Ally Financial Inc.’s Objection to Debtors’ Motion for a Determination that (I) GMAC Mortgage’s FRB

    Foreclosure Review Obligation is a General Unsecured Claim and (II) the Automatic Stay Prevents
    Enforcement of the FRB Foreclosure Review Obligations [Docket No. 3150] at 19–20.
1521 See id. at 22–24.

1522 See id. at 24–25.

1523 See Statement in Support of and Limited Objection to Debtors’ Motion Pursuant to Bankruptcy Rule 3013

    and Bankruptcy Code Section 362(a) for a Determination that (I) GMAC Mortgage’s FRB Foreclosure
    Review Obligation Is a General Unsecured Claim and (II) the Automatic Stay Prevents Enforcement of the
    FRB Foreclosure Review Obligation [Docket No. 3139] at 2–3.
1524 See id. at 3–4.

1525 See id. at 4.

1526 SeeDebtors’ Omnibus Reply in Further Support of Motion Pursuant to Bankruptcy Rule 3013 and
    Bankruptcy Code Section 362(a) for a Determination that (I) GMAC Mortgages FRB Foreclosure Review
    Obligations is a General Unsecured Claim and (II) The Automatic Stay Prevents Enforcement of the FRB
    Foreclosure Review Obligation [Docket No. 3242] at 5–6.

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Review obligation is retrospective and represents a general unsecured claim for the following
reasons: (1) the review is a bankruptcy claim, not an administrative expense, by operation of
law because it was aimed solely at remedying allegedly wrongful past conduct and the FRB
has an alternative right to payment which it can (and has) asserted under 12 U.S.C. § 1818; 1527
(2) the Ocwen Platform Asset Purchase Agreement and Ocwen Sale Order [Docket
No. 2246]1528 do not alter the nature of the claim;1529 and (iii) the ongoing expenses associated
with the review do not represent “actual, necessary costs or expenses of preserving the estate”
and are thus not entitled to administrative expense priority.1530

      Further, the Debtors argued that: (1) 12 U.S.C. § 1818(i) does not deprive the Bankruptcy
Court of jurisdiction to determine the classification of a claim;1531 (2) the police and regulatory
exception to the automatic stay does not apply to any efforts by the FRB or other Government
Entities to enforce the general unsecured Foreclosure Review obligation;1532 and (3) the FRB
Unsecured Claim Motion is procedurally proper in that the Bankruptcy Court is permitted under
Bankruptcy Code Rule 3013 to make a determination regarding the appropriate classification of
a claim under the Bankruptcy Code, and is otherwise authorized to enforce the automatic
stay.1533

     The Debtors also submitted a Supplemental Declaration of Thomas Marano as Exhibit 1
to the omnibus reply. The Declaration summarized the ongoing negotiations between the
Debtors and the FRB regarding the Foreclosure Review, and stated that the Debtors were
offered a lump-sum settlement similar in form to the settlements entered between the FRB and
ten major non-debtor mortgage servicers on January 7, 2013.1534


1527 See id. at 6–9.

1528 Order Under 11 U.S.C. §§ 105, 363, and 365 and Fed. Bankr. P. 2002, 6004, 6006, and 9014 (I) Approving

    (A) Sale of Debtors’ Assets Pursuant to Asset Purchase Agreement With Ocwen Loan Servicing, LLC;
    (B) Sale of Purchased Assets Free and Clear of Liens, Claims, Encumbrances, and Other Interests;
    (C) Assumption and Assignment of Certain Executory Contracts and Unexpired Leases Thereto; (D) Related
    Agreements; and (II) Granting Related Relief Platform Sale [Docket No. 2246] (the “Ocwen Sale Order”).
1529 SeeDebtors’ Omnibus Reply in Further Support of Motion Pursuant to Bankruptcy Rule 3013 and
    Bankruptcy Code Section 362(a) for a Determination that (I) GMAC Mortgages FRB Foreclosure Review
    Obligations is a General Unsecured Claim and (II) The Automatic Stay Prevents Enforcement of the FRB
    Foreclosure Review Obligation [Docket No. 3242] at 9–10, 12.
1530 Id. at 12.

1531 Id. at 14–17.

1532 Id. at 17.

1533 Id. at 19–20.

1534 See Supplemental Declaration of Thomas Marano, Chief Executive Officer of Residential Capital, LLC, in

    Support of Debtors’ Motion Pursuant to Bankruptcy Rule 3013 and Bankruptcy Code Section 362(a) for a
    Determination that (I) GMAC Mortgages FRB Foreclosure Review Obligations is a General Unsecured
    Claim and (II) The Automatic Stay Prevents Enforcement of the FRB Foreclosure Review Obligation
    [Docket No. 3242-1] at 6.

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     In addition, on March 19, 2013, the Creditors’ Committee filed a reply in support of the
FRB Unsecured Claim Motion and asked the Court to authorize GMAC Mortgage to stop
paying PwC for the Foreclosure Review that the government has admitted is an unnecessary and
costly mistake.1535 Further, the Creditors’ Committee asserted that any claims arising from the
FRB/FDIC Consent Order should be classified as general unsecured claims because all such
claims relate to the investigation and remediation of prepetition conduct and any restitution to
borrowers for such conduct “as pure example of payment on account of prepetition claims as
exists.”1536 The two types of potential claims the Creditors’ Committee explicitly addressed
include: (1) restitution claims under either the existing FRB/FDIC Consent Order or an amended
FRB/FDIC Consent Order; and (2) claims by AFI to recoup costs it may incur if GMAC
Mortgage ceases to pay PwC for compliance with the existing FRB/FDIC Consent Order.1537
Finally, the Creditors’ Committee argued that AFI’s equitable estoppel argument is meritless
because there is no unfairness to AFI in the Debtors’ attempting to cease paying AFI.1538 They
asserted that the Debtors properly exercised their fiduciary duties by making the FRB
Unsecured Claim Motion to request relief that is in the best interest of all unsecured creditors
and the Estate by avoiding the substantial waste of estate assets.1539

                      e. Court Proceedings

     On March 21, 2013, the parties presented their arguments before Judge Glenn. At the
conclusion of the hearing, Judge Glenn asked for supplemental briefs on the issues of whether:
(1) restitution payments under the FRB/FDIC Consent Order are general unsecured claims;
and (2) AFI would be liable for the shortfall if ResCap only paid this claim on a pro-rata basis.
Judge Glenn encouraged the parties to reach an agreement on these issues, indicating that he
would extend the briefing deadline if the parties made progress prior to April 5, 2013. The
Debtors, Creditors’ Committee, and FRB submitted supplemental briefs on April 5. The FRB
Unsecured Claim Motion is still pending.




1535 Reply of the Official Committee of Unsecured Creditors to the Debtors’ Motion for a Determination that

    (I) GMAC Mortgage’s FRB Foreclosure Review is a General Unsecured Claim and (II) the Automatic Stay
    Prevents Enforcement of the FRB Foreclosure Review Obligation [Docket No. 3245] at 4–5.
1536 Id. at 3–4, 13–14.

1537 Id. at 10.

1538 Id. at 4, 14.

1539 See id. at 17.



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    5. Estimate Of Total Economic Impact Of Government Settlements

     As shown in Exhibit V.C.5 below, AFI and ResCap expect to incur a total of $780.8 million
as a result of the government settlements. Based on current estimates ResCap is expected to
incur 75% of these costs and AFI is expected to incur 25% of the total costs, as detailed
below:1540




    6. Conclusion

     The Examiner has determined that while there may have been some problematic aspects in
the allocation of these settlements between the Debtors and AFI, AFI did ultimately pay for a
portion of the settlements through debt forgiveness to ResCap. In addition, ResCap received
ancillary benefits from the A&R Servicing Agreement, including the opportunity to earn an
estimated $24.7 million in servicing income1541 and an arguably enhanced ability to sell the
servicing platform as a going concern.1542 Furthermore, it is beyond dispute that ResCap and its


1540 As discussed in Section V.C.1.f(5), AFI recorded a reserve for 8% of the estimated DOJ/AG Settlement cost

   ($230 million) in late February 2012. However, no record of an actual obligation from AFI to GMAC Mortgage
   has been identified in the accounting records or otherwise.
1541 See Joint Servicing—Ally Subservicing Agreement Presentation by Centerview, Morrison Foerster, and FTI,

   dated July 17, 2012, at 2–3 [RC00075960].
1542 See id. at 2 (“Additionally, the loss of Ally [Bank] loans limits [ResCap’s] access to potential brokerage fees

   from refinancings. . . . The discontinuation of the subservicing agreement would result in collateral damage to
   [ResCap’s] servicing platform overall, which would influence potential buyers when submitting their bids for
   the business. . . . Rejection of the agreement would also result in distractions in transferring approximately 700K
   loans to Ally Bank’s designated servicer.”).

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subsidiaries, as the mortgage servicers, were responsible for a significant portion of the
actionable issues that were the subject of the FRB/FDIC Settlement and the DOJ/AG
Settlement. For a full discussion of the implications of AFI’s conduct in connection with the
government settlements and potential claims and defenses that could be asserted in connection
with that conduct, please see Sections VII.F, VII.G, and VII.H.

D. TAX SHARING ARRANGEMENTS AND TAX ACCOUNTING AND CLASSIFICATION
   ISSUES

      ResCap has made and received numerous payments in respect of the income tax
attributes that it generated and the tax-related accounts on ResCap’s balance sheet. Most of
these payments were made pursuant to tax allocation agreements for periods when ResCap
was part of a consolidated federal income tax return. One payment was the LLC Conversion
Dividend distributed by ResCap in the amount of the equity impact of the elimination of
ResCap’s tax-related accounts upon a change in ResCap’s federal tax classification. To
provide a basis for understanding the role of the tax allocation agreements to which ResCap
was a party, this Section first provides background on how consolidated federal income tax
reporting works, why tax allocation agreements are used, and what are examples of typical
provisions in tax allocation agreements. Second, this Section chronologically describes the
changes in ResCap’s and AFI’s federal tax classification and the tax allocation agreements in
place between them. Third, this Section describes the drafting and approval process for each
tax allocation agreement. This Section then summarizes the amounts paid under each tax
allocation agreement and whether additional amounts should have been paid or will soon
become due under the terms of each agreement. Finally, this Section describes the approval
process for and the payment of the LLC Conversion Dividend by ResCap.

   1. Consolidated Tax Reporting And The Role Of Tax Allocation Agreements

     Since ResCap’s formation in March 2005, there have been various tax allocation
agreements in place between ResCap and AFI.1543 These tax allocation agreements created
contractual rights to cash flows between ResCap and AFI regarding U.S. federal and state
income taxation of the operations of ResCap and AFI. ResCap has paid significant sums to
AFI pursuant to these tax allocation agreements. The tax allocation agreements relating to
U.S. federal income tax liabilities and refunds were in effect for all the time periods in which
ResCap was included on GM’s consolidated federal income tax returns (i.e., January 1, 2005
to November 30, 2006) and AFI’s consolidated federal income tax returns (i.e., November 2,
2009 to present). In addition, a tax allocation agreement relating to state income tax liabilities
and refunds was in effect for the time period in which AFI was a partnership between
Cerberus and GM under U.S. federal income tax law.


1543 Implemented 2005 Tax Allocation Agreement, at ALLY_0178780–86 [ALLY_0178779]; Other 2005 Tax

   Allocation Agreement [MELZER.009035]; 2006 Tax Allocation Agreement, at ALLY_0178787–93
   [ALLY_0178779]; First 2009 Tax Allocation Agreement, at RC40016379–84 [RC40016362]; Second 2009
   Tax Allocation Agreement [RC00028796].

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